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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Lewis R. Landau (CA Bar No. 143391)
 Attorney-at-Law
 22287 Mulholland Hwy., # 318
 Calabasas, California 91302
 Voice & Fax: (888) 822-4340
 Email: Lew@Landaunet.com




      Individual appearing without attorney
      Attorney for: NREA-TRC 700 LLC, Creditor

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                       CASE NO.: 2:21-bk-18572 BB

Adli Law Group, PC                                                            CHAPTER: 11

                                                                              NOTICE OF MOTION FOR:
                                                                              Removal of Debtor in Possession (11 USC 1185);
                                                                              Alternatively Conversion or Dismissal of Bankruptcy Case
                                                                              (11 USC 1112)




                                                                              (Specify name of Motion)

                                                                              DATE: 02/09/2022
                                                                              TIME: 10:00 am
                                                                              COURTROOM: 1539
                                                                              PLACE: US Bankruptcy Court
                                                                                       255 E. Temple Street, 15th Floor
                                                              Debtor(s).               Los Angeles, CA 90012

1. TO (specify name): _____________________________________________________________________________
                       All Parties in Interest

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                          F 9013-1.1.HEARING.NOTICE
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4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 01/19/2022                                                               Lewis R. Landau, Attorney at Law
                                                                               Printed name of law firm




                                                                               /s/ Lewis R. Landau
                                                                                Signature


                                                                               Lewis R. Landau
                                                                               Printed name of attorney




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 2                              F 9013-1.1.HEARING.NOTICE
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 1   Lewis R. Landau (CA Bar No. 143391)
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 2   22287 Mulholland Hwy., # 318
     Calabasas, California 91302
 3   Voice & Fax: (888) 822-4340
     Email: Lew@Landaunet.com
 4
     Attorney for Movant,
 5   NREA-TRC 700 LLC

 6

 7                            UNITED STATES BANKRUPTCY COURT

 8                             CENTRAL DISTRICT OF CALIFORNIA

 9                                     LOS ANGELES DIVISION

10

11   In re                                           Case No.: 2:21-bk-18572 BB
                                                     Chapter 11
12   Adli Law Group, PC
                                                     NOTICE OF MOTION AND MOTION TO
13                                                   REMOVE DEBTOR IN POSSESSION OR
                                                     ALTERNATELY, CONVERT OR DISMISS
14                                                   CASE

15                                                   [11 U.S.C. §§ 1185(a), 1112(b)]
                            Debtor.
16

17                                                   Date:       February 9, 2022
                                                     Time:       10:00 a.m.
18                                                   Place:      Courtroom 1539; Judge Bluebond
                                                                 United States Bankruptcy Court
19                                                               255 East Temple Street, 15th Floor
                                                                 Los Angeles, CA 90012
20

21
             Creditor NREA-TRC 700 LLC (“Movant”) moves to remove the debtor in possession or
22
     alternately convert to chapter 7 or dismiss the chapter 11 case of Adli Law Group PC (“Debtor”)
23
     pursuant to 11 U.S.C. §§ 1185(a) or 1112(b). Movant’s motion is contained in the following
24
     memorandum of points and authorities, Declaration of Lewis R. Landau (“Landau Declaration”)
25
     and the case file exhibits hereto for which Movant requests that the Court take judicial notice
26
     pursuant to Federal Rules of Evidence 201. For all these reasons, the Debtor should be removed
27
     as a debtor in possession or the case converted to chapter 7 or dismissed.
28


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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                     I.

 3                    CAUSE EXISTS TO REMOVE THE DEBTOR IN POSSESSION,

 4                    OR CONVERT OR DISMISS DEBTOR’S CHAPTER 11 CASE

 5           On November 10, 2021 the Debtor filed its voluntary petition electing application of

 6   Subchapter V of chapter 11 for this case. In Debtor’s December 22, 2021 initial status report,

 7   Debtor explained that it is a six (6) attorney law firm formed by Dr. Dariush Adli in 2010. See

 8   ECF # 79 attached hereto as Exhibit 1.

 9           The Debtor is unable to produce accurate and reliable financial information concerning its

10   historical operations, current financial condition and future projections as required to maintain its

11   Subchapter V bankruptcy case as confirmed in the Supplemental Declaration of Dariush G. Adli

12   filed January 10, 2022. See ECF # 116 attached hereto as Exhibit 2 (“Adli Declaration”). As set

13   forth therein:

14                    8. We have recently realized, however, that our accounts have had many
15           mistakes, which our accountancy firm has either made, or failed to correct, which
             have continued from one year to the next. As we have been making a good faith
16           effort to provide corrections, clarifications, and documentation, we have had
             difficulty receiving sufficient assistance from our accountancy firm.
17                    9. We had not realized these problems until this bankruptcy case. As a
             result, we are planning to hire an outside firm solely to put our books in order so
18           that we can provide the necessary information and correct the previous mistakes.
19                    13. We did not appreciate the time and effort this task would have on our
             firm operation to provide documents and necessary information to our bankruptcy
20           counsel for a Chapter 11 case. As a result, we were overwhelmed and rushed,
             which caused errors in our documentation.
21                    14. …As a result, errors were made, which are addressed in the updated
             Financial Statements attached as Exhibit 2. While these Financial Statements
22           may still require correcting, this is being presented in good faith based on what
23           we have been able to identify as an error and, accordingly, correct.
     See Adli Declaration at Exhibit 2 hereto.
24
             Debtor blames its former accountants, Parsi & Company (“Parsi”), for the “many
25
     mistakes” in its books and records. Debtor will apparently hire a new “outside firm” to create
26
     accurate and reliable books and records, financial statements and bankruptcy schedules, but no
27

28


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 1   application to hire any such firm has been filed to date. Moreover, the projections attached to

 2   the Adli Declaration do not provide for any professional fees.

 3          Gregory K. Jones, the Subchapter V Trustee (“Trustee”) has filed his statement

 4   identifying continuing omissions in the Debtor’s financial reporting, as well as the Debtor’s

 5   failure to provide an answer to Statement of Financial Affairs question 3 concerning payments or

 6   transfers within 90-days of the bankruptcy case. See ECF # 124 attached hereto as Exhibit 3.

 7          In addition, creditors Steven and Theresa Hellings have filed a response to the Adli

 8   Declaration identifying numerous inconsistencies and unreconcilable data making all of the

 9   Debtor’s financial disclosures to date, including the Debtor’s most recent financial projections,

10   utterly unreliable and lacking in credibility. See ECF # 123 attached hereto as Exhibit 4.

11   Significantly, the Adli Declaration eliminated a $4,473,737.32 receivable from the Debtor’s

12   balance sheet consisting of an insider loan to Dr. Adli. To the extent Dr. Adli is now claiming

13   those funds were corporate distributions made while the Debtor was insolvent, the estate may

14   well have additional avoidance actions against Dr. Adli.

15          Of serious concern in the potential for conversion or embezzlement of attorney client trust

16   account proceeds. Debtor’s original financial statements showed a $1,066,850.71 “Trust Account

17   Liability.” See Adli Declaration at 5-6. Dr. Adli now contends that the firm’s trust account

18   liability to clients is only $120,400.22 and that the trust account contains those funds. But the

19   Debtor admits that it cannot reconcile its financial statement reporting and its financial records

20   are unreliable. The Debtor’s trust account liability must be immediately audited and verified.

21          Finally, the Debtor’s claims bar date expires on January 19, 2022, the date of filing this

22   motion. The Court’s claim register reflects numerous substantial claims that create additional

23   material inconsistencies with the Debtor’s financial reporting. See summary claims register

24   attached hereto as Exhibit 5. For example, the IRS has filed a $424,440 claim, including a

25   $233,645.26 priority claim. but the Debtor’s schedules reflect no IRS liability. Compare IRS

26   Claim # 3 attached as Exhibit 6 hereto and ECF # 63 (Debtor’s Schedules) attached as Exhibit 7

27   hereto at Schedule E/F ¶ 2.6.

28


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 1          As of the date of this motion, the Debtor’s Subchapter V chapter 11 case has been pending

 2   for 70-days. The Debtor admits to maintaining unreliable books and records and has filed

 3   numerous documents containing errors and omitted information. These deficiencies are not cured

 4   as of the filing of this motion. The Debtor admits to incompetence and having engaged in gross

 5   mismanagement and cause otherwise exists to remove the Debtor in Possession or convert or

 6   dismiss the Debtor’s case.

 7                                                    II.

 8            THE DEBTOR SHOULD BE REMOVED AS DEBTOR IN POSSESSION

 9          Cause exists to remove the Debtor in Possession under 11 U.S.C. § 1185. 11 U.S.C. §

10   1185 states:

11          Section 1185 — Removal of debtor in possession
12          (a) In General. On request of a party in interest, and after notice and a hearing, the
            court shall order that the debtor shall not be a debtor in possession for cause,
13          including fraud, dishonesty, incompetence, or gross mismanagement of the affairs
            of the debtor, either before or after the date of commencement of the case, or for
14          failure to perform the obligations of the debtor under a plan confirmed under this
            subchapter.
15
     11 U.S.C. § 1185(a).
16
            Congress enacted § 1185 as part of the Small Business Reorganization Act of 2019, which
17
     became effective February 19, 2020. Because § 1185 is relatively new to the Bankruptcy Code,
18
     no governing authority outlines the standards the court should consider in determining whether to
19
     remove a debtor in possession under § 1185. Because § 1104(a) and § 1185(a) use the same
20
     language, the court should rely on authority construing § 1104 in determining whether to remove
21
     a debtor in possession under § 1185. See In re Peak Serum, Inc., 623 B.R. 609, 614 n.1 (Bankr.
22
     D. Colo. 2020) (“where cause would exist to appoint a Chapter 11 trustee in a standard Chapter
23
     11 case, Subchapter V affords parties-in-interest comparable remedies, including removal of the
24
     debtor-in-possession”).
25
            Since the inception of this case, the Debtor has exhibited a lack of transparency and
26
     general inaccuracy regarding its finances that is proven through the admitted filing of incomplete
27
     and inaccurate financial information. In re te Velde, 2018 WL 4405981 at * 3 (Bankr. E.D. Cal.
28


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 1   Sept. 12, 2018) (appointment of trustee for cause is warranted if debtor is “unwilling, or unable,

 2   to comply with his duties as a fiduciary”); In re Sillerman, 605 B.R. 631, 643 (Bankr. S.D.N.Y.

 3   2019) (“Failure by a debtor-in-possession to disclose material and relevant information to the

 4   Court and creditors or make required filings supports a finding of cause.”), citing In re V. Savino

 5   Oil & Heating Co., Inc., 99 B.R. 518, 526 (Bankr. E.D.N.Y. 1989) (where the Debtor fails to

 6   disclose “material and relevant information to the Court and creditors, a Chapter 11 trustee is

 7   required.”).

 8            While the Debtor blames Parsi for its incompetence and gross mismanagement, the buck

 9   stops with Dr. Adli as the principal of the Debtor law firm. The Court, United States Trustee and

10   creditor are entitled to rely upon accurate books, records, financial statements, bankruptcy

11   schedules and projections to respond to the Debtor’s chapter 11 case. While the Debtor admits to

12   needing a new financial consultant, no application to retain any such professional has been filed

13   and Debtor’s cash flow projections do not provide for any such professional. The Debtor is

14   simply unable or unwilling to comply with its fiduciary duties and provide its creditors with

15   accurate and reliable financial reporting. After 70-days in Subchapter V and Debtor quickly

16   coming up upon its 90-day plan filing deadline per Section 1189(b), cause exists to immediately

17   remove the Debtor as debtor in possession such that the Trustee can protect creditor interests with

18   the additional powers authorized under Section 1183(b).

19          For all these reasons, the motion should be granted.

20                                                   III.

21                    CAUSE EXISTS TO CONVERT OR DISMISS THE CASE

22          The same cause supporting removal of the Debtor as debtor in possession supports the

23   alternative remedy of conversion of Debtor’s case to chapter 7 or dismissal thereof under 11

24   U.S.C. § 1112(b). Section 1112(b) states:

25          (b)(1) Except as provided in paragraph (2) and subsection (c), on request of a party
26          in interest, and after notice and a hearing, the court shall convert a case under this
            chapter to a case under chapter 7 or dismiss a case under this chapter, whichever is
27          in the best interests of creditors and the estate, for cause unless the court
            determines that the appointment under section 1104(a) of a trustee or an examiner
28          is in the best interests of creditors and the estate.

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 1   11 U.S.C. § 1112(b)(1).

 2          Section 1112(b)(4) provides a non-exhaustive list of circumstances constituting cause for

 3   dismissal or conversion:
            (4) For purposes of this subsection, the term “cause” includes—
 4              (B) gross mismanagement of the estate;
 5              (E) failure to comply with an order of the court;
                (F) unexcused failure to satisfy timely any filing or reporting requirement
 6              established by this title or by any rule applicable to a case under this chapter;

 7   11 U.S.C. § 1112(b)(4) (in part).

 8          Once cause has been demonstrated under § 1112(b)(4), the Court must either dismiss or

 9   convert a chapter 11 case unless an exception set out in § 1121(b)(1) applies. Those exceptions

10   are set forth in Section 1121(b)(2) as follows:

11              (2) The court may not convert a case under this chapter to a case under chapter
                7 or dismiss a case under this chapter if the court finds and specifically
12              identifies unusual circumstances establishing that converting or dismissing the
13              case is not in the best interests of creditors and the estate, and the debtor or any
                other party in interest establishes that—
14              (A) there is a reasonable likelihood that a plan will be confirmed within the
                timeframes established in sections 1121(e) and 1129(e) of this title, or if such
15              sections do not apply, within a reasonable period of time; and
                (B) the grounds for converting or dismissing the case include an act or
16              omission of the debtor other than under paragraph (4)(A)—
17              (i) for which there exists a reasonable justification for the act or omission; and
                (ii) that will be cured within a reasonable period of time fixed by the court.
18
     11 U.S.C. § 1112(b)(2).
19
            Here, Debtor has no reasonable justification for maintaining erroneous books and records
20
     for multiple years preceding its chapter 11 case and then filing false, misleading and inaccurate
21
     bankruptcy schedules, statements and other reporting in its case. The Debtor is sure to blame
22
     Parsi for those failures, but Dr. Adli is responsible for the accuracy of the Debtor’s financial
23
     records. The Debtor should have discovered these defects earlier and acted to correct them with
24
     far greater diligence. If the Court does not remove the Debtor as debtor in possession, then the
25
     Court should promptly convert or dismiss Debtor’s case.
26

27

28


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 1          Finally, Debtor’s case may also support conversion or dismissal under 11 U.S.C. §

 2   1112(b)(4)(A) for substantial or continuing loss to or diminution of the estate and the absence of a

 3   reasonable likelihood of rehabilitation. Debtor’s November, 2021 Monthly Operating Report

 4   (“MOR”) reflected a negative $116,605 cash flow for December, 2021. See ECF 73 at 3.

 5   Debtor’s December, 2021 MOR is due immediately after the filing of this motion and to the

 6   extent a substantial and continuing loss is shown therein, Movant will supplement this motion

 7   with the Debtor’s MORs and request relief under 11 U.S.C. § 1112(b)(4)(A) in addition to the

 8   other cause set forth herein.

 9          For all these reasons, the motion should be granted.

10                                                   IV.

11                                            CONCLUSION

12          For all the foregoing reasons, Movant respectfully requests that the Court grant the

13   motion and remove the Debtor as debtor in possession or convert the case to chapter 7 or dismiss

14   Debtor’s case and grant such other and further relief as the Court deems just and proper under the

15   circumstances.

16   Dated: January 19, 2022                               Lewis R. Landau
17                                                         Attorney at Law

18
                                                           By:/s/ Lewis R. Landau
19                                                         Lewis R. Landau
                                                           Attorney for Movant
20

21

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 1                             DECLARATION OF LEWIS R. LANDAU

 2   I, Lewis R. Landau, do hereby declare:

 3          1.      I am an attorney duly admitted to practice law in the State of California and before

 4   the United States District Court for the Central District of California. I represent NREA-TRC

 5   700 LLC (“Movant”) in the chapter 11 case of Aldi Law Group PC (“Debtor”), case number

 6   2:21-bk-18572 BB. I have personal knowledge of the facts set forth herein based on my

 7   involvement in Debtor’s chapter 11 case.

 8          2.      Attached to my declaration as the following indicated exhibits are true, correct and

 9   accurate copies of the indicated Electronic Case File (“ECF”) documents that I downloaded from

10   the Court’s ECF filing system:

11          3.      Exhibit 1: ECF # 79, Debtor’s initial status report.

12          4.      Exhibit 2: ECF # 116, Supplemental Declaration of Dariush G. Adli filed January

13   10, 2022.

14          5.      Exhibit 3: ECF # 124, Statement filed by Gregory K. Jones, the Subchapter V

15   Trustee.

16          6.      Exhibit 4: ECF # 123, Response filed by creditors Steven and Theresa Hellings.

17          7.      Exhibit 5: Summary claim register.

18          8.      Exhibit 6: IRS proof of claim # 3.

19          9.      Exhibit 7: ECF # 63, Debtor’s schedules.

20          I declare under penalty of perjury under the laws of the United States of America that the

21   foregoing is true and correct to the best of my knowledge and belief.

22          Executed this 19th day of January 2022 at Los Angeles California.

23                                                        /s/ Lewis R. Landau
24                                                        Lewis R. Landau

25

26

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                            EXHIBIT 1


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  5
    Proposed Attorneys for Adli Law Group, P.C.
  6 Debtor and Debtor in Possession

  7

  8                                     UNITED STATES BANKRUPTCY COURT

  9                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 10

 11 In re                                                 Case No. 2:21-bk-18572-BB
 12
      ADLI LAW GROUP P.C.,                                Chapter 11 (Subchapter V)
 13
                              Debtor.                     DEBTOR’S INITIAL CHAPTER 11
 14                                                       STATUS REPORT DATED DECEMBER
                                                          22, 2021; DECLARATION OF DARIUSH
 15                                                       G. ADLI
 16
                                                          Initial Status Conference:
 17                                                       Date:      January 5, 2022
                                                          Time:      10:00 a.m.
 18                                                       Place: 255 E. Temple St.
                                                                     Courtroom 1539
 19                                                                  Los Angeles, California 90012
 20
                                                          Judge: Hon. Sheri Bluebond
 21

 22              ADLI Law Group P.C., the debtor and debtor in possession in the above-captioned

 23 chapter 11 case (the “Debtor” or "ALG"), hereby submits the following status report in connection

 24 with this case and in response to this Court's "Order Setting Scheduling And Case Management

 25 Conference in Subchapter V Case" entered on November 17, 2021 (ECF No. 22)

 26              The Debtor’s Business.

 27              The Debtor was formed in 2010 by Dr. Dariush Adli. ALG is a professional corporation in

 28 good standing with the State of California. ALG currently operates its law practice in roughly


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  1 3,000 square feet of offices located at 12400 Wilshire Blvd., Suite 1460 in Los Angeles, California

  2 90025 (“Current Office Space”). ALG has 12 employees including 6 non-attorney staff members

  3 and 6 attorneys, including Dr. Adli. One of the Firm’s associates is on paternity leave until

  4 January 3, 2022.

  5              The principal assets consist of accounts receivables (approximately $1.34 million), office

  6 furniture and computers (approximately $234,000) and cash on hand (approximately $124,000).

  7 The unsecured liabilities aggregate approximately $5.6 million, which include the alleged claims

  8 of Bank of the West ($1.23 million for a PPP loan; Debtor is now in the process of preparing the

  9 loan-forgiveness application), NREA-TRC 700 LLC (the Debtor's prior landlord asserting a claim

 10 of approximately $2.65 million), Staple Center (asserting a claim of approximately $700,000), and

 11 the alleged malpractice claims of certain prior clients of the Firm in amounts that are presently

 12 unknown. There is no secured debt in this case.

 13              What precipitated the bankruptcy filing.

 14              Over the past several years, the Debtor has had to confront several adverse issues that have

 15 not only disrupted its business, but have now also forced the company to seek bankruptcy relief. In

 16 addition to a costly cyber-attack, professional errors by one of ALG's attorneys in multiple matters

 17 resulting in now four pending lawsuits as of the petition date, and the impact of the COVID-19

 18 pandemic, the deciding factor prompting the Debtor to file its petition as a protective measure to

 19 avoid the disruptive, destructive effects was the imminent execution under a prejudgment writ of

 20 attachment issued in Superior Court litigation between the ALG and its prior landlord, NREA-

 21 TRC 700 LLC. In the end, all of the above issues collectively contributed to the Debtor deciding

 22 to commence this chapter 11 case on November 10, 2021 (the “Petition Date”).

 23              Debtor's Objectives.

 24              The Debtor commenced this chapter 11 case in order to preserve the value of its business

 25 and assets for the benefit of its stakeholders, including its creditors and employees, while it

 26 explores various options for reorganizing and exiting bankruptcy. The Debtor anticipates that any
 27 reorganization will involve the continued operation of its existing business. Accordingly, the

 28 Debtor intends to continue operating its business during the pendency of this chapter 11 case.


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  1              To further its objections of reorganization, Debtor intends to resolve the pending litigation

  2 matters, in particular the malpractice cases and the prior landlord's claim through informal

  3 discussions, mediation or the claims administrative process. Ultimately, Debtor intends to propose

  4 and confirm a plan that provides for payment to creditors on their allowed claims over time from

  5 future operating revenues. The Debtor intends to work closely with the subchapter V trustee and

  6 its creditors on proposing a consensual plan as soon as possible.

  7              Principal Disputes to be Encountered.

  8              The Debtor is not currently facing and does not anticipate encountering any major legal

  9 disputes at this time or during the pendency of this case. Debtor notes that resolution of the prior

 10 landlord's asserted claim and employing a cost-effective and efficient means of resolving other

 11 pending lawsuits, including the malpractice cases, will be the initial focus of the Debtor's

 12 reorganization

 13              Dispute Resolution

 14              The Debtor is not currently facing and does not anticipate encountering any major legal

 15 disputes at this time or during the pendency of this case. Debtor believes that discussions with

 16 those creditors asserting malpractice claims and with the Debtor's prior landlord will be resolved

 17 (or, at a minimum, the process for ultimate resolution will be agreed upon).

 18              Debtor's Compliance With Its Duties

 19              The Debtor is not a “health care business” as that term is defined in § 101(27A) of title 11

 20 of the United States Code (the “Bankruptcy Code” or “Code”).

 21              As the Debtor does not own real property or otherwise generate income from operating real

 22 property, this chapter 11 case does not involve “single asset real estate” within the meaning of

 23 § 101(51B) of the Bankruptcy Code and is therefore not a “single asset real estate” case.

 24              The Debtor is a “small business debtor,” having met the statutory definition in § 101(51D)

 25 of the Bankruptcy Code, and is therefore eligible to proceed under subchapter V of chapter 11.

 26 The Debtor has satisfied all four elements: (a) the Debtor, being a limited liability company, is a
 27 “person” within the meaning of § 101(41) of the Code, (b) the Debtor is clearly engaged in

 28 commercial or business activities, (c) the Debtor’s noncontingent, liquidated debts as of the


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  1 Petition Date fall well below $7.5 million limit, and (d) all, or nearly all, of those debts represent

  2 trade debts and thus arose from the Debtor’s commercial or business activities.

  3                           Financial Statements. Appended to its voluntary petition, the Debtor filed the

  4 following financial statements on the Petition Date: (a) two balance sheets (one as of

  5 December 31, 2020, and the other as of August 31, 2021), (b) two profit-and-loss statements (one

  6 for the year ending December 31, 2020, and the other for the year-to-date ending August

  7 31, 2021), and (c) a cash flow statement (for the immediate 3 months preceding the Petition Date

  8 and including projected cash flow for the ensuing 3-month period). The Debtor also filed its 2019

  9 and 2020 federal income tax returns on the Petition Date.

 10                           Schedules. The Debtor filed its schedules and statement of financial affairs on

 11 December 9, 2021. Debtor intends to amend its schedules to include certain information that was

 12 not available at the time the original schedules were filed.

 13                           Seven-Day Package. The Debtor submitted its seven-day package to the United

 14 States trustee (the “U.S. Trustee”) on November 22, but the seven-day package lacked some of the

 15 required information and documents, which the Debtor did not have in its possession at that time.

 16 The Debtor later submitted a supplemental seven-day package to the U.S. Trustee on December 1

 17 and believes that all required information and documents sought by the U.S. Trustee have now

 18 been produced.

 19                           Initial Debtor Interview. Dariush G. Adli ("Dr. Adli"), the Debtor's president,

 20 telephonically appeared on behalf of the Debtor, along with counsel, at the U.S. Trustee’s initial

 21 debtor interview held on December 7.

 22                           § 341(a) Meeting of Creditors. Dr. Adli telephonically appeared on behalf of the

 23 Debtor, along with counsel, at the § 341(a) meeting of creditors held on December 13. The

 24 meeting has been continued to January 11, 2022, at 9:15 a.m., telephonic appearance, by the U.S.

 25 Trustee.

 26                           Monthly Operating Reports. The Debtor’s first monthly operating report was due
 27 on December 21. The Debtor filed that monthly operating report on December 22, 2021.

 28                           Insurance. The Debtor is currently maintaining insurance coverage that is


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  1 customary and appropriate to its industry. Such coverage includes commercial general liability,

  2 malpractice insurance and workers compensation insurance.

  3                           Financial Projections. The Debtor’s financial projections for the first three months

  4 of this case (i.e., from November 10, 2021, through January 31, 2022) are attached to the Petition

  5 and included in the Cash Flow statement (page 17). The Debtor’s historical profit-and-loss

  6 statement for the 12 months preceding the filing of this case (i.e., from January through December

  7 2020 and January through August 2021) were also attached to the Petition.

  8              Cash Collateral Issues

  9              The Debtor is unaware of any entities who claim an interest in the Debtor’s cash, and as a

 10 result, it believes that there will be no cash collateral issues in this case.

 11              Retention of Professionals.

 12              The Debtor proposes to retain Hahn & Hahn LLP (“H&H”) as its general bankruptcy

 13 counsel, who will represent the Debtor in connection with this chapter 11 case. The Debtor’s

 14 employment application for H&H was filed on December 9, 2021, at docket no. 64. If there are no

 15 timely oppositions thereto, the Debtor intends to file a declaration of non-opposition and lodge a

 16 proposed order authorizing H&H’s employment. The estimated amount of H&H’s compensation

 17 for the pendency of this case is $100,000 - $150,000.

 18              The Debtor will also be seeking to retain the Parsi & Company, CPA, DABFA, an

 19 Accountancy Corporation (“P & C”) as its accountant, who will handle the Debtor’s accounting-

 20 related matters (e.g., ensuring the maintenance of the Debtor’s financial reporting requirements,

 21 tax filings, etc.). Once the Debtor and P & C have finalized the scope of P & C's services and its

 22 proposed compensation arrangement, the Debtor will file an employment application for P & C.

 23              The Debtor also intends to employ special litigation counsel to represent it in connection

 24 with pending malpractice litigation. The terms of such retention have yet to be determined, and

 25 when so fixed, the Debtor will file such employment applications.

 26              Claims Administration.
 27              The Court has already set January 19, 2022, as the deadline for nongovernmental creditors

 28 to file a proof of claim in this case (while May 9, 2022, is the deadline for governmental creditors


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  1 to do so). Until the claims bar date has passed and the Debtor understands the universe of asserted

  2 claims, the Debtor is unable to propose a deadline for filing claim objections.

  3              Executory Contracts and Unexpired Leases.

  4              The Debtor is the lessee under one unexpired non-residential real property lease under

  5 which it leases office space in Los Angeles, California. It is this location where the Debtor's

  6 principal offices are located.

  7              The Debtor is also a counterparty to a number of other executory contracts, including

  8 service agreements with various vendors providing ordinary-course marketing, equipment,

  9 internet, and phone services to the Debtor. In all likelihood, the Debtor intends to assume such

 10 executory contracts and will likely do so as part of a plan.

 11              Timetable for Plan Confirmation.

 12              February 8, 2022, is the deadline for the Debtor file a subchapter V plan and disclosure

 13 statement, and the Debtor intends to file a plan and disclosure statement by that deadline. The

 14 Debtor believes that a plan could be confirmed by the end of the second quarter of 2022.

 15              The Debtor has not yet made any major progress towards developing and negotiating a

 16 plan of reorganization. Nevertheless, the Debtor will likely propose a plan that has creditors

 17 ultimately receiving a substantial recovery on account of their prepetition claims. Accordingly, the

 18 Debtor does not anticipate any significant creditor opposition in this case and expects to attain a

 19 consensual plan.

 20

 21 DATED: December 22, 2021                       Respectfully submitted,

 22                                                HAHN & HAHN LLP
 23

 24
                                                   By:          /s/ Dean G. Rallis Jr.
 25                                                      Dean G. Rallis Jr.
                                                         Proposed Attorneys for Adli Law Group, P.C.,
 26                                                      Debtor and Debtor in Possession
 27

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 DECLARATION OF DARIUSH G. ADLI

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     1                                          DECLARATION OF DARIUSH G. ADLI

     2                 I, Dariush G. Adli, declare as follows:

     3                 1.          I am the president of Adli Law Group P.C., the debtor and debtor in possession in
 4 the above-captioned chapter 11 case (the "Debtor").

  5                    2.          I am an authorized representative of the Debtor, with full authority to make the

 6 representations and statements contained herein on behalf of the Debtor. Where the matters stated

 7 in this declaration are statements of fact that are within my personal knowledge, they are true and

 8 correct. Where the matters stated in this declaration are statements of fact that are not within my

 9 personal knowledge, they are derived from my review of the Debtor's business records, founded

10 on information supplied to me by the Debtor's key personnel or advisors, or based upon

11        information and belief, and such statements are true and correct to the best of my knowledge,

12 information, and belief. The Debtor's business records were (a) made at or near the time of the

13 occurrence of the matters set forth therein by, or from information transmitted by, a person having

14 knowledge of those matters, (b) kept in the course of the regularly conducted business activities of

15 the Debtor, and (c) by custom and practice of the Debtor, made as part of the Debtor's regularly

16 conducted business activities. If called to testify, I could and would, without waiver of any

17 applicable privilege, testify competently to the matters stated in this declaration.

18                    3.           I have read the Debtor's initial status report, and I believe that the information

19 contained therein is accurate, true, and correct to the best of my knowledge, information, and

20 belief.

21                    I declare under penalty of perjury under the laws of the United States of America that the

22 foregoing is true and correct and that this declaration was executed on December 22, 2021 , at Los

23 Angeles, California.

24

25                                                                        ~                        Af
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                            EXHIBIT 2


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    DEAN G. RALLIS JR., State Bar No. 94266
  2 E-Mail: drallis@hahnlawyers.com
    301 E. COLORADO BLVD., NINTH FLOOR
  3 PASADENA, CALIFORNIA 91101-1977
    Telephone: (626) 796-9123
  4 Facsimile: (626) 449-7357

  5 Proposed Attorneys for Adli Law Group, P.C.
    Debtor and Debtor in Possession
  6

  7

  8                                      UNITED STATES BANKRUPTCY COURT

  9                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 10

 11 In re                                                         Case No. 2:21-bk-18572-BB

 12 ADLI LAW GROUP P.C.,                                          Chapter 11 (Subchapter V)

 13                           Debtor.                             SUPPLEMENTAL DECLARATION OF
                                                                  DARIUSH G. ADLI IN SUPPORT OF
 14                                                               DEBTOR’S STATUS REPORT

 15                                                               Date:             January 26, 2022
                                                                  Time:             10:00 a.m.
 16                                                               Crtrm:            1539
                                                                  Place:            255 E. Temple St.
 17                                                                                 Los Angeles, CA 90012

 18

 19
                              SUPPLEMENTAL DECLARATION OF DARIUSH G. ADLI
 20
                 I, Dariush G. Adli, hereby declare as follows:
 21
                 1.           I am the principal and sole shareholder of ADLI Law Group, PC, the debtor in
 22
      possession of the instant Subchapter V Chapter 11 reorganization bankruptcy case. The facts
 23
      stated in this declaration are known to me personally. If called as a witness, I could and would
 24
      testify to the truthfulness of all matters stated herein.
 25
                 2.           I am an authorized representative of the Debtor, with full authority to make the
 26
      representations and statements contained herein on behalf of the Debtor. Where the matters stated
 27
      in this declaration are statements of fact that are within my personal knowledge, they are true and
 28


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  1 correct. Where the matters stated in this declaration are statements of fact that are not within my

  2 personal knowledge, they are derived from my review of the Debtor’s business records, founded

  3 on information supplied to me by the Debtor’s key personnel or advisors, or based upon

  4 information and belief, and such statements are true and correct to the best of my knowledge,

  5 information, and belief. The Debtor’s business records were (a) made at or near the time of the

  6 occurrence of the matters set forth therein by, or from information transmitted by, a person having

  7 knowledge of those matters, (b) kept in the course of the regularly conducted business activities of

  8 the Debtor, and (c) by custom and practice of the Debtor, made as part of the Debtor’s regularly

  9 conducted business activities. If called to testify, I could and would, without waiver of any

 10 applicable privilege, testify competently to the matters stated in this declaration.

 11              3.           The purpose of this declaration is to explain and clarify the corrections made to the

 12 ADLI Law Group, PC (“ADLI”) Financial Statements previously submitted.

 13              4.           Attached as Exhibit 1 and incorporated by reference is a true and correct copy of

 14 the Financial Statements dated as of August 31, 2021, which were submitted in this case.

 15              5.           Attached as Exhibit 2 and incorporated by reference is a true and correct copy of

 16 an updated Financial Statement as of November 10, 2021, which is to replace the old version.

 17              6.           Since its inception, ADLI’s Financial Statements have been prepared by an outside

 18 accountancy firm, Parsi & Company, at the end of each year. Also, since its inception, ADLI has

 19 had full-time accounting staff or bookkeeper, who administers payments received and payments

 20 made.

 21              7.           Reconciliation and corrections are normally done at the end of the calendar year.

 22              8.           We have recently realized, however, that our accounts have had many mistakes,

 23 which our accountancy firm has either made, or failed to correct, which have continued from one

 24 year to the next. As we have been making a good faith effort to provide corrections, clarifications,

 25 and documentation, we have had difficulty receiving sufficient assistance from our accountancy

 26 firm.

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  1              9.           We had not realized these problems until this bankruptcy case. As a result, we are

  2 planning to hire an outside firm solely to put our books in order so that we can provide the

  3 necessary information and correct the previous mistakes.

  4              10.          For years, we have had our internal accounting and we also use Centerbase which

  5 is a software that keeps track of our billings to clients and payments received from clients.

  6              11.          The instant Chapter 11 case was not planned, but was forced on us due to a lawsuit

  7 filed by our prior landlord (NREA-TRC 700, LLC) in which the landlord had sought and received

  8 a prejudgment writ of attachment in an amount exceeding $2.6 million. As can be seen from our

  9 Financial Statements, such an attachment would have crippled our firm operations.

 10              12.          Thus, we were in a race to get the bankruptcy on file before the writ would take

 11 effect and freeze our accounts, which, in effect, would have made it impossible for us to pay our

 12 employees and our monthly operating expenses.

 13              13.          We did not appreciate the time and effort this task would have on our firm

 14 operation to provide documents and necessary information to our bankruptcy counsel for a

 15 Chapter 11 case. As a result, we were overwhelmed and rushed, which caused errors in our

 16 documentation.

 17              14.          In connection with the Financial Statements previously submitted, we relied on our

 18 accountancy firm, which had to accommodate our deadline, while approaching their own year-end

 19 crunch, before it had a chance to conduct a reconciliation, which is normally done at the end of the

 20 calendar year. In addition, as our in-house staff was already burdened with all of the information

 21 and documentation required in the bankruptcy case, there was too little time and necessary

 22 resources to check and make cross-references before turning in the Financial Statements. As a

 23 result, errors were made, which are addressed in the updated Financial Statements attached as

 24 Exhibit 2. While these Financial Statements may still require correcting, this is being presented in

 25 good faith based on what we have been able to identify as an error and, accordingly, correct.

 26              15.          The following entries have now been corrected with the corresponding

 27 explanations below:

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  1                    a. 1068 – Due from Shareholder $4,473,737.32 eliminated: This category has been

  2                           used as a placeholder for distributions to me, a fictitious location to place all

  3                           amounts distributed to me by ADLI, so that at the end of the year, the amounts can

  4                           be properly allocated and accounted for. I believe this designation has been used

  5                           since 2012. I understood that once the distribution was properly allocated, this

  6                           category would be zeroed out such that there would not be a running balance. It

  7                           seems now, that the proper reconciliation and reallocation never took place. Since

  8                           realizing this error, we have requested proper accounting of this category from our

  9                           accountancy firm, but at this time, we do not have the details we need. I am

 10                           hopeful that the new accounting firm will be able to provide further clarity. I will

 11                           be providing the details of my compensation for prior years, which will

 12                           demonstrate that this category is a mistake.

 13                           For now, the Financial Statements indicate a distribution to me under item 5300. b.

 14                           1080 – Prepaid Expenses $680,000 eliminated: This was a portion of the SBA PPP

 15                           loan ADLI had received, which we used for payroll. When we received the second

 16                           SBA PPP loan disbursement, we paid $680,000 directly to Progressive Employer

 17                           Management/CoAdvantage, our payroll processing service as prepayment of

 18                           payroll for the period that covered March through June 2021. It also covered

 19                           payroll paybacks for reduced payroll during the difficult times of the pandemic. It

 20                           was considered a “prepaid expense” when it was made. However, by the time of

 21                           the filing of this case, it should have been transferred into the payroll amount

 22                           because it was already paid out for payroll. It has now been taken off as “prepaid

 23                           expense” from the balance sheet and properly reported as an expense in the Profit

 24                           and Loss statement under item 8294 as “Salaries” which is where it should have

 25                           been as of August 2021.

 26                           Attached as Exhibit 3 and incorporated by reference, is a true and correct copy of

 27                           the first PPP loan Promissory Note we received in the sum of $693,445 on April

 28                           22, 2020.


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  1                           Attached as Exhibit 4 and incorporated by reference, is a true and correct copy of

  2                           the second PPP loan Promissory Note we received in the sum of $1,230,000, on

  3                           February 18, 2021.

  4                           Attached as Exhibit 5 and incorporated by reference, is a true and correct copy of

  5                           the wire confirmation from our Bank of the West account to Progressive Employer

  6                           Management (CoAdvantage) in the sum of $680,000 dated April 14, 2021.

  7                    b. 9565 – SBA PPP - $1,923,445 reduced to $1,230,000: We received 2 PPP loans

  8                           aggregating $1,923,445. As noted above, the first SBA PPP loan was for

  9                           $693,445.00 and the second for $1,230,000. Altogether, we received $1,923,445 in

 10                           PPP loans. However, we have successfully obtained forgiveness on $693,445.00 so

 11                           far and are working on the application for the forgiveness of the remaining loan.

 12                           Attached hereto as Exhibit 6 and incorporated by reference is a true and correct

 13                           copy of a screenshot from status of the first PPP loan indicating that there is no

 14                           payoff balance. We received notice of the forgiveness through the loan portal.

 15                           Based on the forgiveness of the first SBA PPP loan, the total amount was reduced

 16                           to the amount that still remains which is $1,230,000 and the forgiven amount in the

 17                           sum of $693,445.00 is added as an adjustment to earnings under 5400.

 18                    c. 2800 – Deposits changed from $28,000 to $28,034.88: This is our deposit with our

 19                           current landlord. The amount was corrected to $28,034.88 because this is the

 20                           correct amount on deposit with our current landlord.

 21                    d. 3470 – Trust Account Liability changed from $1,066,850.71 to $120,400.22: As

 22                           stated above, we requested our CPA to generate Financial Statements in a rush and

 23                           without the usual reconciliation and corrections that happen at the end of the

 24                           calendar year. Parsi & Co apparently took this number from somewhere in

 25                           Centerbase, the software we use for attorney timekeeping and billing. Despite are

 26                           request and our own search of Centerbase, we are unable to explain where the

 27                           amount of $1,066,850.71 came from.

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  1                           We have basically two types of funds held in our trust account. One is paid by

  2                           clients as deposits (or retainers) towards future fees. The other is when either we

  3                           receive funds from our client or for our client as a result of a settlement. For the

  4                           deposits towards future fees, when we issue a bill through Centerbase and there are

  5                           funds in trust, Centerbase automatically deducts from the funds in trust and a

  6                           corresponding entry is made in the firm's financial records. Regarding the

  7                           settlement funds in trust, when such settlement funds are paid either to the client or

  8                           on behalf of the client, there is no process of automatic deductions because we

  9                           issue payments based on the client’s instructions and not as a result of a bill that is

 10                           generated by Centerbase. In those cases, a manual reconciliation and deduction is

 11                           required. Again, because these Financial Statements were not prepared at the usual

 12                           time when our accounting and our accountancy firm’s staff conduct reconciliations

 13                           and reviews, an amount that did not accurately represent the sum that we in fact had

 14                           in trust was listed on our Financial Statements as a trust account liability. I only

 15                           realized this error during the 341(a) meeting when I was questioned about it. Then

 16                           we went back and attempted to trace funds in the trust account to see how it came

 17                           about, however, we were unable to determine how the accounting firm arrived at

 18                           the amount reflected in Exhibit 1. Our actual ledger for client trust money only

 19                           showed $120,400.22 as of November 10, 2021. Attached hereto as Exhibit 7 and

 20                           incorporated by reference is a true and correct copy of our trust account ledger for

 21                           the period through November 10, 2021, that lists the clients by their client/matter

 22                           numbers and amounts. Client names are redacted for obvious reasons. This ledger

 23                           represents the correct amount we had in trust at the time of filing.

 24                           The updated Financial Statement now contains the correct amount. This amount is

 25                           included in our assets under bank accounts, to balance the entry on the liability side

 26                           and is the correct amount of funds we held in trust as of the filing of this

 27                           bankruptcy.

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  1                    e. 3478 – Rent Payable changed from $96,000 to $185,661.24: This is the amount

  2                           owed by ADLI to our prior landlord NREA-TRC 700, LLC. We received an

  3                           updated billing which indicated the amount owed was supposed to be $185,661.24.

  4                           Thus, we corrected the amount we thought we owed with what the landlord

  5                           (creditor) claims we owe.

  6                    f. 2334 – Other Loans Payable $1,108,827.56 eliminated: This amount represented a

  7                           business loan the firm had prior to the filing of bankruptcy, secured by a personal

  8                           property of mine. The loan was refinanced prior to filing for bankruptcy. The

  9                           refinance resulted in the loan becoming my personal responsibility. Attached hereto

 10                           as Exhibit 8 and incorporated by reference is a true and correct copy of the closing

 11                           statement from the refinance which indicates the debtor being my wife and me and

 12                           the loan paid off to Sandstone Capital in the approximate sum of $1,146,000. The

 13                           refinance was started before we anticipated the need to file for bankruptcy and

 14                           completed before filing. Now it has been eliminated from our Financial Statements

 15                           because ADLI no longer owes this amount.

 16                    g. 3196 - Due to John Terlizzi-Keefe $120,715.88 increased to $162,715.88: This is a

 17                           debt ADLI owes. The amount stated in the old Financial Statement was incorrect.

 18                           Upon review, we realized this mistake and corrected the amount to the balance

 19                           owed pursuant to a settlement agreement.

 20                    h. 3233 – Loan from NHS $443,868.74: This was the accumulated backpay that used

 21                           to be owed to Nicolette Hachem-Sawaya, an employee of the firm, for amounts

 22                           owed since 2010. It was never a loan. It was simply mischaracterized by our

 23                           accountancy firm for amounts owed to an employee. Again, this amount was not

 24                           reconciled and corrected. After realizing that this was in the Financial Statement,

 25                           we removed it in its entirety because it was not a loan, but backpay accumulated

 26                           since 2010, that was already paid and mistakenly not decreased as payments were

 27                           made

 28


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  1                    i. 5300 – Distribution $430,000 increased to $2,358,240.84: As noted above, part of

  2                           my compensation from past years was treated as a loan to me and placed under

  3                           “Due from Shareholder” as a placeholder. As I understand it, each time my

  4                           compensation was reconciled and properly allocated at the end of the year, the

  5                           “Due from Shareholder” category was supposed to have been zeroed out. We have

  6                           not been able to receive sufficient documentation or explanation from our

  7                           accountancy firm explaining how this number came about. The soon-to-be retained

  8                           financial advisors will look further into this category. It seems now that it was not

  9                           and now this amount has been added as distribution to me. I am informed and

 10                           believe that this amount has accumulated since 2012 and does not accurately

 11                           represent my compensation in any one year, and specially not 2021. I provide

 12                           details of my compensation below.

 13                    j. 5400 – Adjustment to Earnings (PPP) $693,445 added: As noted above this amount

 14                           was forgiven. The amount of $693,445 was reduced from item 9565 and treated

 15                           under 5400 as adjusted earnings because the loan is now forgiven.

 16                    k. 9560 - Loss on Sale of Asset $23,230.94 added: This new line item is in

 17                           connection with a vehicle that ADLI had purchased for $50,576.00 and placed into

 18                           service on October 14, 2010. Depreciation expense for this vehicle was taken

 19                           every year and at the time of the old Financial Statement (Exhibit 1), there was an

 20                           undepreciated value of $23,230.94. ADLI no longer has that vehicle and has not

 21                           had it for a long time. In fact, ADLI did not own any vehicles at the time of filing

 22                           for bankruptcy. But the Financial Statements included a depreciation value that

 23                           made it look like we had vehicles. Removing the vehicle’s depreciation without an

 24                           income from a sale of the vehicle, resulted in the instant entry as “loss of sale of

 25                           asset.”

 26              16.          The above changes were made in good faith and based on a review and

 27 reconciliation of our accounting records. The prior Financial Statements (Exhibit 1) had several

 28


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  1 errors which we had not caught because of the rush to file. I sincerely apologize for any confusion

  2 or inconvenience the incorrect statements caused.

  3              17.          As for my compensation history, attached as Exhibit 9 and incorporated by

  4 reference is a true and correct copy of an Excel spreadsheet listing by category, the payments

  5 made to or on my behalf in connection with my compensation from ADLI during the 12 months

  6 immediately preceding the petition date, including perquisites. The following are the categories

  7 and totals detailed in the attachment based on payments made from January 1, 2021 through

  8 November 1, 2021:

  9                    a. Health Insurance Payments to Blue Shield of California: $46,568.70

 10                    b. Dental Insurance Payments to Blue Shield of California: $9,281.70

 11                    c. Car Payment for Car 1: $55,055.84

 12                    d. Car Payment for Car 2: $17,612.98

 13                    e. Car Payment for Car 3: $11,069.68

 14                    f. Disbursement to Dariush G. Adli: $512,637.90 (last payment received 11/9/2021)

 15              18.          For prior years, I am willing to submit pages from my individual tax returns in

 16 camera. For the purpose of my request for insider compensation, the following are my taxable

 17 income totals on my individual tax returns in prior years:

 18                    a. 2018: $822,699

 19                    b. 2019: $841,471

 20                    c. 2020: $253,766 (2020 income was substantially and adversely impacted by the

 21                           Pandemic and governmental response to same)

 22              19.          Through a Request for Increase of Insider Compensation, I am requesting a salary

 23 payment of $520,000 annually, which comes to $10,000 per week. Based on having directly

 24 received $512,637.90 as of November 9, 2021, this requested amount is in line with my

 25 compensation for the 12 months prior to filing and in line with what I have received historically.

 26              20.          In total, $139,588.90 was also paid as “perquisites” for the 12 months prior to

 27 filing, although some prior payments are also listed. On average, the perquisites come to about to

 28


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  1 $12000 per month. However, in my request for insider compensation, only $9,788.12 is

  2 requested.

  3              21.          As explained in the application, as the principal of ADLI, I work on client matters

  4 and bill each month. A significant amount of the firm’s income is derived from my work. My

  5 requested compensation is much less than the income I produce. The income derived from my

  6 work has been able to pay for the overhead and my compensation. Thus, I believe my request is

  7 historically and financially reasonable.

  8              22.          Finally, attached hereto as Exhibit 10 and incorporated by reference, is a true and

  9 correct copy of the Projections for Operations for 2022, on a monthly basis.

 10              I declare under penalty of perjury under the laws of the United States of America that the

 11 foregoing is true and correct and that this declaration was executed on January 10, 2022, at Los

 12 Angeles, California.

 13

 14

 15                                                                        Dariush G. Adli

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                                        Exhibit 1
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
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                                      Balance Sheet - Modified Cash Basis
                                                     As of August 31 , 2021
                                                                                                  Aug 31 , 21

ASSETS
   Current Assets

         Checki ng/Savings
              1000 ·CASHIN BANK                                                                     115,696.52
         Total Checking/Savings                                                                     115,696.52
         Other Current Assets
              1068 · DUE FROM SHAREHOLDER                                                         4,473,737.32
              1080 · PREPAID EXPENSE                                                                680,000.00
         Total Other Current Assets                                                               5,153,737.32
   Total Curr ent Assets                                                                          5,269,433.84
   Fixed Assets

         2020 · BLDG & OTHER ASSETS                                                                   9,142.09
         2030 · COMPUTER                                                                             12,748.05
         2040 · FURNITURES & FIXTURES                                                               221 ,552.79
         2050 · AUTO                                                                                 50,576.44
         2055 · LEASEHOLD IMPROVEMENTS                                                              103,120.28
         2065 · ACCUMULATED DEPRECIATION                                                           -363,287.30
   Total Fixed Assets                                                                                33,852.35
   Other Assets
         2800 · DEPOSITS                                                                             28,000.00
   Total Other Assets                                                                                28,000.00
TOTAL ASSETS                                                                                      5,331,286.1 9
LIABILITIES & EQUITY
   Liabi lities

         Current Liabilities

             Credit Cards
                  3050 · CREDIT CARD#9271                                                            -1 ,000.00
                  3060 · MASTERCARD #0621                                                            34.577.04
             Total Cred it Cards                                                                     33,577.04
             Other Current Liabi lities

                  3470 · TRUST ACCOUNT LIABILITY                                                  1,066,850.71
                  3478 · RENT PAYABLE                                                                96,000.00
                  9565 · SBA PPP                                                                  1,923,445.00
             Total Othe r C urrent Liabi lit ies                                                  3,086,295.71
         Total Cur rent Liabilities                                                               3,119,872.75
         Long Term Liabilities

             3196 · DUE TO JOHN TERLIZZI-KEEF E                                                    120,715.88
             3198 · DUE TO SANDSTONE CAPITAL                                                      1,125,000.00
             3233 · LOAN FROM NHS                                                                  443,868.74
             3242 · SBA EIDL                                                                         15,000.00
         Total Long Term Liabil ities                                                             1,704,584 .62
   To tal Liabilities                                                                             4,824.457.37
   Equity
         5324 · CAPITAL STOCK                                                                      300,000.00
         5700 · RETAINED EARNINGS                                                                         0.00




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                               Balance Sheet - Modified Cash Basis
                                              As of August 31, 2021
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       Net Income                                                                            206,828.82

   Total Equity                                                                              506,828.82
TOTAL LIABILITIES & EQUITY                                                                  5,331 ,286.19




                                                                                                            3
See Accountant's Compilation Report
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                                  Profit & Loss - Modified Cash Basis
                                             January through August 2021
                                                                                               Jan - Aug 21

  Ordinary Income/Expense
           Income
               6000 · FEES INCOME                                                               1,869,592 .81

               6020 · REFUND                                                                      -22,500.00

           Total Income                                                                         1,847,092.81

       Gross Profit                                                                             1,847,092.81

           Expense
               7000 · REIMBURSED EXPENSE                                                           78.611 .09

               8005 · ADVERTISING                                                                     722.33

               8020 · AUTOMOBILE EXPENSE                                                               62.02

               8040 · BANK CHARGES                                                                  3,989.36

               8043 · BOARD OF DIRECTOR FEE                                                        61,005.00

               8047 · CLEANING FEE                                                                    429.00

               8050 · CREDIT CARD PROCESSING FEES                                                  11 ,653.47

               8051 · COMPUTER EXPENSES                                                             1.049.63

               8053 · DEPRECIATION EXPENSE                                                          1,328.33

                8054 · DOCUMENT PROCESSING                                                            480.00

                8060 · DUES & SUBSCRIPTIONS                                                         2,010.15

                8065 · EDUCATION & TRAINING                                                         2,053.76

                8070 · LEGAL FEE EXPENSE                                                           35,251.01

                8100 · INSURANCE
                      8101 · LIABILITY                                                             25,545.93

                      8104 · WORKERS' COMP                                                          2,992.00

                      8106 · MALPRACTICE                                                           98,021 .79

                Total 8100 · INSURANCE                                                            126,559.72

                8112 · LEASE-AUTO                                                                  20,632.62

                8115 · LEASE-EQUIPMENT                                                               6,494.93

                8120 · LICENSES & FEES                                                               3,753.00

                8125 · MARKETING                                                                     4,347.14

                8155 · MOVING EXPENSE                                                                7,050.00

                8190 · OFFICE EXPENSE                                                                3,758.88

                8200 · OFFICE SUPPLIES                                                               5,876.43

                8220 · OUTSIDE SERVICES                                                            50.396.69

                8225 · PARKING & VALIDATION                                                          2,929.00

                8260 · POSTAGE & DELIVERY                                                           14,139.40

                8270 · PROFESSIONAL SERVICES
                      8271 · ACCOUNTING                                                             15,200.00

                Total 8270 · PROFESSIONAL SERVICES                                                  15,200.00

                8273 · EMPLOYEE BENEFITS EXPENSE                                                     1,856.34

                8280 · RENT                                                                         96,000.00

                8292 · RESEARCH                                                                      4,708.96

                8294 · SALARIES-LEASED EMPLOYEES
                      8298 · OFFICE EMPLOYEES W-2                                                1,051 ,821 .34

                Total 8294 · SALARIES-LEASED EMPLOYEES                                           1,051 ,821 .34

                8390 · TELEPHONE AND INTERNET                                                       17.284.01




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                                    Profit & Loss - Modified Cash Basis
                                           January through August 2021
                                                                                          Jan• Aug 21

                 8395 · TRAVEL & LODGING                                                          5.00
                 8450 · UTILITIES                                                               736.25
                 8460 · WEBSITE EXPENSE                                                       4 ,682.80
             Total Expense                                                                 1,636,877.66
   Net Ordinary Income                                                                      210,215.15
   Ot her Income/Expense
       Other Income
             9560 · INTEREST INCOME                                                              83.17

       Total Other Income                                                                        83.17
       Other Expense
             9540 · INTEREST EXPENSE                                                          3 ,469.50
             9999 · SUSPENSE                                                                       0 .00
       Total Other Expense                                                                     3,469.50
   Net Other Income                                                                           -3,386.33
Net Income                                                                                  206,828.82




See Accountant's Compilation Report                                                                        5
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                          Statement of Cash Flows - Modified Cash Basis
                                               January through August 2021
                                                                                              Jan - Aug 21

        OPERATING ACTIVITIES
             Net Income                                                                         206,828.82
            Adjustments to reconcile Net Income
            to net cash provided by operations:
                 1068 · DUE FROM SHAREHOLDER                                                  -1 ,303,274.36
                 1080 · PREPAID EXPENSE                                                         -680,000.00
                 3050 · CREDIT CARD#9271                                                          -1 ,000.00
                 3060 · MASTERCARD #0621                                                         -14,320.56
                 3470 · TRUST ACCOUNT LIABILITY                                                 404,005.03
                 9565 · SBA PPP                                                                1,230,000.00
        Net cash provided by Operating Activities                                               -157,761 .07
        INVESTING ACTIVITIES
             2065 · ACCUMULATED DEPRECIATION                                                       1,328.33
             2800 · DEPOSITS                                                                      59.000.00
        Net cash provided by Investing Activities                                                 60.328.33
        FINANCING ACTIVITIES
             5300 · DISTRIBUTION                                                                 136,040.96
             5700 · RETAINED EARNINGS                                                           -136,040.96
        Net cash provided by Financing Activities                                                      0.00
    Net cash increase for period                                                                 -97,432.74
    Cash at beginning of period                                                                 213,129.26
Cash at end of period                                                                            115,696.52




See Accountant's Compilation Report                 Motion: 034                                              6
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                                        Exhibit 2
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
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                            ADLI LAW GROUP, P.C.

                           FINANCIAL STATEMENTS

                              NOVEMBER 10, 2021




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                        FINANCIAL STATEMENTS

   FOR THE TEN MONTHS AND TEN DAYS ENDED NOVEMBER 10, 2021


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                                            PARSI & COMPANY
                                                 C.ER.TlFIED Pt;BLIC ACCOUNTANT


                             1801 Century Park East STE. 1132, Century Park Plaza, Los Angeles, CA 90067
                                        Telephone: (310) 556-3655 Facsimile: (424) 320-3211




                                          Accountant's Compilation Report

To Management
Adli Law Group, P.C.
Los Angeles, CA


Management is responsible for the accompanying financial statements of Adli Law Group, P.C. (an S
corporation), which comprise the statement of assets, liabilities, and equity - modified cash basis as of
November 10, 2021, and the related statements of revenues, expenses - modified cash basis for the ten
months and ten days then ended in accordance with the cash basis of accounting, and for determining
that the cash basis of accounting is an acceptable financial reporting framework. We have performed a
compilation engagement in accordance with Statements on Standards for Accounting and Review Services
promulgated by the Accounting and Review Services Committee of the AICPA. We did not audit or review
the financial statements nor were we required to perform any procedures to verify the accuracy or
completeness of the information provided by management. We do not express an opinion, a conclusion,
nor provide any form of assurance on these financial statements.


The financial statements are prepared in accordance with the modified cash basis of accounting, which is
a basis of accounting other than accounting principles generally accepted in the United States of America.


Management has elected to omit substantially all the disclosures and the statement of cash flows
ordinarily included in the financial statements prepared in accordance with the modified cash basis of
accounting. If the omitted disclosures were included in the financial statements, they might influence the
user's conclusions about the Company's assets, liabilities, equity, revenues, and expenses. Accordingly,
the financial statements are not designed for those who are not informed about such matters.

We are not independent with respect to Adli Law Group, P.C.




Parsi and Company, CPA
Los Angeles, CA
December 27, 2021


     Member of American Institute of Certified Public Accountants and California Society of Certified Public Accountants
                            Diplomate of the American Board of Forensic Accounting

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                                     Balance Sheet - Modified Cash Basis
                                                As of November 10, 2021
                                                                                                Nov 10, 21
ASSETS
   Current Assets
         Checking/Savings
             1000 ·CASHIN BANK                                                                    147.198.99
         Total Checking/Savings                                                                   147,198.99
   Total Current Assets                                                                           147,198.99
   Fixed Assets
         2020 · BLDG & OTHER ASSETS                                                                 9,142.09
         2030 · COMPUTER                                                                           12.748.05
         2040 · FURNITURES & FIXTURES                                                             221,552.79
         2055 · LEASEHOLD IMPROVEMENTS                                                            103,120.28
         2065 · ACCUMULATED DEPRECIATION                                                         -335.941.80
   Total Fixed Assets                                                                              10,621.41
   Other Assets
         2800 · DEPOSITS                                                                           28,034.88
   Total Other Assets                                                                              28.034.88
TOTAL ASSETS                                                                                      185,855.28

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Credit Cards
                  3060 · MASTERCARD #0621                                                          49.868.95
             Total Credit Cards                                                                    49.868.95
             Other Current Liabilities
                  3470 · TRUST ACCOUNT LIABILITY                                                  120,400.22
                  3478 • RENT PAYABLE                                                             185,661.24
                  9565 · SBA PPP                                                                1,230,000.00
             Total Other Current Liabilities                                                    1,536,061.46
         Total Current Liabilities                                                              1,585,930.41
         Long Term Liabilities
             3196 · DUE TO JOHN TERLIZZI-KEEFE                                                    162.961 67
             3242 · SBA EIDL                                                                       15.000.00
         Total Long Term Liabilities                                                              177,961.67
   Total Liabilities                                                                            1,763,892.08
    Equity
         5300 · DISTRIBUTION                                                                    -2,358.240.84
         5324 · CAPITAL STOCK                                                                     300.000.00
         5400 · ADJUSTMENT TO EARNINGS (PPP)                                                      693,445.00
         Net Income                                                                              -213.240.96
   Total Equity                                                                                 -1.578,036.80
TOTAL LIABILITIES & EQUITY                                                                        185,855.28




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                                      Profit & Loss - Modified Cash Basis
                                           January 1 through November 10, 2021
                                                                                          Jan 1 • Nov 10, 21
    Ordinary Income/Expense
            Income
                6000 • FEES INCOME                                                              2.508.536.98
                6020 · REFUND                                                                     -22.500.00
                6030 · REIMBURSABLE EXPENSE                                                          -144.00
            Total Income                                                                        2,485,892.98
        Gross Profit                                                                            2,485,892.98
            Expense
                7000 · REIMBURSED EXPENSE                                                          56,911.03
                8005 · ADVERTISING                                                                    979.66
                8020 · AUTOMOBILE EXPENSE                                                              62.02
                8040 · BANK CHARGES                                                                 5.351.81
                8043 · BOARD OF DIRECTOR FEE                                                       61,005.00
                8047 · CLEANING FEE                                                                   429.00
                8050 · CREDIT CARD PROCESSING FEES                                                 18.225.76
                8051 · COMPUTER EXPENSES                                                            1.042.96
                8053 · DEPRECIATION EXPENSE                                                         1,328.33
                8054 • DOCUMENT PROCESSING                                                            480.00
                8060 · DUES & SUBSCRIPTIONS                                                         2,357.11
                8065 · EDUCATION & TRAINING                                                         2,053.76
                8070 · LEGAL FEE EXPENSE                                                           92,746.25
                8100 • INSURANCE
                       8101 · LIABILITY                                                            25.545.93
                       8104 · WORKERS" COMP                                                         2.992.00
                       8106 · MALPRACTICE                                                         122,375.03
                Total 8100 · INSURANCE                                                            150.912.96
                8112 · LEASE-AUTO                                                                  20.632.62
                u115 · LEASE-EQUIPMENT                                                              6,494.93
                8120 · LICENSES & FEES                                                              3,968.00
                8125 · MARKETING                                                                    4,929.00
                8190 · OFFICE EXPENSE                                                               4,526.88
                8200 · OFFICE SUPPLIES                                                              6,287.64
                8220 · OUTSIDE SERVICES                                                            69,403.95
                8225 · PARKING & VALIDATION                                                         3.629.00
                8260 · POSTAGE & DELIVERY                                                          18,329.61
                8265 · PRINTING                                                                     1,085.00
                8270 · PROFESSIONAL SERVICES
                       8271 · ACCOUNTING                                                           18,950.00
                       8272 • LEGAL                                                                   278.00
                Total 8270 • PROFESSIONAL SERVICES                                                 19,228.00
                8273 · EMPLOYEE BENEFITS EXPENSE                                                    1,856.34
                8280 · RENT                                                                       185,661.24
                8292 · RESEARCH                                                                    10.038.08
                8294 · SALARIES-LEASED EMPLOYEES                                                1.880,018.78
                8300 · STORAGE                                                                      9,750.00



See Accountant's Compilation Report                 Motion: 040                                                3
    Case 2:21-bk-18572-BB              Doc 125
                                           116
                                            ADLI Filed
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                                    Profit & Loss - Modified Cash Basis
                                        Janua!Y 1 through November 10, 2021
                                                                                       Jan 1 - Nov 10, 21
                 8390 · TELEPHONE AND INTERNET                                                  20.739.53
                 8391 · TRANSLATION SERVICES                                                       170.00
                 8395 · TRAVEL & LODGING                                                              5.00
                 8450 · UTILITIES                                                                1,124.78
                 8460 · WEBSITE EXPENSE                                                          7,907.45
             Tota! Expense                                                                   2.669.671.48
   Net Ordinary Income                                                                        -183,778.50
   Other Income/Expense
       Other Income
             9560 · INTEREST INCOME                                                                 95.91
        Total Other Income                                                                          95.91
       Other Expense
             9560 · LOSS ON SALE OF ASSET                                                       23,230.94
             9540 · INTEREST EXPENSE                                                             6,327.43
        Total Other Expense                                                                     29,558.37
   Net Other Income                                                                            -29,462.46
Net Income                                                                                    -213,240.96




See Accountant's Compilation Report              Motion: 041                                                4
Case 2:21-bk-18572-BB          Doc 125
                                   116 Filed 01/19/22
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                                        Exhibit 3
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
                                             Motion: 042
DocuSign Envelope ID: 068AACE6-E91D-44EE-94B8-102875763CB7
                Case 2:21-bk-18572-BB                   Doc 125
                                                            116 Filed 01/19/22
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                                                                   U.S. Small Business Administration

                                                                                  NOTE

     SBA Loan #                      54376071-01


     SBA Loan Name                   Adli Law Group P.C.


     Date                            04-22-2020


     Loan Amount                     $693,445.00


     Interest Rate                   1.00%


     Borrower                        Adli Law Group P.C.


     Operating Company N/A


     Lender                          Pacific Premier Bank


    1.PROMISE TO PAY:
    In return for the Loan, Borrower promises to pay to the order of Lender the amount of Six Hundred Ninety-three Thousand Four
    Hundred Forty-five and 00/100 Dollars , interest on the unpaid principal balance, and all other amounts required by this Note.
    2.DEFINITIONS:
    "Collateral" means any property taken as security for payment of this Note or any guarantee of this Note.
    "Guarantor" means each person or entity that signs a guarantee of payment of this Note.
    "Loan" means the loan evidenced by this Note.
    "Loan Documents" means the documents related to this loan signed by Borrower, any Guarantor, or anyone who pledges collateral.
    "SBA" means the Small Business Administration, an Agency of the United States of America.
    3.PAYMENT TERMS:
         Borrower must make all payments at the place Lender designates. The payment terms for this Note are:
         The interest rate under this Note shall be fixed at 1.00% per annum for the term of the Loan. Borrower will pay this loan in
         accordance with the following payment schedule. Beginning with the first loan payment due under this Note, Loan
         payments shall be deferred in their entirety for a period of six (6) months (the "Payment Deferral Period"). Upon the end of
         the Payment Deferral Period and beginning seven (7) months from the month this Note is dated, Borrower shall make
         seventeen (17) consecutive monthly payments of interest only and one (1) final payment of all outstanding principal plus all
         accrued unpaid interest (including all interest accrued during the Payment Deferral Period) on the date that is twenty-four
         (24) months from the date of this Note (the "Maturity Date"). All payments due under this Note shall be made on the first
         calendar day of the month when due, except for the final payment, which is due on the Maturity Date. Unless otherwise
         agreed or required by applicable law, payments will be applied first to any accrued unpaid interest; and then to principal.
         Borrower will pay Lender at Lender's address shown above or at such other place as Lender may designate in writing.
         Loan Prepayment:
          Notwithstanding any provision in this Note to the contrary:
                   Borrower may prepay this Note. Borrower may prepay 20 percent or less of the unpaid principal balance at any time
                   without notice. If Borrower prepays more than 20 percent and the Loan has been sold on the secondary market, Borrower
                   must:
                            a. Give Lender written notice;
                            b. Pay all accrued interest; and
    SBA Form 147 (06/03/02) Version 4.1                          Page 1/3

                                                                 Motion: 043
DocuSign Envelope ID: 068AACE6-E91D-44EE-94B8-102875763CB7
                Case 2:21-bk-18572-BB                  Doc 125
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                            c. If the prepayment is received less than 21 days from the date Lender receives the notice, pay an amount equal to 21
                               days' interest from the date lender receives the notice, less any interest accrued during the 21 days and paid under
                               subparagraph b., above.
                          If Borrower does not prepay within 30 days from the date Lender receives the notice, Borrower must give Lender a new
                          notice.
         All remaining principal and accrued interest is due and payable 2 years from date of Note.
    4.DEFAULT: Borrower is in default under this Note if Borrower does not make a payment when due under this Note, or if Borrower or
    Operating Company:
         A. Fails to do anything required by this Note and other Loan Documents;
         B. Defaults on any other loan with Lender;
         C. Does not preserve, or account to Lender's satisfaction for, any of the Collateral or its proceeds;
         D. Does not disclose, or anyone acting on their behalf does not disclose, any material fact to Lender or SBA;
         E. Makes, or anyone acting on their behalf makes, a materially false or misleading representation to Lender or SBA;
         F. Defaults on any loan or agreement with another creditor, if Lender believes the default may materially affect Borrower's ability
         to pay this Note;
         G. Fails to pay any taxes when due
         H. Becomes the subject of a proceeding under any bankruptcy or insolvency law;
         I. Has a receiver or liquidator appointed for any part of their business or property;
         J. Makes an assignment for the benefit of creditors;
         K. Has any adverse change in financial condition or business operation that Lender believes may materially affect Borrower's
         ability to pay this Note;
         L. Reorganizes, merges, consolidates, or otherwise changes ownership or business structure without Lender's prior written consent;
         or
         M. Becomes the subject of a civil or criminal action that Lender believes may materially affect Borrower's ability to pay this Note.
    5.LENDER'S RIGHTS IF THERE IS A DEFAULT: Without notice or demand and without giving up any of its rights, Lender may:
         A. Require immediate payment of all amounts owing under this Note;
         B. Collect all amounts owing from any Borrower or Guarantor;
         C. File suit and obtain judgment;
         D. Take possession of any Collateral; or
         E. Sell, lease, or otherwise dispose of, any Collateral at public or private sale, with or without advertisement.
    6.LENDER'S GENERAL POWERS: Without notice and without Borrower's consent, Lender may:
         A. Bid on or buy the Collateral at its sale or the sale of another lienholder, at any price it chooses;
         B. Incur expenses to collect amounts due under this Note, enforce the terms of this Note or any other Loan Document, and preserve
         or dispose of the Collateral. Among other things, the expenses may include payments for property taxes, prior liens, insurance,
         appraisals, environmental remediation costs, and reasonable attorney's fees and costs. If Lender incurs such expenses, it may
         demand immediate repayment from Borrower or add the expenses to the principal balance;
         C. Release anyone obligated to pay this Note;
         D. Compromise, release, renew, extend or substitute any of the Collateral; and
         E. Take any action necessary to protect the Collateral or collect amounts owing on this Note.
    7.WHEN FEDERAL LAW APPLIES: When SBA is the holder, this Note will be interpreted and enforced under federal law,
    including SBA regulations. Lender or SBA may use state or local procedures for filing papers, recording documents, giving notice,
    foreclosing liens, and other purposes. By using such procedures, SBA does not waive any federal immunity from state or local control,
    penalty, tax, or liability. As to this Note, Borrower may not claim or assert against SBA any local or state law to deny any obligation,
    defeat any claim of SBA, or preempt federal law.
    8.SUCCESSORS AND ASSIGNS: Under this Note, Borrower and Operating Company include the successors of each, and Lender
    includes its successors and assigns.
    9.GENERAL PROVISIONS:
         A. All individuals and entities signing this Note are jointly and severally liable.
         B. Borrower waives all suretyship defenses.
         C. Borrower must sign all documents necessary at any time to comply with the Loan Documents and to enable Lender to acquire,
         perfect, or maintain Lender's liens on Collateral.
         D. Lender may exercise any of its rights separately or together, as many times and in any order it chooses. Lender may delay or
         forgo enforcing any of its rights without giving up any of them.
         E. Borrower may not use an oral statement of Lender or SBA to contradict or alter the written terms of this Note.
    SBA Form 147 (06/03/02) Version 4.1                              Page 2/3

                                                                     Motion: 044
DocuSign Envelope ID: 068AACE6-E91D-44EE-94B8-102875763CB7
                Case 2:21-bk-18572-BB            Doc 125
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        F. If any part of this Note is unenforceable, all other parts remain in effect.
        G. To the extent allowed by law, Borrower waives all demands and notices in connection with this Note, including presentment,
        demand, protest, and notice of dishonor. Borrower also waives any defenses based upon any claim that Lender did not obtain any
        guarantee; did not obtain, perfect, or maintain a lien upon Collateral; impaired Collateral; or did not obtain the fair market value of
        Collateral at a sale.
    10.STATE-SPECIFIC PROVISIONS:
        NONE


    11. BORROWER'S NAME(S) AND SIGNATURE(S):
    By signing below, each individual or entity becomes obligated under this Note as Borrower.
    BORROWER:
    Adli Law Group P.C.


    By
         Dariush G. Adli, President of Adli Law Group
         P.C.




    SBA Form 147 (06/03/02) Version 4.1                        Page 3/3

                                                               Motion: 045
DocuSign Envelope ID: 068AACE6-E91D-44EE-94B8-102875763CB7
             Case 2:21-bk-18572-BB                    Doc 125
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                                          CORPORATE RESOLUTION TO BORROW
     Principal              Loan Date  Maturity                   Loan No                  Call / Coll               Account       Officer       Initials
   $693,445.00             04-22-2020 04-22-2022                6270239121
      References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                Any item above containing "***" has been omitted due to text length limitations.

                                                                                 Lender:             Pacific Premier Bank
 Corporation:     Adli Law Group P.C.                                                                17901 Von Karman Avenue
                  700 South Flower Street, Suite 1220                                                Suite 1200
                  Los Angeles, CA 90017                                                              Irvine, CA 92614
                                                                                                     (949) 864-8000


    I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
    THE CORPORATION'S EXISTENCE. The complete and correct name of the Corporation is Adli Law Group P.C. ("Corporation"). The
    Corporation is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good standing under and by
    virtue of the laws of the State of California. The Corporation is duly authorized to transact business in all other states in which the Corporation
    is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which the Corporation is doing
    business. Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in which the failure to so
    qualify would have a material adverse effect on its business or financial condition. The Corporation has the full power and authority to own its
    properties and to transact the business in which it is presently engaged or presently proposes to engage. The Corporation maintains an office at
    700 South Flower Street, Suite 1220, Los Angeles, CA 90017. Unless the Corporation has designated otherwise in writing, the principal office
    is the office at which the Corporation keeps its books and records. The Corporation will notify Lender prior to any change in the location of the
    Corporation's state of organization or any change in the Corporation's name. The Corporation shall do all things necessary to preserve and to
    keep in full force and effect its existence, rights and privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and
    decrees of any governmental or quasi-governmental authority or court applicable to the Corporation and the Corporation's business activities.
    RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
    Directors then at a meeting of the Corporation's shareholders, duly called and held on April 22, 2020, at which a quorum was present and
    voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
    OFFICER. The following named person is an officer of Adli Law Group P.C.:
         NAMES                            TITLES                     AUTHORIZED          l n DocuSigned by:   ACTUAL SIGNATURES

         Dariush G. Adli                  President                         Y            L£~,~;~,.:~.aJ1
                                                                                     X _______________________________________________

    ACTIONS AUTHORIZED. The authorized person listed above may enter into any agreements of any nature with Lender, and those agreements
    will bind the Corporation. Specifically, but without limitation, the authorized person is authorized, empowered, and directed to do the following
    for and on behalf of the Corporation:
         Borrow Money. To borrow, as a cosigner or otherwise, from time to time from Lender, on such terms as may be agreed upon between the
         Corporation and Lender, such sum or sums of money as in his or her judgment should be borrowed; however, not exceeding at any one
         time the amount of Six Hundred Ninety-three Thousand Four Hundred Forty-five & 00/100 Dollars ($693,445.00), in addition to such sum
         or sums of money as may be currently borrowed by the Corporation from Lender.
         Execute Notes. To execute and deliver to Lender the promissory note or notes, or other evidence of the Corporation's credit
         accommodations, on Lender's forms, at such rates of interest and on such terms as may be agreed upon, evidencing the sums of money so
         borrowed or any of the Corporation's indebtedness to Lender, and also to execute and deliver to Lender one or more renewals, extensions,
         modifications, refinancings, consolidations, or substitutions for one or more of the notes, any portion of the notes, or any other evidence of
         credit accommodations.
         Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
         agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
         conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
         any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
         in connection with or pertaining to the giving of the liens and encumbrances.
         Negotiate Items. To draw, endorse, and discount with Lender all drafts, trade acceptances, promissory notes, or other evidences of
         indebtedness payable to or belonging to the Corporation or in which the Corporation may have an interest, and either to receive cash for the
         same or to cause such proceeds to be credited to the Corporation's account with Lender, or to cause such other disposition of the
         proceeds derived therefrom as he or she may deem advisable.
         Further Acts. In the case of lines of credit, to designate additional or alternate individuals as being authorized to request advances under
         such lines, and in all cases, to do and perform such other acts and things, to pay any and all fees and costs, and to execute and deliver
         such other documents and agreements as the officer may in his or her discretion deem reasonably necessary or proper in order to carry into
         effect the provisions of this Resolution.
    ASSUMED BUSINESS NAMES. The Corporation has filed or recorded all documents or filings required by law relating to all assumed business
    names used by the Corporation. Excluding the name of the Corporation, the following is a complete list of all assumed business names under
    which the Corporation does business: None.
    NOTICES TO LENDER. The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time) prior to any (A) change in the Corporation's name; (B) change in the Corporation's assumed
    business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change in the Corporation's
    principal office address; (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
    business entity; or (H) change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
                                                                    Motion: 046
    Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice.
DocuSign Envelope ID: 068AACE6-E91D-44EE-94B8-102875763CB7
                Case 2:21-bk-18572-BB                                     Doc 125
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                                                                CORPORATE RESOLUTION TO BORROW
    Loan No: 6270239121                                                    (Continued)                                                                                                                  Page 2

    CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above is duly elected, appointed, or employed by or for the
    Corporation, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of record on
    the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
    NO CORPORATE SEAL. The Corporation has no corporate seal, and therefore, no seal is affixed to this Resolution.
    CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
    hereby ratified and approved. This Resolution shall be continuing, shall remain in full force and effect and Lender may rely on it until written
    notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
    designate from time to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
    is given.
    IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above is his or her genuine
    signature.
    I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
    made in this Resolution are true and correct. This Corporate Resolution to Borrow is dated April 22, 2020.

                                                                                                                                   CERTIFIED TO AND ATTESTED BY:


                                                                                                                                   X
                                                                                                                                        Dariush G. Adli, President of Adli Law Group P.C.




    NOTE: If the officer signing this Resolution is designated by the foregoing document as one of the officers authorized to act on the Corporation's behalf, it is advisable to have this Resolution
    signed by at least one non-authorized officer of the Corporation.

                                                  LaserPro, Ver. 20.1.0.034 Copr. Finastra USA Corporation 1997, 2020.   All Rights Reserved.   - CA C:\LENDING\CFI\LPL\C10.FC TR-10515 PR-228




                                                                                                     Motion: 047
DocuSign Envelope ID: 068AACE6-E91D-44EE-94B8-102875763CB7
             Case 2:21-bk-18572-BB                   Doc 125
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                                 DISBURSEMENT REQUEST AND AUTHORIZATION
     Principal              Loan Date  Maturity                      Loan No             Call / Coll          Account            Officer      Initials
   $693,445.00             04-22-2020 04-22-2022                   6270239121
      References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                Any item above containing "***" has been omitted due to text length limitations.

  Borrower:         Adli Law Group P.C.                                        Lender:          Pacific Premier Bank
                    700 South Flower Street, Suite 1220                                         17901 Von Karman Avenue
                    Los Angeles, CA 90017                                                       Suite 1200
                                                                                                Irvine, CA 92614
                                                                                                (949) 864-8000


    LOAN TYPE. This is a Fixed Rate (1.000% initial rate) Nondisclosable SBA Loan to a Corporation for $693,445.00 due on April 22, 2022.

    PRIMARY PURPOSE OF LOAN. The primary purpose of this loan is for:

               •    Personal, Family, or Household Purposes or Personal Investment.

               •X   Business (Including Real Estate Investment).

    SPECIFIC PURPOSE. The specific purpose of this loan is: To retain workers and maintain payroll, make mortgage interest payments, make
    lease payments, and/or utility payments.
    DISBURSEMENT INSTRUCTIONS. Borrower understands that no loan proceeds will be disbursed until all of Lender's conditions for making the
    loan have been satisfied. Please disburse the loan proceeds of $693,445.00 as follows:

                              Amount paid to Borrower directly:                                   $693,445.00
                                $693,445.00 Deposited to Checking Account # 756789224

                              Note Principal:                                                     $693,445.00
    PAYCHECK PROTECTION PROGRAM LOAN. Borrower hereby represents and warrants that (i) Borrower is eligible to receive this Loan under the
    rules currently in effect that have been issued by the Small Business Administration (“SBA”) implementing the Paycheck Protection Program
    under Division A, Title I of the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”) (the “Paycheck Protection Program Rule”); (ii)
    all Loan proceeds will be used only for business-related purposes as specified in the Paycheck Protection Program Borrower Application Form
    (SBA Form 2483) (the “Application”) submitted by Borrower to Lender and consistent with the Paycheck Protection Program Rule; (iii) Borrower
    was in operation on February 15, 2020 and had employees for whom it paid salaries and payroll taxes or paid independent contractors, as
    reported on Form(s) 1099-MISC; (iv) all Loan Proceeds will be used to retain workers and maintain payroll or make mortgage interest payments,
    lease payments, and utility payments, as specified under the Paycheck Protection Program Rule, and Borrower understands that if Loan
    Proceeds are knowingly used for unauthorized purposes, the federal government may hold Borrower legally liable, such as for charges of fraud;
    (v) all information and documentation provided to Lender in connection with the Loan and Borrower’s Application, including among other things,
    verification of the number of full-time equivalent employees on Borrower’s payroll as well as the dollar amounts of payroll costs, covered
    mortgage interest payments, covered rent payments, and covered utilities are true and accurate in all respects; and (vi) Borrower has reviewed
    in its entirety the “Paycheck Protection Program (PPP) Information Sheet: Borrowers” located at:
    https://home.treasury.gov/system/files/136/PPP--Fact-Sheet.pdf.
    ADDITIONAL FINANCIAL PROVISION. NOTWITHSTANDING THE FINANCIAL CONDITIONS PARAGRAPH BELOW, BORROWER REPRESENTS
    AND LENDER ACKNOWLEDGES THAT CURRENT ECONOMIC UNCERTAINTY MAKES THIS LOAN REQUEST NECESSARY TO SUPPORT THE
    ONGOING OPERATIONS OF BORROWER.
    ADDITIONAL INFORMATION. Borrower hereby covenants and agrees to make, execute and deliver to Lender such promissory notes,
    instruments, documents and other agreements as Lender or the U.S Small Business Administration (“SBA”) may reasonably request to evidence
    the Loan. Further, upon request of Lender, Borrower agrees to fully cooperate in correcting clerical errors, if any, in the Note or the related loan
    documents, including and without limitation, correcting typographical errors and signing or initialing any such corrections, and to provide Lender
    with such other information as Lender or the SBA may reasonably request or require in connection with a Paycheck Protection Program loan.

    FINANCIAL CONDITION. BY SIGNING THIS AUTHORIZATION, BORROWER REPRESENTS AND WARRANTS TO LENDER THAT THE
    INFORMATION PROVIDED ABOVE IS TRUE AND CORRECT AND THAT THERE HAS BEEN NO MATERIAL ADVERSE CHANGE IN BORROWER'S
    FINANCIAL CONDITION AS DISCLOSED IN BORROWER'S MOST RECENT FINANCIAL STATEMENT TO LENDER. THIS AUTHORIZATION IS
    DATED APRIL 22, 2020.




                                                                     Motion: 048
DocuSign Envelope ID: 068AACE6-E91D-44EE-94B8-102875763CB7
               Case 2:21-bk-18572-BB                           Doc 125
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                                        DISBURSEMENT REQUEST AND AUTHORIZATION
    Loan No: 6270239121                                (Continued)                                                                                                                           Page 2




    BORROWER:



    ADLI LAW GROUP P.C.

    By:
          Dariush G. Adli, President of Adli Law Group P.C.

                                       LaserPro, Ver. 20.1.0.034 Copr. Finastra USA Corporation 1997, 2020.   All Rights Reserved.   - CA C:\LENDING\CFI\LPL\I20.FC TR-10515 PR-228




                                                                                          Motion: 049
              Case 2:21-bk-18572-BB               Doc 125
                                                      116 Filed 01/19/22
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Certificate Of Completion
Envelope Id: 068AACE6E91D44EE94B8102875763CB7                                                    Status: Completed
Subject: Please DocuSign: Loan Documents Adli Law Group PC
Template Name: Loan Documents Adli Law Group PC
Source Envelope:
Document Pages: 7                                 Signatures: 4                                  Envelope Originator:
Certificate Pages: 5                              Initials: 0                                    Jessica March-Lo Grande
AutoNav: Enabled                                                                                 17901 Von Karman Ave, Suite 1200
EnvelopeId Stamping: Enabled                                                                     Irvine, CA 92614
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                                jmarch@ppbi.com
                                                                                                 IP Address: 173.226.106.2

Record Tracking
Status: Original                                  Holder: Jessica March-Lo Grande                Location: DocuSign
         4/22/2020 4:50:33 PM                                jmarch@ppbi.com

Signer Events                                     Signature                                      Timestamp
                                                  l n DocuSigned by:
Dariush G. Adli                                                                                  Sent: 4/22/2020 4:54:22 PM
adli@adlilaw.com
President
                                                  L£~F~;~34:}Jt                                  Viewed: 4/22/2020 5:22:39 PM
                                                                                                 Signed: 4/22/2020 5:26:43 PM
Security Level: Email, Account Authentication
(None), Authentication                            Signature Adoption: Pre-selected Style
                                                  Using IP Address: 68.65.214.122


Authentication Details
ID Check:
    Transaction: 31005136156665
    Result: passed                                  Question Details:
    Vendor ID: LexisNexis                           passed corporate.association.real
    Type: iAuth                                     passed property.county.real
    Recipient Name Provided by: Recipient           passed person.known.single.fake
    Information Provided for ID Check: Address,     passed vehicle.historical.association.real
SSN9, SSN4, DOB                                     passed vehicle.historical.association.real
    Performed: 4/22/2020 5:22:25 PM                 passed property.city.real
Electronic Record and Signature Disclosure:
   Accepted: 4/22/2020 5:22:39 PM
   ID: 38a7d0bc-ac2d-4cfc-8f8c-c585c1fe0568


In Person Signer Events                           Signature                                      Timestamp

Editor Delivery Events                            Status                                         Timestamp

Agent Delivery Events                             Status                                         Timestamp

Intermediary Delivery Events                      Status                                         Timestamp

Certified Delivery Events                         Status                                         Timestamp

Carbon Copy Events                                Status                                         Timestamp
Darrell Daniel III                                                                               Sent: 4/22/2020 4:54:22 PM
ddaniel@ppbi.com                                           COPIED
SVP
Pacific Premier Bank
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign




                                                                       Motion: 050
             Case 2:21-bk-18572-BB   Doc 125
                                         116 Filed 01/19/22
                                                   01/10/22 Entered 01/19/22
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Witness Events                       Signature                      Timestamp

Notary Events                        Signature                      Timestamp

Envelope Summary Events              Status                         Timestamps
Envelope Sent                        Hashed/Encrypted               4/22/2020 4:54:22 PM
Certified Delivered                  Security Checked               4/22/2020 5:22:39 PM
Signing Complete                     Security Checked               4/22/2020 5:26:43 PM
Completed                            Security Checked               4/22/2020 5:26:43 PM

Payment Events                       Status                         Timestamps
Electronic Record and Signature Disclosure




                                                  Motion: 051
Electronic Record and Signature Disclosure created on: 1/30/2015 1:38:30 PM
            Case 2:21-bk-18572-BB                 Doc 125
                                                      116 Filed 01/19/22
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Parties agreed to: Dariush G. Adli
                                                  Main
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             ELECTRONIC RECORD AND SIGNATURE DISCLOSURE
             From time to time, Pacific Premier Bank (we, us or Company) may be required by law to provide
             to you certain written notices or disclosures. Described below are the terms and conditions for
             providing to you such notices and disclosures electronically through your DocuSign, Inc.
             (DocuSign) Express user account. Please read the information below carefully and thoroughly,
             and if you can access this information electronically to your satisfaction and agree to these terms
             and conditions, please confirm your agreement by clicking the 'I agree' button at the bottom of
             this document.
             Getting paper copies
             At any time, you may request from us a paper copy of any record provided or made available
             electronically to you by us. For such copies, as long as you are an authorized user of the
             DocuSign system you will have the ability to download and print any documents we send to you
             through your DocuSign user account for a limited period of time (usually 30 days) after such
             documents are first sent to you. After such time, if you wish for us to send you paper copies of
             any such documents from our office to you, you will be charged a $0.00 per-page fee. You may
             request delivery of such paper copies from us by following the procedure described below.
             Withdrawing your consent
             If you decide to receive notices and disclosures from us electronically, you may at any time
             change your mind and tell us that thereafter you want to receive required notices and disclosures
             only in paper format. How you must inform us of your decision to receive future notices and
             disclosure in paper format and withdraw your consent to receive notices and disclosures
             electronically is described below.
             Consequences of changing your mind
             If you elect to receive required notices and disclosures only in paper format, it will slow the
             speed at which we can complete certain steps in transactions with you and delivering services to
             you because we will need first to send the required notices or disclosures to you in paper format,
             and then wait until we receive back from you your acknowledgment of your receipt of such
             paper notices or disclosures. To indicate to us that you are changing your mind, you must
             withdraw your consent using the DocuSign 'Withdraw Consent' form on the signing page of your
             DocuSign account. This will indicate to us that you have withdrawn your consent to receive
             required notices and disclosures electronically from us and you will no longer be able to use your
             DocuSign Express user account to receive required notices and consents electronically from us
             or to sign electronically documents from us.
             All notices and disclosures will be sent to you electronically
             Unless you tell us otherwise in accordance with the procedures described herein, we will provide
             electronically to you through your DocuSign user account all required notices, disclosures,
             authorizations, acknowledgements, and other documents that are required to be provided or
             made available to you during the course of our relationship with you. To reduce the chance of
             you inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
             notices and disclosures to you by the same method and to the same address that you have given
             us. Thus, you can receive all the disclosures and notices electronically or in paper format through
             the paper mail delivery system. If you do not agree with this process, please let us know as
             described below. Please also see the paragraph immediately above that describes the
             consequences of your electing not to receive delivery of the notices and disclosures
             electronically from us.




                                                                 Motion: 052
Case 2:21-bk-18572-BB        Doc 125
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How to contact Pacific Premier Bank:
You may contact us to let us know of your changes as to how we may contact you electronically,
to request paper copies of certain information from us, and to withdraw your prior consent to
receive notices and disclosures electronically as follows:
 To contact us by email send messages to: rramirez@ppbi.com

To advise Pacific Premier Bank of your new e-mail address
To let us know of a change in your e-mail address where we should send notices and disclosures
electronically to you, you must send an email message to us at rramirez@ppbi.com and in the
body of such request you must state: your previous e-mail address, your new e-mail address. We
do not require any other information from you to change your email address..
In addition, you must notify DocuSign, Inc to arrange for your new email address to be reflected
in your DocuSign account by following the process for changing e-mail in DocuSign.
To request paper copies from Pacific Premier Bank
To request delivery from us of paper copies of the notices and disclosures previously provided
by us to you electronically, you must send us an e-mail to rramirez@ppbi.com and in the body of
such request you must state your e-mail address, full name, US Postal address, and telephone
number. We will bill you for any fees at that time, if any.
To withdraw your consent with Pacific Premier Bank
To inform us that you no longer want to receive future notices and disclosures in electronic
format you may:
       i. decline to sign a document from within your DocuSign account, and on the subsequent
       page, select the check-box indicating you wish to withdraw your consent, or you may;
       ii. send us an e-mail to rramirez@ppbi.com and in the body of such request you must state
       your e-mail, full name, IS Postal Address, telephone number, and account number. We do
       not need any other information from you to withdraw consent.. The consequences of your
       withdrawing consent for online documents will be that transactions may take a longer time
       to process..

Required hardware and software
Operating Systems:                              Windows2000? or WindowsXP?
Browsers (for SENDERS):                         Internet Explorer 6.0? or above
Browsers (for SIGNERS):                         Internet Explorer 6.0?, Mozilla FireFox 1.0,
                                                NetScape 7.2 (or above)
Email:                                          Access to a valid email account
Screen Resolution:                              800 x 600 minimum
Enabled Security Settings:
                                                •Allow per session cookies

                                               •Users accessing the internet behind a Proxy
                                                   Server must enable HTTP 1.1 settings via
                                                   proxy connection
   ** These minimum requirements are subject to change. If these requirements change, we will
   provide you with an email message at the email address we have on file for you at that time
   providing you with the revised hardware and software requirements, at which time you will
   have the right to withdraw your consent.



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   Acknowledging your access and consent to receive materials electronically
   To confirm to us that you can access this information electronically, which will be similar to
   other electronic notices and disclosures that we will provide to you, please verify that you
   were able to read this electronic disclosure and that you also were able to print on paper or
   electronically save this page for your future reference and access or that you were able to
   e-mail this disclosure and consent to an address where you will be able to print on paper or
   save it for your future reference and access. Further, if you consent to receiving notices and
   disclosures exclusively in electronic format on the terms and conditions described above,
   please let us know by clicking the 'I agree' button below.
   By checking the 'I Agree' box, I confirm that:

     •   I can access and read this Electronic CONSENT TO ELECTRONIC RECEIPT OF
         ELECTRONIC RECORD AND SIGNATURE DISCLOSURES document; and

     •   I can print on paper the disclosure or save or send the disclosure to a place where I can
         print it, for future reference and access; and

     •   Until or unless I notify Pacific Premier Bank as described above, I consent to receive
         from exclusively through electronic means all notices, disclosures, authorizations,
         acknowledgements, and other documents that are required to be provided or made
         available to me by Pacific Premier Bank during the course of my relationship with
         you.




                                        Motion: 054
Case 2:21-bk-18572-BB          Doc 125
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                                        Exhibit 4
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
                                             Motion: 055
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            Case 2:21-bk-18572-BB            Doc 125
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                                                       PROMISSORY NOTE
                                                PAYCHECK PROTECTION PROGRAM
                                              U.S. SMALL BUSINESS ADMINISTRATION



            SBA Loan # 9743548306

            Date 2/18/2021

            Loan Amount 1230000

            Interest Rate 1.00%

            Borrower ADLI Law Group




                                                                                            W
            Lender Bank of the West




                                                                                         IE
            1. PROMISE TO PAY:

                In return for the Loan, Borrower promises to pay to the order of Lender the amount of __________
                ____________________________________
                 1230000                                      and no/100Dollars, interest on the unpaid principal




                                                           V
                balance, and all other amounts required by this Note.

            2. DEFINITIONS:




                                                         Y
                “Amortization Commencement Date” means the day immediately following the last day of the Deferral
                Period.




                              P
                “Applicable Law” means the CARES Act, as amended from time to time, the Interim Final Rules
                issued pursuant to the CARES Act, any other SBA rules and regulations applicable to loans under the
                Paycheck Protection Program (as defined in the CARES Act) and the other guidance issued by the




                            O
                SBA and/or the U.S. Treasury pursuant to the CARES Act.

                “Deferral Period” means a period of time commencing with the date of initial disbursement on this




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                Note and ending on the day on which the SBA remits to Lender the loan forgiveness amount
                approved by the SBA or notifies Lender that Borrower is not eligible for forgiveness; provided,
                however, that if Borrower does not apply for loan forgiveness before the date that is the ten (10)
                month anniversary of the last day of Borrower’s Covered Period, the Deferral Period shall end on
                such date.

                “Covered Period” means the period of time beginning on the date of disbursement of the Loan and
                ending on a date selected by Borrower that occurs with the disbursement of Proceeds of the Loan
                and ending on the date that is at least 8 weeks after the date of origination and end on the date that is
                24 week after the date of disbursement of the Loan.

                “Loan” means the loan evidenced by this Note.

                “Loan Documents” means the documents related to the Loan.

                “Maturity Date” shall mean, the date that is the sixty-sixth (66th) month anniversary of the date of
                disbursement of the Loan proceeds; provided, however, that the Maturity Date may be amended by




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                Lender consistent with the terms of the Applicable Law if a balance remains owing following the end
                of the Deferral Period.

                “SBA” means the Small Business Administration, an Agency of the United States of America.

            3. PAYMENT TERMS:

                Payments shall made at the place Lender designates in writing to Borrower, unless Borrower
                authorizes Lender to automatically deduct payments from a deposit account of Borrower. The
                payment terms for this Note are:

                  The interest rate is 1.00% per year, fixed for the term of the Note.

                  Principal and interest payments are deferred during the Deferral Period. Interest will continue to
                  accrue on the outstanding principal balance during the Deferral Period.

                  If the entire principal balance of the Loan and accrued interest are forgiven by the SBA, then the
                  principal amount and accrued interest shall be paid to Lender by the SBA. If all or any part of the




                                                                                            W
                  principal balance of the Loan and accrued interest thereon are not forgiven by the SBA, or if
                  Borrower does not apply for loan forgiveness before the date that is the ten (10) month anniversary




                                                                                         IE
                  of the last day of Borrower’s Covered Period, then the principal balance together with and all
                  accrued and unpaid interest outstanding on the Amortization Commencement Date shall be paid in
                  sixty (60) equal monthly payments, commencing in the month specified by Lender in the notice
                  referenced below and continuing on the fifth (5th) day of each month thereafter until the Maturity




                                                           V
                  Date; provided, however, that the last installment shall be in an amount equal to all principal and
                  accrued interest outstanding on the Maturity Date. Monthly payments will be in an amount
                  determined by the Lender to be the amount necessary to fully amortize the principal and interest
                  outstanding on the Amortization Commencement Date over the remaining term of this Note.




                              P                          Y
                  Following Lender’s receipt from the SBA of either (i) the forgiveness amount or (ii) the SBA’s
                  determination that Borrower is not eligible for forgiveness, Lender will notify Borrower whether there
                  is a remaining balance owing under this Note, and, if so, Lender will further notify Borrower of the
                  amount owing, the amount of the monthly principal and interest payments and the date on which
                  the initial monthly payment will be due, which notice may be in electronic form and shall be




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                  conclusive absent manifest error. Such payments shall be due and owing as set forth in the notice
                  notwithstanding any appeal filed by Borrower pursuant to Applicable Law.




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                  Payments shall be due on the fifth (5th) calendar day of each month.

                  Lender will apply each installment payment first to pay interest accrued to the day Lender receives
                  payment, then bring principal current, and will apply any remaining balance to reduce principal.

                  Borrower may prepay this Note at any time without penalty. Borrower must pay all accrued and
                  unpaid interest at the time of any prepayment of principal.

            4. DEFAULT:

                Borrower is in default under this Note if Borrower does not make a payment when due under this
                Note, or if Borrower:

                  A. Fails to do anything required by this Note and other Loan Documents;
                  B. Defaults on any other loan with Lender;
                  C. Does not disclose, or anyone acting on their behalf does not disclose, any material fact to
                     Lender or the SBA;
                  D. Makes, or anyone acting on their behalf makes, a materially false or misleading representation
                     to Lender or the SBA;




                                                         Motion: 057
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                  E. Defaults on any loan or agreement with another creditor, if Lender believes the default may
                     materially affect Borrower’s ability to pay this Note;
                  H. Becomes the subject of a proceeding under any bankruptcy or insolvency law;
                  I. Has a receiver or liquidator appointed for any part of their business or property;
                  J. Makes an assignment for the benefit of creditors;
                  K. Has any adverse change in financial condition or business operation that Lender believes may
                     materially affect Borrower’s ability to pay this Note;
                  L. Without prior written consent of Lender or the SBA, as required pursuant to SBA Procedural
                     Notice 5000-20057, effective October 2, 2020 (as the same may be amended or supplemented
                     from time to time), (a) reorganizes, merges, consolidates, divides, or otherwise changes its
                     business structure; (b) sells at least fifty percent (50%) of its assets (measured by fair market
                     value) whether in one or more transactions; or (c) at least twenty percent (20%) of the common
                     stock or other ownership interest of Borrower is sold or otherwise transferred, whether in one or
                     more transactions,
                  M. Becomes the subject of a civil or criminal action that Lender believes may materially affect
                     Borrower’s ability to pay this Note.




                                                                                               W
            5. LENDER’S RIGHTS IF THERE IS A DEFAULT:

                Without notice or demand and without giving up any of its rights, Lender may:




                                                                                            IE
                  A. Require immediate payment of all amounts owing under this Note;
                  B. Collect all amounts owing from Borrower; and
                  C. File suit and obtain judgment.

            6. LENDER’S GENERAL POWERS:




                                                          Y V
                Without notice and without Borrower’s consent, Lender may:

                  A. Incur expenses to collect amounts due under this Note, enforce the terms of this Note or any
                     other Loan Document. Among other things, the expenses may include payments for reasonable




                              P
                     attorney’s fees and costs. If Lender incurs such expenses, to the extent permitted by Applicable
                     Law, it may demand immediate repayment from Borrower or add the expenses to the principal
                     balance;




                            O
                  B. Release anyone obligated to pay this Note;
                  C. Take any action necessary to collect amounts owing on this Note.

            7. WHEN FEDERAL LAW APPLIES:




              C When SBA is the holder, this Note will be interpreted and enforced under federal law, including SBA
                regulations. Lender or SBA may use state or local procedures for filing papers, recording documents,
                giving notice, foreclosing liens, and other purposes. By using such procedures, SBA does not waive
                any federal immunity from state or local control, penalty, tax, or liability. As to this Note, Borrower may
                not claim or assert against SBA any local or state law to deny any obligation, defeat any claim of
                SBA, or preempt federal law.

            8. SUCCESSORS AND ASSIGNS:

                Under this Note, Borrower includes the Borrower’s successors, and Lender includes its successors
                and assigns.

            9. GENERAL PROVISIONS:

                  A. All individuals and entities signing this Note are jointly and severally liable.
                  B. Borrower waives all suretyship defenses.




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                  C. Borrower must sign all documents necessary at any time to comply with the Loan Documents
                     and requirements of the Applicable Law.
                  D. Lender may exercise any of its rights separately or together, as many times and in any order it
                     chooses. Lender may delay or forgo enforcing any of its rights without giving up any of them.
                  E. Borrower may not use an oral statement of Lender or the SBA to contradict or alter the written
                     terms of this Note.
                  F. If any part of this Note is unenforceable, all other parts remain in effect.
                  G. To the extent allowed by law, Borrower waives all demands and notices in connection with this
                     Note, including presentment, demand, protest, and notice of dishonor. Borrower also waives any
                     defenses based upon any claim that Lender did not obtain any guarantee.
                  H. Lender may transfer and assign this Note and deliver it to the assignee, who shall thereupon
                     have all of the rights of the Lender.
                  I. The Loan and this Note are made pursuant to and in accordance with the Applicable Law. To
                     the extent necessary, any terms of this Note determined to be inconsistent with the Applicable
                     Law shall be deemed modified to the extent necessary to be consistent with the Applicable Law.
                     In the event any term of this Note becomes inconsistent with any provision of the Applicable Law
                     due to any future amendment to the Applicable Law, this Note shall be deemed to be amended




                                                                                             W
                     to the extent necessary to conform to the Applicable Law, as amended. Lender shall notify
                     Borrower of such amendment, which may be by electronic means, and such amendment shall
                     be effective upon the date the amendment to Applicable Law becomes effective without any




                                                                                          IE
                     action on the part of Borrower.

            10. STATE SPECIFIC PROVISIONS: If Borrower is a resident of any of the following states, the clause
                indicated for such state is incorporated herein:

            MISSOURI.




                                                         Y V
                Oral or unexecuted agreements or commitments to loan money, extend credit or to forbear from
                enforcing repayment of a debt including promises to extend or renew such debt are not enforceable,
                regardless of the legal theory upon which it is based that is in any way related to the credit
                agreement. To protect you (Borrowers(s)) and us (Creditor) from misunderstanding or




                              P
                disappointment, any agreements we reach covering such matters are contained in this writing, which
                is the complete and exclusive statement of the agreement between us, except as we may later agree
                in writing to modify it.

            OREGON.




              C             O
                UNDER OREGON LAW, MOST AGREEMENTS, PROMISES AND COMMITMENTS MADE BY
                LENDER CONCERNING LOANS AND OTHER CREDIT EXTENSIONS WHICH ARE NOT FOR
                PERSONAL, FAMILY, OR HOUSEHOLD PURPOSES OR SECURED SOLELY BY BORROWER'S
                RESIDENCE MUST BE IN WRITING, EXPRESS CONSIDERATION AND BE SIGNED BY AN
                AUTHORIZED REPRESENTATIVE OF LENDER TO BE ENFORCEABLE.

            WASHINGTON.

                Oral agreements or oral commitments to loan money, extend credit, or to forbear from enforcing
                repayment of a debt are not enforceable under Washington law

            WISCONSIN.

                Each Borrower who is married represents that this obligation is incurred in the interest of his or her
                marriage or family.




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            11. BORROWER’S NAME(S) AND SIGNATURE(S):

                This Note may be executed in one or more counterparts, including both paper and electronic
                counterparts, but all such counterparts shall constitute one and the same agreement. This Note may
                be in the form of an Electronic Record and may, if Bank has expressly agreed with you to accept
                Electronic Signatures, be executed using Electronic Signatures (including manually executed paper
                documents that are sent by facsimile, or .pdf, or other electronic means), which shall be considered
                an original and shall have the same legal effect, validity and enforceability as an original paper
                record. For purposes hereof, each of the terms “Electronic Record” and “Electronic Signature” has the
                respective meaning assigned to it in 15 USC §7006 (as the same may be amended from time to
                time).

                By executing this Note, each individual or entity identified as Borrower herein becomes obligated
                under this Note as Borrower.

                By signing below, I represent, certify and warrant to Lender that: (i) if Borrower is an individual, I am
                the person identified as Borrower herein, or (ii) if Borrower is an entity, I have authority to execute this




                                                                                              W
                Note on behalf of Borrower, and that when executed by me, this Note will be the binding obligation of
                Borrower and shall be enforceable against Borrower in accordance with its terms.



                     BORROWER: ADLI Law Group


                     NAME



                                                            V                    Date:     IE
                              P
                           Dariush Adli

                                                          Y
                     By: _____________________________________

                     Name: __________________________________

                     Title: President
                            ____________________________________
                                                                                 2/18/2021
                                                                                 _______________________________




              C             O

                                                          Motion: 060
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                                                 DISBURSEMENT AUTHORIZATION
                                                PAYCHECK PROTECTION PROGRAM
                                              U.S. SMALL BUSINESS ADMINISTRATION


            SBA Loan # 9743548306

            Date 2/18/2021

            Loan Amount 1230000

            Interest Rate 1.00%

            Borrower ADLI Law Group

            Lender Bank of the West




                                                                                        IE W
            Disbursement Instruction. Borrower understands that no loan proceeds will be disbursed until all of
            Lender’s conditions for making the Loan have been satisfied. Please disburse the loan proceeds in equal
            amount to the Loan Amount stated in the Promissory Note to the following Bank of the West deposit
                      0064327828
            account #_________________.




                                                         Y V
            Signature of Authorized Representative of Applicant
                                                                                             2/18/2021
                                                                                             Date

             Dariush Adli

            Print Name




                            O P                                                               President

                                                                                             Title




              C

                                                         Motion: 061
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                                        Exhibit 5
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
                                             Motion: 062
4/14/2021   Case 2:21-bk-18572-BB                          https://cib.bankofthewest.com/K1/corp/wtwirereports
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                                                                     ADLI LAW GROUP PC
                                                                      Customer Id: 635907
                                                                    User Name: NHSAWAYA1
                                                                    14-APR-2021 10:20:56 PT
                                                                       Wire Detail Report

     Msg Type           Domestic                                                  Account               BOW | 064327844 | ADLI LAW GROUP P.C. | USD
     Amount             680,000.00                                                Value Date            14APR2021
                                                                                  Recurring Transaction No
                        BANK OF AMERICA, N.A., NY - F/026009593                                          Progressive Employer Management - 898078555485
     Beneficiary Bank   100 W. 33rd Street                                        Beneficiary Info       6407 Parkland Drive
                        NEW YORK, NY 10001                                                               Sarasota, FL 34243
                        US
                        064327844                                                                        700 S FLOWER ST
     Originator Info    ADLI LAW GROUP P.C.                                       Originator Address     LOS ANGELES, CA
                                                                                                         US
     Status             RELEASED                                                  Sequence #             131
     # Of Approvals     1 Of 1                                                    Confirmation Message
     Control #          WT21041403876685                                          Wire Ref #

      Entered on:                    14APR2021
      Created on:                    2021-04-14 at 10:19:51 by NHSAWAYA
      Approved on:                   2021-04-14 at 10:20:37 by NHSAWAYA1
      Released on:                   2021-04-14 at 10:20:37 by NHSAWAYA1


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                                        Exhibit 6
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
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                                        Exhibit 7
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
                                             Motion: 067
    12/21/21, 8:25 PM                                                                                               Trust Balance By Client

                                                                                              Trust Account Balance Summary


              Tuesday, December 21, 2021                                               Balance As of 2021-11-10   Trust Balance Has Balance   125 Records
              Nikki Sawaya


              Date                                                                                                                               Balance



                3025.201

                     3025.201 -                                                                                                                 $3,380.00

                3025.201                        Trust Balance                                                                                   $3,380.00

                                  Trust Balance                                                                                                 $3,380.00



                3080.201

                     3080.201 -                                                                                                                 $3,151.70

                3080 201                           Trust Balance                                                                                $3,151 0

                                   Trust Balance                                                                                                $3,151.70
                                                                                                                                                                                     Case 2:21-bk-18572-BB




                2409.201

                     2409.201 -                                                                                                                 $1,329.68

                2409.201                          Trust Balance                                                                                 $1,329.68

                                   Trust Balance                                                                                                $1,329.68
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                3038.201
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                     3038 20                                                                                                                    $2 075 66

                3038.201                        Trust Balance                                                                                   $2,075.66

                                 Trust Balance                                                                                                  $2,0 5 66
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                3100.601

                     3100.601 -                                                                                                                 $4,575.00

                3100.601                               Trust Balance                                                                            $4,575.00

                                        Trust Balance                                                                                           $4,575.00




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                3095.201

                     3095.201 -                                                                                                                 $3,026.70
                                                                                                                                                                              Page70




                3095 201                                 Trust Balance                                                                          $3,026 0
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                                          Trust Balance                                                                                         $3,026.70
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                3026.201

                     3026.201 -                                                                                                                  $307.00

                3026.201                               Trust Balance                                                                             $307.00

                3026.202

                     3026.202 -                                                                                                                  $158.50

                3026.202                               Trust Balance                                                                             $158.50
                                                                                                                                                                          01/10/22 Entered 01/19/22




                                        Trust Balance                                                                                            $465.50



                3117.201

                     3   7 20                                                                                                                   $4 938 20
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                3117.201                                               Trust Balance                                                            $4,938.20

                                                          Trust Balance                                                                         $4,938 20



                3043.601

                     3043.601 -                                                                                                                 $4,982.95
                                                                                                                                                                                     Desc




                3043.601                    Trust Balance                                                                                       $4,982.95

                                Trust Balance                                                                                                   $4,982.95



                                                                                                                                              $120,400.22


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                                                                                         Trust Account Balance Summary


              Tuesday, December 21, 2021                                          Balance As of 2021-11-10   Trust Balance Has Balance   125 Records
              Nikki Sawaya


              Date                                                                                                                          Balance

                3124.201

                     3124.201 -                                                                                                                $0.00

                3124.201                            Trust Balance                                                                              $0.00

                                     Trust Balance                                                                                             $0.00



                2841.Gen

                     284 Gen                                                                                                               $4 8 0 35

                2841.Gen                          Trust Balance                                                                            $4,810.35

                                  Trust Balance                                                                                            $4,810 35



                2985.202

                     2985.202 -                                                                                                            $5,000.00
                                                                                                                                                                                Case 2:21-bk-18572-BB




                2985.202                                          Trust Balance                                                            $5,000.00

                2985.Gen

                     2985.Gen -                                                                                                             $522.40

                2985.Gen                                          Trust Balance                                                             $522.40
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                                                   Trust Balance                                                                           $5,522.40

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                3102.201

                     3102.201 -                                                                                                            $3,242.30

                3102 201 E                               Trust Balance                                                                     $3,242 30

                                          Trust Balance                                                                                    $3,242.30
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                2954.Gen

                     2954.Gen -                                                                                                            $2,275.00

                2954.Gen                               Trust Balance                                                                       $2,275.00

                                         Trust Balance                                                                                     $2,275.00




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                3109.201

                     3 09 20                                                                                                               $ 508 95
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                3109.201                                    Trust Balance                                                                  $1,508.95

                                              Trust Balance                                                                                $1,508 95
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                3021.501

                     3021.501 -                                                                                                             $774.00

                3021.501                       Trust Balance                                                                                $774.00

                                  Trust Balance                                                                                             $774.00
                                                                                                                                                                     01/10/22 Entered 01/19/22




                3110.201

                     3110.201 -                                                                                                            $2,399.25

                3110 201                            Trust Balance                                                                          $2,399 25

                                    Trust Balance                                                                                          $2,399.25
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                3115.Gen

                     3115.Gen -

                                                                  Balance                                                                  $2,500.00
                                                                                                                                                                                Desc




                                           Trust Balance                                                                                   $2,500.00



                3122.201



                                                                                                                                         $120,400.22


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                                                                                            Trust Account Balance Summary


              Tuesday, December 21, 2021                                             Balance As of 2021-11-10   Trust Balance Has Balance   125 Records
              Nikki Sawaya


              Date                                                                                                                             Balance

                     3 22 20                                                                                                                  $2 500 00

                3122.201                        Trust Balance                                                                                 $2,500.00

                                  Trust Balance                                                                                               $2,500 00



                2439.Gen

                     2439.Gen -                                                                                                               $1,880.53

                2439.Gen                     Trust Balance                                                                                    $1,880.53

                                Trust Balance                                                                                                 $1,880.53



                2506.Gen

                     2506.Gen -                                                                                                               $4,536.50

                2506 Gen                                             Trust Balance                                                            $4,536 50
                                                                                                                                                                                   Case 2:21-bk-18572-BB




                                                        Trust Balance                                                                         $4,536.50



                3107.201

                     3107.201 -                                                                                                                $391.35
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                3107.201                        Trust Balance                                                                                  $391.35

                                  Trust Balance                                                                                                $391.35
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                3084.301

                     3084 30                                                                                                                   $250 00

                3084.301                        Trust Balance                                                                                  $250.00
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                3084.302

                     3084 302                                                                                                                  $750 00

                3084.302                        Trust Balance                                                                                  $750.00

                3084.303

                     3084 303                                                                                                                  $750 00




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                3084.303                        Trust Balance                                                                                  $750.00
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                3084.304

                     3084 304                                                                                                                  $750 00
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                3084.304                        Trust Balance                                                                                  $750.00

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                     3084 305                                                                                                                  $750 00

                3084.305                        Trust Balance                                                                                  $750.00

                3084.306

                     3084 306                                                                                                                  $750 00

                3084.306                        Trust Balance                                                                                  $750.00
                                                                                                                                                                        01/10/22 Entered 01/19/22




                3084.801

                     3084 80                                                                                                                  $4 802 50

                3084.801                        Trust Balance                                                                                 $4,802.50

                                  Trust Balance                                                                                               $8,802 50
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                3118.201

                     3118.201 -                                                                                                               $1,800.00

                3118.201                             Trust Balance                                                                            $1,800.00

                                       Trust Balance                                                                                          $1,800.00
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                3054.201

                     3054.201 -                                                                                                               $4,675.55



                                                                                                                                            $120,400.22


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                                                                                        Trust Account Balance Summary


              Tuesday, December 21, 2021                                         Balance As of 2021-11-10   Trust Balance Has Balance   125 Records
              Nikki Sawaya


              Date                                                                                                                         Balance

                3054.201                          Trust Balance                                                                           $4,675.55

                                   Trust Balance                                                                                          $4,675.55

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                3086.201

                     3086.201 -                                                                                                            $537.85

                3086 201                                                                                                                   $53 85

                                        Trust Balance                                                                                      $537.85



                3120.201

                     3120.201 -                                                                                                           $7,500.00

                3120.201                              Trust Balance                                                                       $7,500.00

                                        Trust Balance                                                                                     $7,500.00
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                3009.201 LA

                                                                                                                                           $666 60

                3009.201                                 Trust Balance                                                                     $666.60
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                                             Trust Balance                                                                                 $666 60
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                1873.205

                     1873.205 -                              .                                                                             $182.80

                1873.205                                         Trust Balance                                                             $182.80

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                2516.201

                     2516.2010 -                                                                                                          $3,476.06

                2516 201                       Trust Balance                                                                              $3,4 6 06




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                                Trust Balance                                                                                             $3,476.06
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                2141.601

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                2141.601                                 Trust Balance                                                                        $0.38
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                                         . Trust Balance                                                                                      $0.38
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                3119.601

                     3   9 60                                                                                                             $4 970 00

                3119.601                              Trust Balance                                                                       $4,970.00

                                        Trust Balance                                                                                     $4,9 0 00
                                                                                                                                                                    01/10/22 Entered 01/19/22




                3072.Gen

                     3072.Gen -                                                                                                           $4,674.50

                3072.Gen                          Trust Balance                                                                           $4,674.50

                                   Trust Balance                                                                                          $4,674.50
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                2449.201

                     2449.201 -                                                                                                              $14.00

                2449 201                 Trust Balance                                                                                       $14 00
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                                   Balance                                                                                                   $14.00



                3104.201



                                                                                                                                        $120,400.22


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                                                                           Trust Account Balance Summary


              Tuesday, December 21, 2021                            Balance As of 2021-11-10   Trust Balance Has Balance   125 Records
              Nikki Sawaya


              Date                                                                                                            Balance

                     3104.201 -                                                                                              $1,073.45

                  3104.201                          Trust Balance                                                            $1,073.45

                                     Trust Balance                                                                           $1,073.45



                  3056.201

                     3056.201 -                                                                                              $1,119.54

                  3056.201                           Balance                                                                 $1,119.54

                              Trust Balance                                                                                  $1,119.54

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                  2577.Gen

                     2577.Gen - P             s                                                                                 $35.47

                  2577.Gen P                      Trust Balance                                                                 $35.47
                                                                                                                                                                  Case 2:21-bk-18572-BB




                                   Trust Balance                                                                                $35.47



                  3015.Gen

                     3015.Gen -                                                                                               $602.00
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                  3015.Gen                   Trust Balance                                                                    $602.00

                              Trust Balance                                                                                   $602.00
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                  3005.601

                     3005.601 -                                                                                               $535.00

                  3005.601                          Trust Balance                                                             $535.00
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                                      Trust Balance                                                                           $535.00



                  2073.801

                     2073.801 -                                                                                               $595.39

                  2073.801                        Trust Balance                                                               $595.39




Motion: 072
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                  2073.Gen
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                     2073.Gen -                                                                                               $349.55

                  2073.Gen                        Trust Balance                                                               $349.55
                                                                                                                                                                54of




                                   Trust Balance                                                                              $944.94
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                  3034.202

                     3034.202 -                                                                                              $1,739.34

                  3034.202                    Trust Balance                                                                  $1,739.34

                                  Trust Balance                                                                              $1,739.34
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                  2262.201

                     2262.201 -                                                                                              $2,221.32

                  2262.201                   Trust Balance                                                                   $2,221.32

                              Trust Balance                                                                                  $2,221.32
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                  3123.601

                     3123.601 -                                                                                              $1,500.00

                  3123.601                   Trust Balance                                                                   $1,500.00

                              Trust Balance                                                                                  $1,500.00
                                                                                                                                                                  Desc




                  2388.Gen

                     2388.Gen -                                                                                               $100.00



                                                                                                                           $120,400.22


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                                                                                                 Trust Account Balance Summary


              Tuesday, December 21, 2021                                                  Balance As of 2021-11-10   Trust Balance Has Balance   125 Records
              Nikki Sawaya


              Date                                                                                                                                  Balance

                2388.Gen                          Trust Balance                                                                                     $100.00

                                  Trust Balance                                                                                                     $100.00



                3061.201

                     3061.201 -                                                                                                                    $1,040.85

                3061.201                          Trust Balance                                                                                    $1,040.85

                                  Trust Balance                                                                                                    $1,040.85



                3121.201

                     3121.201 -                                                                                                                    $7,500.00

                3121.201                                Trust Balance                                                                              $7,500.00

                                         Trust Balance                                                                                             $7,500.00
                                                                                                                                                                                        Case 2:21-bk-18572-BB




                3016.601

                     3016.601 -                                                                                                                     $367.15

                3016.601                                 Trust Balance                                                                              $367.15
                                                                                                                                                               Main




                                          Trust Balance                                                                                             $367.15
                                                                                                                                                               Doc 125




                2460.201

                     2460.201 -                                                                                                                       $23.20

                2460.201                                     Trust Balance                                                                            $23.20

                                              Trust Balance                                                                                           $23.20
                                                                                                                                                                MainDocument




                3033.801

                     3033.801 -                                                                                                                    $1,430.50

                3033.801                      Trust Balance                                                                                        $1,430.50




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                                  Trust Balance                                                                                                    $1,430.50
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                3111.201

                     3111.201 -                                                                                                                    $1,044.80
                                                                                                                                                                                      55of




                3111.201                                Trust Balance                                                                              $1,044.80
                                                                                                                                                                                            86




                                         Trust Balance                                                                                             $1,044.80
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                2492.Gen

                     2492.Gen -                                                                                                                       $33.40

                2492.Gen                                                  Trust Balance                                                               $33.40

                                                            Trust Balance                                                                             $33.40
                                                                                                                                                                             01/10/22 Entered 01/19/22




                3064.601

                     3064.601 -                                                                                                                    $1,280.00

                3064.601                                 Trust Balance                                                                             $1,280.00

                                          Trust Balance                                                                                            $1,280.00
                                                                                                                                                                                               01/10/22 21:56:38
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                2988.201

                     2988.201 -                                                                                                                     $243.00

                2988.201                                  Trust Balance                                                                             $243.00
                                                                                                                                                                                        Desc




                                          Trust Balance                                                                                             $243.00

                                                                                                                                                 $120,400.22




    https://adli.centerbase.com/Web/Reports/Print                                                                                                              6/6
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                                        Exhibit 8
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
                                             Motion: 074
Case 2:21-bk-18572-BB   Doc 125
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                                 Motion: 076
Case 2:21-bk-18572-BB   Doc 125
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                                 Motion: 078
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                                 Motion: 079
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                                 Motion: 080
Case 2:21-bk-18572-BB   Doc 125
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                                 Motion: 082
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                                 Motion: 085
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                                 Motion: 086
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                                 Motion: 087
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                                 Motion: 088
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                                 Motion: 089
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                                 Motion: 090
Case 2:21-bk-18572-BB   Doc 125
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                                 Motion: 091
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                                 Motion: 092
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                                 Motion: 093
Case 2:21-bk-18572-BB   Doc 125
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                                 Motion: 094
Case 2:21-bk-18572-BB          Doc 125
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                                        Exhibit 9
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
                                             Motion: 095
              In re Adli Law Group P.C.;                                                                                                     12/15/2021
                                                          Compensation for Dariush G. Adli
              Case No. 2:21-bk-18572-BB
                         PAYMENT
                         REFERENCE         AMOUNT     DATE              DESCRIPTION                              VENDOR
                                           $ 3,932.56   24-Aug-20       Health insurance payments                Blue Shield of California
                                           $ 3,932.56   19-Sep-20       Health insurance payments                Blue Shield of California
                                           $ 3,932.56    2-Nov-20       Health insurance payments                Blue Shield of California
                                           $ 3,932.56   16-Dec-20       Health insurance payments                Blue Shield of California
                                           $ 3,932.56   29-Dec-20       Health insurance payments                Blue Shield of California
                                           $ 2,690.59     5-Feb-21      Health insurance payments                Blue Shield of California
                                           $ 2,690.59    1-Mar-21       Health insurance payments                Blue Shield of California
                                           $ 2,690.59     1-Apr-21      Health insurance payments                Blue Shield of California
                                                                                                                                                                                   Case 2:21-bk-18572-BB




                                           $ 2,690.59    1-May-21       Health insurance payments                Blue Shield of California
                                           $ 2,690.59     1-Jun-21      Health insurance payments                Blue Shield of California
                                           $ 2,690.59      1-Jul-21     Health insurance payments                Blue Shield of California
                                                                                                                                                          Main




                                           $ 2,690.59    1-Aug-21       Health insurance payments                Blue Shield of California
                                                                                                                                                          Doc 125




                                           $ 2,690.59     1-Sep-21      Health insurance payments                Blue Shield of California
                                           $ 2,690.59     1-Oct-21      Health insurance payments                Blue Shield of California
                                           $ 2,690.59    1-Nov-21       Health insurance payments                Blue Shield of California
                                                                                                                                                           MainDocument




                                           $ 46,568.70                  Total of Payments within 12 months of filing for Health Insurance

                                           $    618.78    24-Aug-20     Dental Insurance                         Blue Shield of California




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                                           $    618.78    19-Sep-20     Dental Insurance                         Blue Shield of California
                                                                                                                                                                            Page98




                                           $    618.78     2-Nov-20     Dental Insurance                         Blue Shield of California
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                                           $    618.78    16-Dec-20     Dental Insurance                         Blue Shield of California
                                                                                                                                                                                       86




                                           $    618.78    29-Dec-20     Dental Insurance                         Blue Shield of California
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                                           $    618.78      5-Feb-21    Dental Insurance                         Blue Shield of California
                                           $    618.78     1-Mar-21     Dental Insurance                         Blue Shield of California
                                           $    618.78      1-Apr-21    Dental Insurance                         Blue Shield of California
                                           $    618.78     1-May-21     Dental Insurance                         Blue Shield of California
                                                                                                                                                                        01/10/22 Entered 01/19/22




                                           $    618.78      1-Jun-21    Dental Insurance                         Blue Shield of California
                                           $    618.78       1-Jul-21   Dental Insurance                         Blue Shield of California
                                           $    618.78     1-Aug-21     Dental Insurance                         Blue Shield of California
                                                                                                                                                                                          01/10/22 21:56:38
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                                           $    618.78      1-Sep-21    Dental Insurance                         Blue Shield of California
                                           $    618.78      1-Oct-21    Dental Insurance                         Blue Shield of California
                                           $    618.78     1-Nov-21     Dental Insurance                         Blue Shield of California
                                                                                                                                                                                   Desc




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              In re Adli Law Group P.C.;                                                                                                               12/15/2021
                                                          Compensation for Dariush G. Adli
              Case No. 2:21-bk-18572-BB
                         PAYMENT
                         REFERENCE         AMOUNT     DATE               DESCRIPTION                               VENDOR
                                           $ 9,281.70                    Total of Payments within 12 months of filing for Dental Insurance


                                           $   3,932.56   10-Nov-20      Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56     1-Dec-20     Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56      1-Jan-21    Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56   20-Feb-21      Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56    3-Mar-21      Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                                             Case 2:21-bk-18572-BB




                                           $   3,932.56     6-Apr-21     Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56    1-May-21      Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56    11-Jun-21     Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                    Main




                                           $   3,932.56       5-Jul-21   Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                    Doc 125




                                           $   3,932.56       1-Jul-21   Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56     1-Aug-21     Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56     1-Sep-21     Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                     MainDocument




                                           $   3,932.56     1-Oct-21     Car payments                               Mercedes Benz Financial Services
                                           $   3,932.56    1-Nov-21      Car payments                               Mercedes Benz Financial Services

                                           $ 55,055.84                   Total of Payments within 12 months of filing for 1 of 3 cars




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                                           $   1,258.07   10-Nov-20      Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                                           79of




                                           $   1,258.07     1-Dec-20     Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                                                 86




                                           $   1,258.07      1-Jan-21    Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                                              of186




                                           $   1,258.07   20-Feb-21      Car payments                               Mercedes Benz Financial Services
                                           $   1,258.07    3-Mar-21      Car payments                               Mercedes Benz Financial Services
                                           $   1,258.07     6-Apr-21     Car payments                               Mercedes Benz Financial Services
                                           $   1,258.07    1-May-21      Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                                  01/10/22 Entered 01/19/22




                                           $   1,258.07    11-Jun-21     Car payments                               Mercedes Benz Financial Services
                                           $   1,258.07       5-Jul-21   Car payments                               Mercedes Benz Financial Services
                                           $   1,258.07       1-Jul-21   Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                                                    01/10/22 21:56:38
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                                           $   1,258.07     1-Aug-21     Car payments                               Mercedes Benz Financial Services
                                           $   1,258.07     1-Sep-21     Car payments                               Mercedes Benz Financial Services
                                           $   1,258.07     1-Oct-21     Car payments                               Mercedes Benz Financial Services
                                                                                                                                                                                             Desc




                                           $   1,258.07    1-Nov-21      Car payments                               Mercedes Benz Financial Services


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              In re Adli Law Group P.C.;                                                                                                            12/15/2021
                                                                    Compensation for Dariush G. Adli
              Case No. 2:21-bk-18572-BB
                         PAYMENT
                         REFERENCE                 AMOUNT         DATE            DESCRIPTION                                VENDOR

                                                   $ 17,612.98                    Total of Payments within 12 months of filing for 2 of 3 cars

                                                   $    620.00      10-Nov-20     Car payments                               BMW of North America
                                                   $    620.00        1-Dec-20    Car payments                               BMW of North America
                                                   $    620.00       10-Jan-21    Car payments                               BMW of North America
                                                   $    620.00        1-Feb-21    Car payments                               BMW of North America
                                                   $    620.00       5-Mar-21     Car payments                               BMW of North America
                                                                                                                                                                                           Case 2:21-bk-18572-BB




                                                   $    996.21        1-Apr-21    Car payments                               Tesla
                                                   $    996.21       1-May-21     Car payments                               Tesla
                                                   $    996.21        1-Jun-21    Car payments                               Tesla
                                                                                                                                                                 Main




                                                   $    996.21         1-Jul-21   Car payments                               Tesla
                                                                                                                                                                 Doc 125




                                                   $    996.21       1-Aug-21     Car payments                               Tesla
                                                   $    996.21        1-Sep-21    Car payments                               Tesla
                                                   $    996.21        1-Oct-21    Car payments                               Tesla
                                                                                                                                                                  MainDocument




                                                   $    996.21       1-Nov-21     Car payments                               Tesla

                                                   $ 11,069.68                    Total of Payments within 12 months of filing for 3 of 3 cars
                                                                                                                                                                       Document Page




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                                                   $ 55,850.40                    Total Paid for Health Insurance
                                                                                                                                                                                    Page100




                                                   $ 83,738.50                    Total Paid for Cars
                                                   $ 139,588.90                   Total Expenses
                                                                                                                                                                                               86
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                                             125   $ 10,000.00       9-Nov-20     Compensation                               Dariush Adli
                                             138   $ 7,000.00       13-Nov-20     Compensation                               Dariush Adli
                                           99001   $ 2,000.00       16-Nov-20     Compensation                               Dariush Adli
                                           99002   $ 5,000.00       20-Nov-20     Compensation                               Dariush Adli
                                                                                                                                                                                01/10/22 Entered 01/19/22




                                             154   $ 1,000.00       20-Nov-20     Compensation                               Dariush Adli
                                             140   $ 10,000.00      27-Nov-20     Compensation                               Dariush Adli
                                             155   $ 3,100.00       16-Dec-20     Compensation                               Dariush Adli
                                                                                                                                                                                                   01/10/22 21:56:38
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                                           99003   $ 3,000.00       21-Dec-20     Compensation                               Dariush Adli
                                             148   $ 4,000.00       22-Dec-20     Compensation                               Dariush Adli
                                             161   $ 4,000.00         4-Jan-21    Compensation                               Dariush Adli
                                                                                                                                                                                           Desc




                                             162   $ 3,000.00        11-Jan-21    Compensation                               Dariush Adli


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              In re Adli Law Group P.C.;                                                                        12/15/2021
                                                                Compensation for Dariush G. Adli
              Case No. 2:21-bk-18572-BB
                         PAYMENT
                         REFERENCE               AMOUNT      DATE            DESCRIPTION         VENDOR
                                           163   $ 4,000.00     11-Jan-21    Compensation        Dariush Adli
                                           149   $ 5,000.00     15-Jan-21    Compensation        Dariush Adli
                                           167   $ 4,500.00     29-Jan-21    Compensation        Dariush Adli
                                           168   $ 3,000.00      8-Feb-21    Compensation        Dariush Adli
                                           169   $ 1,000.00      8-Feb-21    Compensation        Dariush Adli
                                           172   $ 5,000.00     16-Feb-21    Compensation        Dariush Adli
                                           173   $ 1,000.00     19-Feb-21    Compensation        Dariush Adli
                                           175   $ 25,000.00    22-Feb-21    Compensation        Dariush Adli
                                                                                                                                                       Case 2:21-bk-18572-BB




                                           176   $ 1,500.00      8-Mar-21    Compensation        Dariush Adli
                                                 $ 12,500.00   15-Mar-21     Compensation        Dariush Adli
                                                 $ 20,000.00   19-Mar-21     Compensation        Dariush Adli
                                                                                                                             Main




                                                 $ 2,690.59    29-Mar-21     Compensation        Dariush Adli
                                                                                                                             Doc 125




                                                 $ 25,000.00   31-Mar-21     Compensation        Dariush Adli
                                                 $ 5,000.00      3-Apr-21    Compensation        Dariush Adli
                                                 $ 5,000.00      4-Apr-21    Compensation        Dariush Adli
                                                                                                                              MainDocument




                                                 $ 10,000.00     9-Apr-21    Compensation        Dariush Adli
                                                 $ 1,000.00     16-Apr-21    Compensation        Dariush Adli
                                                 $ 9,000.00     16-Apr-21    Compensation        Dariush Adli
                                                 $ 1,500.00     23-Apr-21    Compensation        Dariush Adli
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                                                 $ 5,000.00     23-Apr-21    Compensation        Dariush Adli
                                                                                                                                                Page101




                                                 $ 25,000.00    30-Apr-21    Compensation        Dariush Adli
                                                 $ 20,000.00    7-May-21     Compensation        Dariush Adli
                                                                                                                                                           86




                                                 $ 2,500.00    14-May-21     Compensation        Dariush Adli
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                                                 $ 20,000.00   14-May-21     Compensation        Dariush Adli
                                                 $ 2,000.00    21-May-21     Compensation        Dariush Adli
                                                 $ 18,000.00   21-May-21     Compensation        Dariush Adli
                                                 $ 2,000.00       1-Jun-21   Compensation        Dariush Adli
                                                                                                                                            01/10/22 Entered 01/19/22




                                                 $ 5,000.00       4-Jun-21   Compensation        Dariush Adli
                                                 $ 4,000.00     11-Jun-21    Compensation        Dariush Adli
                                                 $ 4,000.00     18-Jun-21    Compensation        Dariush Adli
                                                                                                                                                               01/10/22 21:56:38
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                                                 $ 25,000.00    18-Jun-21    Compensation        Dariush Adli
                                                 $ 16,300.00    25-Jun-21    Compensation        Dariush Adli
                                                 $ 1,000.00     29-Jun-21    Compensation        Dariush Adli
                                                                                                                                                       Desc




                                                 $ 12,000.00    30-Jun-21    Compensation        Dariush Adli


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              In re Adli Law Group P.C.;                                                                                             12/15/2021
                                                                 Compensation for Dariush G. Adli
              Case No. 2:21-bk-18572-BB
                         PAYMENT
                         REFERENCE                AMOUNT      DATE           DESCRIPTION                              VENDOR
                                                  $ 5,000.00      2-Jul-21   Compensation                             Dariush Adli
                                                  $ 5,000.00      2-Jul-21   Compensation                             Dariush Adli
                                                  $ 6,000.00     13-Jul-21   Compensation                             Dariush Adli
                                                  $ 12,000.00    13-Jul-21   Compensation                             Dariush Adli
                                                  $ 16,255.00    16-Jul-21   Compensation                             Dariush Adli
                                            276   $ 1,750.00     22-Jul-21   Compensation                             Dariush Adli
                                            282   $ 9,000.00     30-Jul-21   Compensation                             Dariush Adli
                                            278   $ 5,000.00     8/4/2021    Compensation                             Dariush Adli
                                                                                                                                                                            Case 2:21-bk-18572-BB




                                            279   $ 5,000.00     8/9/2021    Compensation                             Dariush Adli
                                            284   $ 7,000.00    8/17/2021    Compensation                             Dariush Adli
                                            287   $ 3,000.00     9/3/2021    Compensation                             Dariush Adli
                                                                                                                                                  Main




                                            288   $ 3,500.00     9/3/2021    Compensation                             Dariush Adli
                                                                                                                                                  Doc 125




                                           1003   $ 1,000.00    9/10/2021    Compensation                             Dariush Adli
                                            290   $ 2,500.00    9/13/2021    Compensation                             Dariush Adli
                                            294   $ 3,000.00    9/17/2021    Compensation                             Dariush Adli
                                                                                                                                                   MainDocument




                                            301   $ 5,000.00    9/30/2021    Compensation                             Dariush Adli
                                            304   $ 10,000.00 10/12/2021     Compensation                             Dariush Adli
                                            311   $ 10,000.00 10/20/2021     Compensation                             Dariush Adli
                                                  $ 3,200.00 10/27/2021      Compensation                             Dariush Adli
                                                                                                                                                        Document Page




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                                                                                                                                                       116 Filed 01/19/22




                                           313    $ 4,447.00 10/27/2021      Compensation                             Dariush Adli
                                                                                                                                                                     Page102




                                           314    $ 4,500.00 10/29/2021      Compensation                             Dariush Adli
                                           315    $ 20,000.00   11/5/2021    Compensation                             Dariush Adli
                                                                                                                                                                                86




                                           318    $ 10,000.00   11/8/2021    Compensation                             Dariush Adli
                                                                                                                                                                          82 of 186




                                                  $ 4,895.31    11/9/2021    Compensation                             Dariush Adli

                                                  $ 512,637.90               Total Compensation Received by Dr Adli
                                                                                                                                                                 01/10/22 Entered 01/19/22
                                                                                                                                                                            Desc    01/10/22 21:56:38
                                                                                                                                                                                             12:18:42




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                                      Exhibit 10
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
      Division, Case No. 2:21-bk-18572-BB; Supplemental Declaration Of Dariush G. Adli In Support Of
                                           Debtor’s Status Report
                                             Motion: 101
                                                                                                                                 ADLI LAW GROUP P.C.
                                                                                                                  2022 Firm Forecasted Billed Revenue ‐ by Timekeeper
                                                                                     Forecasted        Forecasted     Forecasted      Forecasted      Forecasted      Forecasted                   Forecasted        Forecasted        Forecasted        Forecasted        Forecasted        Forecasted
              Employee                                                                 22‐Jan            22‐Feb         22‐Mar          22‐Apr          22‐May          22‐Jun                       22‐Jul            22‐Aug            22‐Sep            22‐Oct            22‐Nov            22‐Dec

              Total                                                                   $340,000.00       $340,000.00        $340,000.00       $340,000.00       $340,000.00       $340,000.00       $340,000.00       $340,000.00       $340,000.00       $340,000.00       $340,000.00       $340,000.00




                                                                                         0%                0%                 0%                0%                0%                0%                0%                0%                0%                0%                0%                0%

                                  Monthly Estimated Growth Rate
                                        COLLECTION RATE                                 70%               70%             70%               70%               70%               70%               70%               70%               70%               70%               70%               70%
                                         Target Revenue                              $238,000.00       $238,000.00     $238,000.00       $238,000.00       $238,000.00       $238,000.00       $238,000.00       $238,000.00       $238,000.00       $238,000.00       $238,000.00       $238,000.00


                                                                                         5%                5%                 5%                5%                5%                5%                5%                5%                5%                5%                5%                5%
                                        COLLECTION RATE
                                                                                                                                                                                                                                                                                                                                     Case 2:21-bk-18572-BB




                                        Target Collections                           $79,022.65        $79,022.65          $79,022.65        $79,022.65        $79,022.65        $79,022.65        $79,022.65        $79,022.65        $79,022.65        $79,022.65        $79,022.65        $79,022.65



                                 CURRENT ACCOUNT RECEIVABLES
                                                                                                                                                                                                                                                                                                           Main




                                                                                    $1,580,452.97      $1,603,430.32 $1,642,258.81 $1,679,145.87 $1,714,188.57 $1,747,479.14 $1,779,105.19 $1,809,149.93 $1,837,692.43 $1,864,807.81 $1,890,567.42 $1,915,039.05

              TOTAL PROJECTED INCOME                                                 $317,022.65        $317,022.65  $317,022.65  $317,022.65  $317,022.65  $317,022.65  $317,022.65  $317,022.65  $317,022.65  $317,022.65  $317,022.65  $317,022.65
                                                                                                                                                                                                                                                                                                           Doc 125




              REDUCED REALIZATION                                                    $253,618.12        $253,618.12  $253,618.12  $253,618.12  $253,618.12  $253,618.12  $253,618.12  $253,618.12  $253,618.12  $253,618.12  $253,618.12  $253,618.12
              TOTAL PROJECTED EXPENSE                                               $ 295,088.60 $       193,084.81 $ 190,584.81 $ 190,584.81 $ 190,584.81 $ 191,309.81 $ 190,584.81 $ 190,584.81 $ 190,584.81 $ 190,584.81 $ 190,584.81 $ 190,584.81
              TOTAL PROJECTED EXPENSE WITH DGA PACKAGE                              $ 349,000.00 $       243,084.81 $ 240,584.81 $ 240,584.81 $ 240,584.81 $ 241,309.81 $ 240,584.81 $ 240,584.81 $ 240,584.81 $ 240,584.81 $ 240,584.81 $ 240,584.81

              NET PROFIT WITH DGA PAY                                                 ($95,381.88)        $10,533.31        $13,033.31        $13,033.31        $13,033.31        $12,308.31        $13,033.31        $13,033.31        $13,033.31        $13,033.31        $13,033.31        $13,033.31
                                                                                                                                                                                                                                                                                                            MainDocument




              NET PROFIT WITHOUT DGA PAY                                              ($41,470.48)        $60,533.31        $63,033.31        $63,033.31        $63,033.31        $62,308.31        $63,033.31        $63,033.31        $63,033.31        $63,033.31        $63,033.31        $63,033.31

              *INCLUDES PREMIUM INSURANCE PAYMENT
                            *RECEIVABLES ARE PROJECTED AND INCREASE MONTHLY POST BILLING
              *DEFICIT CAN BE COVERED BY CURRENT CASH IN HAND FROM DECEMBER
              EXPENSES
                                                                                                                                                                                                                                                                                                                 Document Page




              CoAdvantage                                                             $ 140,000.00 $      140,000.00   $ 140,000.00 $ 140,000.00 $ 140,000.00 $ 140,000.00 $ 140,000.00 $ 140,000.00 $ 140,000.00 $ 140,000.00 $ 140,000.00 $ 140,000.00




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              DGA Pay                                                                 $        ‐   $       40,000.00   $ 40,000.00 $ 40,000.00 $ 40,000.00 $ 40,000.00 $ 40,000.00 $ 40,000.00 $ 40,000.00 $ 40,000.00 $ 40,000.00 $ 40,000.00
              Rent                                                                    $ 10,892.72 $        10,892.72   $ 10,892.72 $ 10,892.72 $ 10,892.72 $ 10,892.72 $ 10,892.72 $ 10,892.72 $ 10,892.72 $ 10,892.72 $ 10,892.72 $ 10,892.72
              The Hartford                                                            $        ‐   $             ‐     $        ‐   $        ‐   $        ‐   $     725.00 $        ‐   $        ‐   $        ‐   $        ‐   $        ‐   $        ‐
                                                                                                                                                                                                                                                                                                                              Page104




              First Insurance/Lamarche                                                $ 135,000.00 $       30,000.00   $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00
              Westlaw                                                                 $   1,085.00 $        1,085.00   $   1,085.00 $   1,085.00 $   1,085.00 $   1,085.00 $   1,085.00 $   1,085.00 $   1,085.00 $   1,085.00 $   1,085.00 $   1,085.00
              MailFinance                                                              $    725.00 $          725.00   $     725.00 $     725.00 $     725.00 $     725.00 $     725.00 $     725.00 $     725.00 $     725.00 $     725.00 $     725.00
              Neopost                                                                  $  2,000.00 $        2,000.00   $   2,000.00 $   2,000.00 $   2,000.00 $   2,000.00 $   2,000.00 $   2,000.00 $   2,000.00 $   2,000.00 $   2,000.00 $   2,000.00
                                                                                                                                                                                                                                                                                                                                         86




              Parking                                                                 $     450.00 $          450.00   $     450.00 $     450.00 $     450.00 $     450.00 $     450.00 $     450.00 $     450.00 $     450.00 $     450.00 $     450.00
                                                                                                                                                                                                                                                                                                                                   84 of 186




              Benchmark                                                               $     135.00 $          135.00   $     135.00 $     135.00 $     135.00 $     135.00 $     135.00 $     135.00 $     135.00 $     135.00 $     135.00 $     135.00
              Next Day Delivery                                                       $     310.88 $          310.88   $     310.88 $     310.88 $     310.88 $     310.88 $     310.88 $     310.88 $     310.88 $     310.88 $     310.88 $     310.88
              GoDaddy                                                                  $  1,000.00 $        1,000.00   $   1,000.00 $   1,000.00 $   1,000.00 $   1,000.00 $   1,000.00 $   1,000.00 $   1,000.00 $   1,000.00 $   1,000.00 $   1,000.00
              Spectrum                                                                $     550.00 $          550.00   $     550.00 $     550.00 $     550.00 $     550.00 $     550.00 $     550.00 $     550.00 $     550.00 $     550.00 $     550.00
              TPX                                                                     $   1,500.00 $        1,500.00   $   1,500.00 $   1,500.00 $   1,500.00 $   1,500.00 $   1,500.00 $   1,500.00 $   1,500.00 $   1,500.00 $   1,500.00 $   1,500.00
              One Touch tech                                                          $     400.00 $          400.00   $     400.00 $     400.00 $     400.00 $     400.00 $     400.00 $     400.00 $     400.00 $     400.00 $     400.00 $     400.00
              Water Source                                                             $    175.00 $          175.00   $     175.00 $     175.00 $     175.00 $     175.00 $     175.00 $     175.00 $     175.00 $     175.00 $     175.00 $     175.00
                                                                                                                                                                                                                                                                                                                          01/10/22 Entered 01/19/22




              Centerbase                                                              $     865.00 $          865.00   $     865.00 $     865.00 $     865.00 $     865.00 $     865.00 $     865.00 $     865.00 $     865.00 $     865.00 $     865.00
              State Bar Dues                                                                       $        2,500.00
              DGA Expense                                                             $        ‐   $        1,000.00   $      1,000.00   $      1,000.00   $      1,000.00   $      1,000.00   $      1,000.00   $      1,000.00   $      1,000.00   $      1,000.00   $      1,000.00   $      1,000.00
              DGA HEALTH                                                              $        ‐   $        2,690.59   $      2,690.59   $      2,690.59   $      2,690.59   $      2,690.59   $      2,690.59   $      2,690.59   $      2,690.59   $      2,690.59   $      2,690.59   $      2,690.59
              Dental Insurance                                                        $        ‐   $          618.78   $        618.78   $        618.78   $        618.78   $        618.78   $        618.78   $        618.78   $        618.78   $        618.78   $        618.78   $        618.78
              DGA CAR                                                                 $        ‐   $        3,932.56   $      3,932.56   $      3,932.56   $      3,932.56   $      3,932.56   $      3,932.56   $      3,932.56   $      3,932.56   $      3,932.56   $      3,932.56   $      3,932.56
              DGA CAR                                                                 $        ‐   $        1,258.07   $      1,258.07   $      1,258.07   $      1,258.07   $      1,258.07   $      1,258.07   $      1,258.07   $      1,258.07   $      1,258.07   $      1,258.07   $      1,258.07
                                                                                                                                                                                                                                                                                                                                             01/10/22 21:56:38
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              DGA CAR                                                                 $        ‐   $          996.21   $        996.21   $        996.21   $        996.21   $        996.21   $        996.21   $        996.21   $        996.21   $        996.21   $        996.21   $        996.21

              TOTAL EXPENSES                                                        $ 295,088.60 $        243,084.81 $ 240,584.81 $ 240,584.81 $ 240,584.81 $ 241,309.81 $ 240,584.81 $ 240,584.81 $ 240,584.81 $ 240,584.81 $ 240,584.81 $ 240,584.81

              CASH FLOW WITH DGA PAY                                                   $45,874.95        $56,408.26         $69,441.57        $82,474.88        $95,508.19       $107,816.50       $120,849.81       $133,883.12       $146,916.43       $159,949.74       $172,983.05       $186,016.36
                                                                                                                                                                                                                                                                                                                                     Desc




              CASH FLOW WITHOUT DGA PAY                                                $99,786.35       $160,319.66        $223,352.97       $286,386.28       $349,419.59       $411,727.90       $474,761.21       $537,794.52       $600,827.83       $663,861.14       $726,894.45       $789,927.76
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                             EXHIBIT 3


                                 Motion: 103
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                  1    GREGORY K. JONES, State Bar No. 181072
                        gjones@sycr.com
                  2    STRADLING YOCCA CARLSON & RAUTH
                       A PROFESSIONAL CORPORATION
                  3    10100 Santa Monica Blvd, Suite 1400
                       Los Angeles, CA 90067
                  4    Telephone: (424) 214-7000
                       Facsimile: (424) 214-7010
                  5
                       Subchapter V Trustee
                  6
                  7
                  8                    UNITED STATES BANKRUPTCY COURT
                  9                     CENTRAL DISTRICT OF CALIFORNIA
                  10                           LOS ANGELES DIVISION
                  11   In re:                                  CASE NO. 2:21-bk-18572-BB
                  12                                           Chapter 11
                  13   Adli Law Group, P.C.,
                                                               SUBCHAPTER V TRUSTEE’S
                  14                              Debtor.      STATEMENT REGARDING
                                                               CONTINUED STATUS
                  15                                           CONFERENCE
                  16                                           Hearing:
                                                               Date: January 26, 2022
                  17                                           Time: 10:00 a.m.
                                                               Place: Courtroom 1539
                  18                                                  255 E. Temple Street
                                                                      Los Angeles, CA 90012
                  19
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S TRADLING Y OCCA
C ARLSON & R AUTH
     LAWYERS
    LOS ANGELES
                                                Motion: 104
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                  1          In connection with the continued status conference taking place on January
                  2    26, 2022, Gregory K. Jones, Subchapter V trustee in the above-captioned chapter
                  3    11 case (the “Subchapter V Trustee”), hereby provides this Statement regarding
                  4    Adli Law Group, P.C., debtor and debtor in possession in the above-captioned case
                  5    (the “Debtor”), and respectfully represents as follows:
                  6          While the Debtor’s counsel and certain individuals assisting him have made
                  7    an effort to provide relevant financial information to the Office of the United States
                  8    Trustee (“UST”), Subchapter V Trustee, creditors, and other interested parties,
                  9    there are a number of omissions that remain pending. Most critically, the Debtor
                  10   has still failed to provide an answer to question 3 of the Statement of Financial
                  11   Affairs, which asks about “Certain payments or transfers to creditors within 90
                  12   days before filing this case.” See Docket No. 63, at 41. Without this information,
                  13   it is impossible for parties to determine whether there are preference actions that
                  14   could supplement the estate’s recovery in a proposed plan.
                  15         Additionally, there are concerns about the Debtor’s “Projections for
                  16   Operations” [Docket No. 116, at 84]. First, the Debtor appears to have not
                  17   clarified whether historical revenues will remain consistent during the chapter 11
                  18   case. Second, there is incomplete information about the specific amounts billed by
                  19   each individual attorney at the firm. Finally, the Projections for Operations do not
                  20   include professional fees for the Debtor’s counsel or proposed accountant.
                  21         The Subchapter V Trustee does not question the sincerity of Debtor’s
                  22   counsel in cooperating with the UST and other creditors’ requests; however, the
                  23   issues that continue to be raised by parties need to be addressed before determining
                  24   the direction of this case.
                  25   DATED: January 19, 2022                    STRADLING YOCCA CARLSON &
                                                                  RAUTH A PROFESSIONAL
                  26                                              CORPORATION
                  27                                              By: /s/ Gregory K. Jones
                                                                      Gregory Jones
                  28                                                  Subchapter V Trustee
S TRADLING Y OCCA
C ARLSON & R AUTH
                                                                -2-
     LAWYERS
    LOS ANGELES
                                                     Motion: 105
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                             EXHIBIT 4


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                                                            5


 1   Gerald N. Sims (Cal. Bar No. 99133)
     Susan C. Stevenson (Cal. Bar No. 127291)
 2   PYLE SIMS DUNCAN & STEVENSON, APC
     1620 Fifth Avenue, Suite 400
 3   San Diego, CA 92101
     Phone: (619) 687-5200
 4   jerrys@psdslaw.com/sstevenson@psdslaw.com

 5   Attorneys for Steven and Theresa Hellings

 6

 7

 8                              UNITED STATES BANKRUPTCY COURT

 9               CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

10   In re                                                Bankruptcy Case No. 2:21-bk-18572-BB
11   ADLI LAW GROUP P.C.,                                 RESPONSE TO SUPPLEMENTAL
                                                          DECLARATION OF DARIUSH G. ADLI IN
12                      Debtor-in-Possession.             SUPPORT OF DEBTOR’S STATUS
                                                          REPORT
13
                                                          Date:    January 26, 2022
14                                                        Time:    10:00 a.m.
                                                          Ctrm:    1539
15                                                        Place:   255 E. Temple St.
                                                                   Los Angeles, CA 90012
16

17

18           Steven and Theresa Hellings hereby file their Response to the Supplemental Declaration of
19   Dariush G. Adli in Support of Debtor’s Status Report.
20           The financial package attached to Dr. Adli’s Supplemental Declaration is completely
21   unreliable. At the continued § 341(a) meeting on January 12, 2022, Dr. Adli disclaimed personal
22   knowledge in responding to many questions regarding the information contained in the Financials.
23   When it became apparent to those in attendance that the Financials were neither complete nor
24   accurate, Debtor’s counsel stated that there would be a comprehensive review so that it can be
25   determined that the next amendment will be accurate.             No date for amending the schedules,
26   Statement of Financial Affairs or Financials was given, but the stated hope was to do so in 10 days to
27   two weeks. Debtor still has not provided a schedule of transfers within the 90 days preceding the
28   bankruptcy filing as required in the Statement of Financial Affairs. (See Dkt. No. 63, p. 41.)
                                                      1

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 1             An example that illustrates the overall unreliability of the Financials and Schedules is the

 2   scheduled obligation to one of Debtor’s employees. The Schedules filed on December 9, 2021,

 3   indicate that as of the petition date of November 10, 2021, Nicolette Hachem-Sawaya (“NHS”) was

 4   owed $50,000 for “Wages and benefits.” (Dkt. No. 63, p. 31, item 3.47.) There is no indication that

 5   the claim is contingent, unliquidated or disputed. Dr. Adli signed the Schedules under penalty of

 6   perjury. (Dkt. No. 63, p. 56.) However, the August 31, 2021 Balance Sheet attached to Dr. Adli’s

 7   Supplemental Declaration includes the following liability: “LOAN FROM NHS $443,868.74.”

 8   (Dkt. 116, p. 12.) Accepting both of those figures as accurate, would indicate that NHS received

 9   payment(s) of $393,868.73 sometime between August 31, 2021 and November 10, 2021.

10   Unfortunately, Debtor still has not provided the schedule of transfers within 90 days preceding the

11   filing.

12             In the new November 10, 2021 Balance Sheet attached to Dr. Adli’s Supplemental

13   Declaration, there is no mention of any amount owed to NHS. (Dkt. 116, p. 21.) When questioned

14   about this discrepancy, Dr. Adli testified that the amount was taken off the balance sheet because it

15   was not a “loan,” but rather “unpaid wages.” So apparently Dr. Adli does not believe that unpaid

16   wages are a liability that belongs on a balance sheet.

17             The August 31, 2021 Balance Sheet also shows: “DUE FROM SHAREHOLDER

18   4,473,737.32.” (Dkt. 116, p. 12.) The November 10, 2021 Balance Sheet eliminates that entry.

19   (Dkt. 116, p. 21.) The explanation proffered is that this category was simply a placeholder for

20   distributions to Dr. Adli’s over the year “so that at the end of the year, the amounts can be properly

21   allocated and accounted for.” (Dkt. 116, p. 4) So if these amounts are “properly allocated and

22   accounted for” at each year end, why is the amount so high? Coincidentally, when questioned about

23   the expense item “Board of Director Fee.” (Dkt. 116, p. 14.) Dr. Adli testified the Director Fees

24   were suggested by the accountant so he would have W-2 income because the IRS does not like it

25   when there is no W-2.

26             In addition, the January through August 2021 Statement of Cash Flows indicates: “Due From

27   Shareholder -1,303,274.36.” (Dkt. 116, p. 16). Thus, given Dr. Adli’s statement that the Due From

28   Shareholder category was simply to track the distributions made to him, it appears that Debtor made

                                                       2

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 1   $1,303,274.36 in distributions to Dr. Adli between January and August 31, 2021. However, the

 2   amounts Dr. Adli acknowledges receiving in that period stated in paragraph 17 of his Supplemental

 3   Declaration total $652,226.80. (Dkt. 116, p. 9.) Dr. Adli also states that he received $139,588.90 in

 4   “perquisites” for the 12 months prior to filing. (Dkt. 116, p. 9.) Those amounts together are far less

 5   than the $1.3 million in distributions referenced in the Statement of Cash Flows.

 6          The Financial Statements submitted by the Debtor were neither reviewed nor audited by an

 7   accountant. They were compiled based solely upon information provided by the Debtor. Debtor’s

 8   accountant “was not required to perform any procedure to verify the accuracy or completeness of the

 9   information provided.” (Dkt. 116, p. 20.)

10          The most recent Financials are not reliable and certainly do not tie to the Schedules on file.

11   Debtor’s counsel has indicated that the Schedules and Statement of Financial Affairs need to be

12   amended after a comprehensive review to ensure their accuracy. We agree. The Hellings submit

13   that Debtor should be required to provide complete and accurate Schedules, Statement of Affairs and

14   financials by a date certain and prior to the scheduling of any responses to, or hearings regarding,

15   any proposed plan.

16   Dated: January 19, 2022                      PYLE SIMS DUNCAN & STEVENSON, APC
17

18
                                                  By:/s/ Gerald N. Sims
19                                                   Gerald N. Sims, Attorneys for Steven and
                                                     Theresa Hellings
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                             EXHIBIT 5


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2:21-bk-18572-BB Adli Law Group P.C.

Type: bk                     Chapter: 11                                        Office: 2 (Los Angeles)
Assets: y                    Judge: BB
Date Filed: 11/10/2021       Last Date to File Claims: 01/19/2022               Last Date to File (Govt): 05/09/2022
Trustee: Gregory Kent Jones (TR)


 Claim #                         Amount claimed *            Date filed        Creditor number             Creditor name
              1   View                        $41924.37 11/24/2021             41015724                    De Lage Landen Financial Services
              2   View                         $3253.25 11/29/2021             41015729                    Esquire Deposition Solutions
              3   View                        $15850.68 11/30/2021             41031300                    U.S. Small Business Administration
              4   View                       $424440.15 12/01/2021             41030921                    IRS
              5   View                        $50027.23 12/27/2021             41053559                    Independent Bankersbank
              6   View                      $1230000.00 12/28/2021             41015712                    Bank of the West
              7   View                         $4546.34 12/29/2021             41055022                    Franchise Tax Board
              8   View                         $1769.05 12/28/2021             41015754                    Minden Gross LLP
              9   View                        $42948.55 01/10/2022             41063107                    Chadwick Tyner
             10   View                        $42948.55 01/10/2022             41063108                    Skypanels, Inc.
             11   View                        $42948.55 01/10/2022             41063109                    Ali Salomi
             12   View                       $277600.00 01/10/2022             41063452                    Evergreen Manor II Homeowners Association
             13   View                     $17210000.00 01/11/2022             41015738                    Jonathan Betuel
             14   View                       $163408.14 01/13/2022             41066462                    John Keefe
             15   View                        $39000.00 01/13/2022             41066486                    CVFI-444 S Flower LP
             16   View                     $50000000.00 01/14/2022             41015733                    Gary Topolewski
             17   View                       $103323.47 01/14/2022             41068133                    CAB assignee of Evanston Insurance Company
             18   View                      $5000000.00 01/14/2022             41068194                    WBS, Inc.
             19   View                         $2089.00 01/11/2022             41015710                    Aptus Court Reporting, LLC
             20   View                        $87571.71 01/15/2022             41015723                    Dave Shenian
             21   View                     $30000000.00 01/16/2022             41068837                    Richard P. Taylor
             22   View                      $6000000.00 01/18/2022             41015774                    Steven and Theresa Hellings
             23   View                        $70380.06 01/18/2022             41015748                    Litigation Services
             24   View                      $4325271.68 01/18/2022             41070062                    L.A. Arena Funding, LLC
             25   View                        $89796.00 01/18/2022             41070156                    RSUI Group, Inc.
             26   View                      $2655595.31 01/18/2022             41015758                    NREA-TRC 700 LLC
             27   View                        $25000.00 01/19/2022             41015741                    Kjar McKenna & Stockalper LLP
             28   View                                       01/19/2022        41070756                    SW Ventures, LLC
             29   View                        $23409.36 01/19/2022             41071000                    Apex Attorney Services Incorporated


                                                                      Total Number of Claims: 29


                                                              Total Amount Claimed * $117973101.45
                                                              Total Amount Allowed *
                                                                  * Includes general unsecured claims

                             The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                                      Claimed       Allowed
                                                                Secured        $2655595.31
                                                                Priority       $238282.37
                                                                Administrative



                                                                          PACER Service Center
                                                                            Transaction Receipt
                                                                             01/19/2022 19:51:03
                                                    PACER                   Client
                                                                  Lewlandau           Adli
                                                    Login:                  Code:
                                                    Description: Claims      Search 2:21-bk-18572-BB Filed or Entered
                                                                 Summary     Criteria: From: 12/30/2020 Filed or Entered
                                                                           Motion: 111
Case 2:21-bk-18572-BB   Doc 125 Filed 01/19/22 Entered 01/19/22 21:56:38   Desc
                        Main Document   Page 114 of 186




                             EXHIBIT 6


                                 Motion: 112
     Case
      Case2:21-bk-18572-BB
           2:21-bk-18572-BB Claim
                             Doc 125
                                  4-1 Filed 01/19/22
                                            12/01/21 Entered
                                                     Desc Main01/19/22
                                                                Document
                                                                       21:56:38
                                                                             PageDesc
                                                                                 1 of 5
                             Main Document    Page 115 of 186



  Fill in this information to identify the case:

  Debtor 1               ADLI LAW GROUP PC
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

                                           CENTRAL
  United States Bankruptcy Court for the: ___________            CALIFORNIA
                                                     District of ______________________

               2:21-BK-18572-BB
  Case number ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                    04/19

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                          Department of Treasury - Internal Revenue Service
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                 ✖ No
   acquired from
   someone else?                          Yes. From whom?         ______________________________________________________________________________________________________


3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Internal Revenue Service
                                      _____________________________________________________                       Internal Revenue Service
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     P.O. Box 7346
                                      ______________________________________________________                      IRS Insolvency Group 7 24000 AVILA ROAD 3rd Floor, M/S 5503
                                                                                                                  ______________________________________________________
                                      Number Street                                                               Number Street
                                       Philadelphia                      PA   19101-7346
                                      ______________________________________________________
                                                                                                                      LAGUNA NIGUEL          CA             92677
                                                                                                                  ______________________________________________________
                                      City State                                   ZIP Code                       City State                                   ZIP Code

                                                     1-800-973-0424
                                      Contact phone ________________________                                                     (909) 388-8109
                                                                                                                  Contact phone ________________________

                                      Contact email ________________________                                                     Florence.Perkins@irs.gov
                                                                                                                  Contact email ________________________

                                      Creditor Number: __________________
                                                       41030921
                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✖ No
   one already filed?                                                                                                                  Filed on
                                          Yes. Claim number on court claims registry (if known)             ________                              ________________________
                                                                                                                                                  MM / DD       / YYYY



5. Do you know if anyone              ✖ No
   else has filed a proof                 Yes. Who made the earlier filing?          _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                            page 1




                                                                              Motion: 113
     Case
      Case2:21-bk-18572-BB
           2:21-bk-18572-BB Claim
                             Doc 125
                                  4-1 Filed 01/19/22
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                                                     Desc Main01/19/22
                                                                Document
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                                                                                 2 of 5
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number           No
   you use to identify the       ✖ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: See
                                                                                                                            ____Attachment
                                                                                                                                  ____ ____ ____
   debtor?



7. How much is the claim?                              424,440.15 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                    No
                                                                             ✖ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Taxes
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✖ No
   secured?                         Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                               Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                               Motor vehicle
                                               Other. Describe:            *All of debtor(s) right, title and interest to property - 26 U.S.C. §6321.
                                                                           _____________________________________________________________



                                           Basis for perfection:        _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                     amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                               Fixed
                                               Variable



10. Is this claim based on a     ✖ No
    lease?
                                    Yes. Amount necessary to cure any default as of the date of the petition. $____________________


11. Is this claim subject to a      No
    right of setoff?
                                                                See Attachment
                                 ✖ Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2



                                                                  Motion: 114
     Case
      Case2:21-bk-18572-BB
           2:21-bk-18572-BB Claim
                             Doc 125
                                  4-1 Filed 01/19/22
                                            12/01/21 Entered
                                                     Desc Main01/19/22
                                                                Document
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12. Is all or part of the claim           No
    entitled to priority under
    11 U.S.C. § 507(a)?             ✖ Yes. Check one:                                                                                              Amount entitled to priority

   A claim may be partly                       Domestic support obligations (including alimony and child support) under
   priority and partly                         11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                             $____________________
   nonpriority. For example,
   in some categories, the                     Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                       personal, family, or household use. 11 U.S.C. § 507(a)(7).                                         $____________________
   entitled to priority.
                                               Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                               bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                  $____________________
                                               11 U.S.C. § 507(a)(4).
                                                                                                                                                              233,645.26
                                                                                                                                                  $____________________
                                          ✖ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).
                                               Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                  $____________________

                                               Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                  $____________________

                                          * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ✖ I am the creditor.
 FRBP 9011(b).                     I am the creditor’s attorney or authorized agent.
 If you file this claim            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
                                   I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                   12/01/2021
                              Executed on date _________________
                                                           MM / DD / YYYY



                                     /s/ FLORENCE M PERKINS
                                     ________________________________________________________________________
                                       Signature


                                  Print the name of the person who is completing and signing this claim:


                                  Name
                                                          FLORENCE M                                                               PERKINS
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Bankruptcy Specialist
                                                         _______________________________________________________________________________________________

                                  Company
                                                          Internal Revenue Service
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                          IRS Insolvency Group 7 24000 AVILA ROAD 3rd Floor, M/S 5503
                                                         _______________________________________________________________________________________________
                                                         Number Street
                                                          LAGUNA NIGUEL                                              CA              92677
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone           (909) 388-8109
                                                         _____________________________                              Email           Florence.Perkins@irs.gov
                                                                                                                                   ____________________________________




 Official Form 410                                                          Proof of Claim                                                                 page 3



                                                                          Motion: 115
       Case
        Case2:21-bk-18572-BB
             2:21-bk-18572-BB Claim
                               Doc 125
                                    4-1 Filed 01/19/22
                                              12/01/21 Entered
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Proof of Claim for                                                                                                 Form       410
Internal Revenue Taxes                                                                                             Attachment

                                                                                                         Case Number
Department of the Treasury/Internal Revenue Service
                                                                                                          2:21-BK-18572-BB
    In the Matter of: ADLI LAW GROUP PC
                                                                                                         Type of Bankruptcy Case
                              12400 WILSHIRE BLVD STE 1460                                                CHAPTER 11
                              LOS ANGELES, CA 90025
                                                                                                         Date of Petition
                                                                                                          11/10/2021
The United States has the right of setoff or counterclaim. However, this determination is based on available data and is not intended to
waive any right to setoff against this claim debts owed to this debtor by this or any other federal agency. All rights of setoff are preserved
and will be asserted to the extent lawful.




 Unsecured Priority Claims                  under section 507(a)(8) of the Bankruptcy Code

 Taxpayer ID
 Number             Kind of Tax        Tax Period         Date Tax Assessed              Tax Due                  Interest to Petition Date
 XX-XXX7270         WT-FICA            03/31/2013         12/26/2016                    $11,466.70                $4,417.51

 XX-XXX7270         WT-FICA            12/31/2018         1 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         FUTA               12/31/2018         2 1-ESTIMATED-SEE NOTE        $2,770.13                 $339.50

 XX-XXX7270         WT-FICA            03/31/2019         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00
 XX-XXX7270         WT-FICA            06/30/2019         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         WT-FICA            09/30/2019         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         WT-FICA            12/31/2019         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         FUTA               12/31/2019         2 1-ESTIMATED-SEE NOTE        $2,770.13                 $175.76

 XX-XXX7270         WT-FICA            03/31/2020         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         WT-FICA            06/30/2020         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         WT-FICA            09/30/2020         2 D-ESTIMATED-SEE NOTE        $15,884.20                $0.00

 XX-XXX7270         WT-FICA            12/31/2020         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         FUTA               12/31/2020         2 1-ESTIMATED-SEE NOTE        $2,770.13                 $65.20

 XX-XXX7270         WT-FICA            03/31/2021         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         WT-FICA            06/30/2021         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         WT-FICA            09/30/2021         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         WT-FICA            12/31/2021         2 D-ESTIMATED-SEE NOTE        $15,884.21                $0.00

 XX-XXX7270         FUTA               12/31/2021         3 C-ESTIMATED-SEE NOTE        $2,375.48                 $0.00

                                                                                        $228,647.29               $4,997.97



                                       Total Amount of Unsecured Priority Claims:                                 $233,645.26


 Unsecured General Claims




                                                               Motion: 116
       Case
        Case2:21-bk-18572-BB
             2:21-bk-18572-BB Claim
                               Doc 125
                                    4-1 Filed 01/19/22
                                              12/01/21 Entered
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                               Main Document    Page 119 of 186

  Continued from Page 1


Taxpayer ID
Number                  Kind of Tax              Tax Period               Date Tax Assessed                     Tax Due                             Interest to Petition Date
XX-XXX7270              WT-FICA                  03/31/2013               12/26/2016                           $0.00                                $0.00

XX-XXX7270              WT-FICA                  03/31/2016               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00

XX-XXX7270              WT-FICA                  06/30/2016               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00

XX-XXX7270              WT-FICA                  09/30/2016               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00

XX-XXX7270              WT-FICA                  12/31/2016               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00

XX-XXX7270              FUTA                     12/31/2016               3 1-ESTIMATED-SEE NOTE               $2,770.13                            $629.72

XX-XXX7270              WT-FICA                  03/31/2017               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00

XX-XXX7270              WT-FICA                  06/30/2017               3 D-ESTIMATED-SEE NOTE               $15,884.20                           $0.00

XX-XXX7270              WT-FICA                  09/30/2017               3 D-ESTIMATED-SEE NOTE               $15,884.20                           $0.00

XX-XXX7270              WT-FICA                  12/31/2017               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00

XX-XXX7270              FUTA                     12/31/2017               3 1-ESTIMATED-SEE NOTE               $2,770.13                            $496.41

XX-XXX7270              WT-FICA                  03/31/2018               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00
XX-XXX7270              WT-FICA                  06/30/2018               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00

XX-XXX7270              WT-FICA                  09/30/2018               3 D-ESTIMATED-SEE NOTE               $15,884.21                           $0.00

XX-XXX7270              CORP-INC                 12/31/2020               11/08/2021                           $0.00                                $0.00

                                                                                                               $180,266.55                          $1,126.13



 Penalty to date of petition on unsecured general claims (including interest thereon) . . . . . .$9,402.21



                                                 Total Amount of Unsecured General Claims:                                                          $190,794.89

1 LIABILITY IS ESTIMATED BASED ON AVAILABLE INFORMATION BECAUSE THE RETURN HAS NOT BEEN FILED. THIS CLAIM MAY BE AMENDED AS NECESSARY AFTER THE DEBTOR FILES THE RETURN OR PROVIDES
OTHER REQUIRED INFORMATION.
2 LIABILITY IS ESTIMATED BASED ON AVAILABLE INFORMATION BECAUSE THE RETURN HAS NOT BEEN FILED. THIS CLAIM MAY BE AMENDED AS NECESSARY AFTER THE DEBTOR FILES THE RETURN OR PROVIDES
OTHER REQUIRED INFORMATION.
3 LIABILITY IS ESTIMATED BASED ON AVAILABLE INFORMATION BECAUSE THE RETURN HAS NOT BEEN FILED. THIS CLAIM MAY BE AMENDED AS NECESSARY AFTER THE DEBTOR FILES THE RETURN OR PROVIDES
OTHER REQUIRED INFORMATION.




                                                                               Motion: 117
Case 2:21-bk-18572-BB   Doc 125 Filed 01/19/22 Entered 01/19/22 21:56:38   Desc
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                             EXHIBIT 7


                                 Motion: 118
                 Case
                 Case2:21-bk-18572-BB
                      2:21-bk-18572-BB Doc
                                        Doc125
                                            63 Filed
                                                 Filed12/09/21
                                                      01/19/22 Entered
                                                                 Entered12/09/21
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                                                                   of59
                                                                      186                       1Wll/2111;18PM




 F,11   in   this 111format1on to 1dent1fy the case :

 Debtor name           Adli Law Group P.C.

 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number (If known)         2:21-bk-18572-8B
                                                                                                                                 D   Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                            12/15

An individual who Is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
fonn for the schedules of assets and liabilities, any other document that requires a declaration that is not Included In the document, and any
amendments of those documents. This fonn must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                   Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the infomJation is true and correct

             •      Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)
             •      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
             •      Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
             •      Schedule G: Executo,y Contracts and Unexpired Leases (Official Form 206G)
             •      Schedule H: Codebtors (Official Form 206H)
             •      Summary of Assets and Uabilities for Non-Individuals (Official Form 206Sum)
             D      Amended Schedule
             •      Chapter 11 or Chapter 9 Cases: Ust of Creditors INho Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
             •      Other document that requires a declaration                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy;
                                                                              Verification of Master Mallin List of Creditors

         I declare under penalty of perjury that the foregoing is true and correct.

             Exearted on     December 8, 2021                         X      rTY-J~
                                                                                 "--'-""~
                                                                                   --=::;...._-________________
                                                                          ~Timf1¢icfua1 signing on behalf of debtor

                                                                          Dariush G. Adll
                                                                          Printed name

                                                                          President
                                                                          Position or relationship to debtor




Official Form 202                                              Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyrii;ll {c) 1996-2021 Best Case, U C - www.beslcase.a,m




                                                                                Motion: 119
            Case
            Case2:21-bk-18572-BB
                 2:21-bk-18572-BB Doc
                                   Doc125
                                       63 Filed
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                                                 01/19/22 Entered
                                                             Entered12/09/21
                                                                     01/19/2213:06:57
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                                       Document
                                         Document PagePage122
                                                            2 of
                                                              of59
                                                                 186                     12/09/21 12:20PM


 Fill in this information to identify the case:

 Debtor name            Adli Law Group P.C.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               2:21-bk-18572-BB
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,732,444.88

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,732,444.88


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            32,037.50

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,609,570.64


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,641,608.14




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy

                                                                                                  Motion: 120
           Case
           Case2:21-bk-18572-BB
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                                  Doc125
                                      63 Filed
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                                                01/19/22 Entered
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                                      Document
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 Fill in this information to identify the case:

 Debtor name         Adli Law Group P.C.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-18572-BB
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset




- ~-------------------
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Bank of the West                                         Checking account             7828                                    $27,541.29




           3.2.    Bank of the West                                         Checking account             7851                                    $36,266.02




           3.3.    Bank of the West                                         Money Market account         7810                                     $2,140.64




           3.4.    Wells Fargo Bank                                         Checking Account             3159                                         $30.35




           3.5.    US Bank                                                  Business account             1292                                       $214.43




           3.6.    Bank of the West                                         Checking account             7844                                       $109.87




           3.7.    Bank of the West                                         Checking                     9261                                    $58,399.45

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy

                                                                          Motion: 121
           Case
           Case2:21-bk-18572-BB
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                                  Doc125
                                      63 Filed
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 Debtor           Adli Law Group P.C.                                                           Case number (If known) 2:21-bk-18572-BB
                  Name




 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                         $124,702.05




- ~-------------------
 Part 2:
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

                  Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Bank of the West
                    Checking account - IOLTA
           7.1.     Accoount no. XXX9915                                                                                                     $522.40


                    Bank of the West
                    Checking account - IOLTA
           7.2.     Account no. XXX4832                                                                                                   $11,725.87



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                          $12,248.27




- ~-------------------
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:     Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11. Accounts Receivable - See Attachment 1 attached hereto.


           11b. Over 90 days old:                            1,345,193.72     -            Unknown                                   $1,345,193.72
                                              face amount                         doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                       $1,345,193.72




-~-------------------
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.




- ~-------------------
 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy

                                                                            Motion: 122
Case
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                       Doc125
                           63 Filed
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                ATTACHMENT 1
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
                        Division, Case No. 2:21-bk-18572-BB; Schedule A/B Assets
                                             Motion: 123
              Accounts Receivable Report
                                                                                                        Case




              Matter                       Current    30‐59   60‐89    90‐119     120+       Total
              1005.303                     0.00       0.00    0.00     0.00       936.24     936.24
              1013.213                     2,280.00   0.00    0.00     0.00       0.00       2,280.00
              1066.302                     0.00       0.00    0.00     0.00       625.00     625.00
              1098.202                     1,800.96   0.00    862.78   3,573.07   974.00     7,210.81
              1099.301                     0.00       0.00    0.00     0.00       180.00     180.00
              1238.301                     0.00       0.00    0.00     0.00       325.00     325.00
                                                                                                        Case2:21-bk-18572-BB




              1238.302                     0.00       0.00    0.00     0.00       140.00     140.00
              1238.303                     0.00       0.00    0.00     0.00       644.00     644.00
              1238.801                     0.00       0.00    0.00     0.00       500.00     500.00
                                                                                                             2:21-bk-18572-BB Doc
                                                                                                                              Main




              1277.302                     0.00       0.00    0.00     0.00       180.00     180.00
                                                                                                                                Main
                                                                                                                               Doc125




              1311.101                     0.00       0.00    0.00     0.00       1,408.00   1,408.00
              1311.101                     560.00     0.00    0.00     0.00       90.00      650.00
              1311.101                     0.00       0.00    0.00     0.00       54.00      54.00
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              1311.101                     350.00     0.00    0.00     0.00       54.00      404.00
              1369.107                     0.00       0.00    0.00     0.00       554.00     554.00
              1467.301                     0.00       0.00    105.00   0.00       90.00      195.00
                                                                                                                                     Document Page
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              1480.801                     0.00       0.00    0.00     0.00       ‐85.65     ‐85.65
                                                                                                                                                  Page




              1485.301                     0.00       0.00    0.00     0.00       180.00     180.00
                                                                                                                                                      126
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              1558.101                     0.00       0.00    250.00   0.00       0.00       250.00
              1578.204                     0.00       0.00    0.00     0.00       1,143.62   1,143.62
                                                                                                                                                          of59
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              1606.301                     0.00       0.00    0.00     180.00     0.00       180.00
              1606.306                     0.00       0.00    0.00     180.00     0.00       180.00
              1622.101                     0.00       0.00    0.00     0.00       640.00     640.00
                                                                                                                                                         Entered12/09/21




              1627.201                     0.00       0.00    0.00     0.00       400.00     400.00
              1641.201                     0.00       0.00    0.00     0.00       1,519.25   1,519.25
              1659.203                     55.62      0.00    0.00     0.00       0.00       55.62
              1659.204                     1,459.00   0.00    37.80    0.00       0.00       1,496.80
                                                                                                                                                                 01/19/2213:06:57




              1695.Gen                     0.00       0.00    0.00     0.00       753.30     753.30
              1726.202                     0.00       0.00    0.00     0.00       5,253.55   5,253.55
              1736.101                     0.00       0.00    0.00     0.00       145.62     145.62
                                                                                                                                                                         21:56:38 Desc
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              1873.203                     314.15     0.00    278.10   92.70      6,787.25   7,472.20
              1873.204   0.00     0.00   0.00        0.00     3,862.05    3,862.05
              1999.Gen   0.00     0.00   0.00        0.00     ‐1,020.81   ‐1,020.81
              2022.201   0.00     0.00   0.00        0.00     263.88      263.88
                                                                                      Case




              2023.101   0.00     0.00   0.00        0.00     5,990.00    5,990.00
              2023.103   0.00     0.00   0.00        0.00     1,000.00    1,000.00
              2023.104   0.00     0.00   0.00        0.00     1,190.00    1,190.00
              2023.105   0.00     0.00   0.00        890.00   1,000.00    1,890.00
              2023.106   0.00     0.00   500.00      0.00     0.00        500.00
              2023.106   0.00     0.00   1,770.00    0.00     0.00        1,770.00
                                                                                      Case2:21-bk-18572-BB




              2023.107   0.00     0.00   0.00        570.00   1,050.00    1,620.00
              2023.108   890.00   0.00   890.00      0.00     2,210.00    3,990.00
              2023.109   0.00     0.00   0.00        0.00     1,779.00    1,779.00
                                                                                           2:21-bk-18572-BB Doc
                                                                                                            Main




              2023.11    0.00     0.00   0.00        0.00     1,894.00    1,894.00
                                                                                                              Main
                                                                                                             Doc125




              2023.111   0.00     0.00   0.00        0.00     1,980.00    1,980.00
              2023.303   0.00     0.00   0.00        0.00     700.00      700.00
              2047.103   0.00     0.00   10,500.00   0.00     0.00        10,500.00
                                                                                                                 63 Filed
                                                                                                                 Document




              2055.201   0.00     0.00   0.00        273.98   1,962.83    2,236.81
              2059.201   0.00     0.00   0.00        0.00     667.38      667.38
              2064.309   0.00     0.00   240.00      0.00     0.00        240.00
                                                                                                                   Document Page
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              2085.201   0.00     0.00   0.00        0.00     1,246.30    1,246.30




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              2093.601   0.00     0.00   0.00        0.00     1,776.37    1,776.37
                                                                                                                                    127




              2096.101   0.00     0.00   0.00        0.00     ‐5.00       ‐5.00
                                                                                                                                      7 of




              2138.101   0.00     0.00   1,500.00    0.00     0.00        1,500.00
                                                                                                                                        of59
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              2141.601   0.00     0.00   0.00        0.00     ‐82.19      ‐82.19
              2164.301   0.00     0.00   190.00      0.00     0.00        190.00
              2164.302   0.00     0.00   190.00      0.00     0.00        190.00
              2170.Gen   0.00     0.00   0.00        0.00     190.00      190.00
                                                                                                                                       Entered12/09/21




              2225.101   0.00     0.00   0.00        0.00     180.00      180.00
              2235.301   0.00     0.00   0.00        0.00     257.50      257.50
              2235.302   0.00     0.00   0.00        0.00     2,441.00    2,441.00
                                                                                                                                               01/19/2213:06:57




              2270.201   0.00     0.00   0.00        0.00     6,395.68    6,395.68
              2275.201   0.00     0.00   0.00        0.00     1,000.00    1,000.00
              2278.336   0.00     0.00   0.00        0.00     162.00      162.00
                                                                                                                                                       21:56:38 Desc
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              2287.201   70.56    0.00   0.00        0.00     0.00        70.56
              2296.201   0.00        0.00       0.00       0.00       480.00       480.00
              2313.Gen   125.00      0.00       0.00       0.00       0.00         125.00
              2324.Gen   0.00        1,100.00   0.00       0.00       0.00         1,100.00
                                                                                                Case




              2330.201   10.00       0.00       0.00       0.00       0.00         10.00
              2353.201   0.00        0.00       0.00       0.00       1,280.68     1,280.68
              2353.202   0.00        0.00       0.00       0.00       10,279.19    10,279.19
              2366.Gen   0.00        0.00       0.00       0.00       3,326.00     3,326.00
              2371.201   16,013.44   0.00       8,801.76   3,869.24   25,374.76    54,059.20
              2388.202   0.00        0.00       0.00       0.00       543.44       543.44
                                                                                                Case2:21-bk-18572-BB




              2388.803   0.00        0.00       0.00       0.00       ‐543.44      ‐543.44
              2404.201   0.00        0.00       0.00       0.00       ‐45,563.54   ‐45,563.54
              2404.202   0.00        0.00       0.00       0.00       27,436.96    27,436.96
                                                                                                     2:21-bk-18572-BB Doc
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              2404.Gen   0.00        0.00       0.00       0.00       9,821.05     9,821.05
                                                                                                                        Main
                                                                                                                       Doc125




              2406.201   0.00        0.00       1,506.45   0.00       0.00         1,506.45
              2406.202   0.00        0.00       1,294.80   0.00       0.00         1,294.80
              2406.203   3,932.60    0.00       4,426.99   0.00       0.00         8,359.59
                                                                                                                           63 Filed
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              2406.501   0.00        0.00       0.00       0.00       4,917.04     4,917.04
              2417.201   0.00        0.00       0.00       0.00       5,328.51     5,328.51
              2430.102   1,750.00    0.00       0.00       0.00       0.00         1,750.00
                                                                                                                             Document Page
                                                                                                                                Filed12/09/21




              2430.102   7,445.22    0.00       0.00       0.00       0.00         7,445.22




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              2430.102   1,550.00    0.00       0.00       0.00       0.00         1,550.00
                                                                                                                                              128




              2430.201   1,600.00    0.00       0.00       3,460.00   9,120.00     14,180.00
                                                                                                                                                8 of




              2439.Gen   0.00        0.00       1,487.50   0.00       1,348.94     2,836.44
                                                                                                                                                  of59
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              2455.201   0.00        0.00       0.00       0.00       11,410.36    11,410.36
              2469.201   499.55      0.00       1,158.75   0.00       3,682.90     5,341.20
              2487.101   0.00        0.00       1,621.72   0.00       0.00         1,621.72
              2487.301   0.00        0.00       0.00       1,450.00   0.00         1,450.00
                                                                                                                                                 Entered12/09/21




              2487.304   0.00        0.00       125.00     0.00       0.00         125.00
              2487.305   280.00      0.00       0.00       0.00       0.00         280.00
              2487.305   70.00       0.00       0.00       0.00       0.00         70.00
                                                                                                                                                         01/19/2213:06:57




              2508.201   3,243.20    0.00       2,480.24   0.00       10,274.75    15,998.19
              2512.201   0.00        0.00       0.00       0.00       671.80       671.80
              2512.203   0.00        0.00       0.00       0.00       660.00       660.00
                                                                                                                                                                 21:56:38 Desc
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              2512.304   0.00        0.00       0.00       0.00       ‐344.80      ‐344.80
              2512.305   0.00        0.00   0.00        0.00       593.00      593.00
              2517.202   945.00      0.00   0.00        1,635.00   18,889.10   21,469.10
              2520.201   0.00        0.00   0.00        259.56     0.00        259.56
                                                                                           Case




              2526.301   0.00        0.00   0.00        0.00       550.00      550.00
              2546.201   0.00        0.00   0.00        0.00       686.00      686.00
              2546.Gen   15,000.00   0.00   15,000.00   0.00       0.00        30,000.00
              2552.101   0.00        0.00   0.00        0.00       1,600.00    1,600.00
              2557.301   0.00        0.00   0.00        0.00       250.00      250.00
              2557.302   0.00        0.00   0.00        0.00       250.00      250.00
                                                                                           Case2:21-bk-18572-BB




              2557.304   0.00        0.00   0.00        0.00       250.00      250.00
              2557.305   0.00        0.00   0.00        0.00       250.00      250.00
              2565.301   0.00        0.00   0.00        360.00     0.00        360.00
                                                                                                2:21-bk-18572-BB Doc
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              2565.601   0.00        0.00   0.00        0.00       1,500.00    1,500.00
                                                                                                                   Main
                                                                                                                  Doc125




              2565.Gen   0.00        0.00   2,941.68    1,903.44   1,451.72    6,296.84
              2595.302   0.00        0.00   0.00        0.00       570.00      570.00
              2595.304   500.00      0.00   1,000.00    0.00       1,000.00    2,500.00
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              2611.301   0.00        0.00   0.00        0.00       111.24      111.24
              2611.Gen   0.00        0.00   0.00        0.00       550.22      550.22
              2612.Gen   0.00        0.00   0.00        0.00       1,599.15    1,599.15
                                                                                                                        Document Page
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              2616.301   0.00        0.00   0.00        0.00       2,520.00    2,520.00




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              2617.301   0.00        0.00   0.00        0.00       660.00      660.00
                                                                                                                                         129




              2617.302   0.00        0.00   0.00        0.00       191.70      191.70
                                                                                                                                           9 of




              2623.101   0.00        0.00   0.00        0.00       ‐700.00     ‐700.00
                                                                                                                                             of59
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              2629.302   0.00        0.00   0.00        0.00       571.50      571.50
              2629.Gen   0.00        0.00   0.00        0.00       185.40      185.40
              2641.201   0.00        0.00   0.00        0.00       ‐206.00     ‐206.00
              2651.201   0.00        0.00   0.00        0.00       493.50      493.50
                                                                                                                                            Entered12/09/21




              2653.201   0.00        0.00   0.00        0.00       139.05      139.05
              2659.201   0.00        0.00   0.00        0.00       416.56      416.56
              2660.201   0.00        0.00   0.00        0.00       36.00       36.00
                                                                                                                                                    01/19/2213:06:57




              2668.201   247.20      0.00   0.00        180.00     3,180.00    3,607.20
              2671.201   0.00        0.00   0.00        0.00       0.00        0.00
              2675.201   15,860.00   0.00   0.00        0.00       0.00        15,860.00
                                                                                                                                                            21:56:38 Desc
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              2675.202   0.00        0.00   9,764.40    9,949.80   25,083.08   44,797.28
              2675.21    20,102.50   0.00   13,887.50   22,645.00   9,995.00    66,630.00
              2680.201   0.00        0.00   0.00        0.00        676.82      676.82
              2680.202   0.00        0.00   0.00        0.00        311.98      311.98
                                                                                            Case




              2680.203   0.00        0.00   0.00        0.00        311.98      311.98
              2686.Gen   0.00        0.00   0.00        0.00        7,913.04    7,913.04
              2687.303   0.00        0.00   0.00        0.00        250.00      250.00
              2687.304   0.00        0.00   0.00        0.00        250.00      250.00
              2687.305   0.00        0.00   0.00        250.00      0.00        250.00
              2687.306   250.00      0.00   0.00        0.00        0.00        250.00
                                                                                            Case2:21-bk-18572-BB




              2687.307   0.00        0.00   0.00        250.00      0.00        250.00
              2687.309   0.00        0.00   775.00      0.00        180.00      955.00
              2696.301   0.00        0.00   0.00        0.00        125.00      125.00
                                                                                                 2:21-bk-18572-BB Doc
                                                                                                                  Main




              2696.302   0.00        0.00   0.00        0.00        1,100.00    1,100.00
                                                                                                                   Doc125




              2724.101   0.00        0.00   0.00        0.00        3,500.00    3,500.00
              2736.201   0.00        0.00   0.00        0.00        4,444.07    4,444.07
              2744.Gen   0.00        0.00   0.00        0.00        100.00      100.00
                                                                                                                       63 Filed
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              2748.201   0.00        0.00   0.00        0.00        185.00      185.00
              2750.402   0.00        0.00   0.00        0.00        1,300.00    1,300.00
              2752.101   0.00        0.00   0.00        0.00        400.00      400.00
                                                                                                                        Document Page
                                                                                                                           Filed12/09/21




              2754.201   0.00        0.00   0.00        0.00        11,307.68   11,307.68




Motion: 128
              2767.201   0.00        0.00   0.00        0.00        39,875.60   39,875.60
                                                                                                                                    Page130




              2767.202   0.00        0.00   0.00        0.00        27,107.18   27,107.18
              2767.203   0.00        0.00   0.00        0.00        24,977.82   24,977.82
                                                                                                                                               59
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              2767.Gen   0.00        0.00   0.00        0.00        5,614.80    5,614.80
              2773.201   957.90      0.00   0.00        247.20      8,985.20    10,190.30
              2792.Gen   0.00        0.00   0.00        0.00        35.90       35.90
              2798.201   0.00        0.00   0.00        0.00        737.76      737.76
                                                                                                                                          Entered12/09/21




              2799.201   0.00        0.00   0.00        486.15      1,184.10    1,670.25
              2808.201   0.00        0.00   0.00        0.00        23,385.00   23,385.00
              2817.301   0.00        0.00   0.00        0.00        810.00      810.00
                                                                                                                                                   01/19/2213:06:57




              2825.Gen   0.00        0.00   0.00        0.00        538.65      538.65
              2835.201   0.00        0.00   0.00        82.40       18,858.99   18,941.39
              2837.Gen   0.00        0.00   0.00        0.00        180.00      180.00
                                                                                                                                                           21:56:38 Desc
                                                                                                                                                                    Desc




              2838.301   0.00        0.00   0.00        0.00        ‐500.00     ‐500.00
              2838.302   0.00       0.00   0.00       0.00       500.00       500.00
              2839.Gen   0.00       0.00   1,000.00   0.00       0.00         1,000.00
              2843.201   0.00       0.00   0.00       0.00       ‐228.85      ‐228.85
                                                                                           Case




              2843.301   0.00       0.00   0.00       0.00       18.00        18.00
              2845.201   0.00       0.00   0.00       0.00       108.00       108.00
              2848.Gen   1,890.00   0.00   2,030.00   0.00       0.00         3,920.00
              2850.Gen   1,575.00   0.00   770.00     2,940.00   550.00       5,835.00
              2858.201   0.00       0.00   0.00       84.00      506.00       590.00
              2863.201   0.00       0.00   0.00       0.00       61.80        61.80
                                                                                           Case2:21-bk-18572-BB




              2863.801   168.00     0.00   821.94     2,100.00   3,402.00     6,491.94
              2863.Gen   0.00       0.00   0.00       672.00     1,375.50     2,047.50
              2866.201   0.00       0.00   0.00       0.00       211.95       211.95
                                                                                                2:21-bk-18572-BB Doc
                                                                                                                 Main




              2872.Gen   0.00       0.00   0.00       0.00       ‐29.23       ‐29.23
                                                                                                                  Doc125




              2874.201   0.00       0.00   0.00       0.00       283.25       283.25
              2875.Gen   0.00       0.00   129.78     0.00       126.00       255.78
              2876.201   1,153.60   0.00   704.52     1,854.00   100,944.58   104,656.70
                                                                                                                      63 Filed
                                                                                                                  MainDocument




              2878.302   0.00       0.00   0.00       0.00       500.00       500.00
              2883.201   848.00     0.00   0.00       0.00       0.00         848.00
              2888.201   0.00       0.00   0.00       0.00       81,952.42    81,952.42
                                                                                                                       Document Page
                                                                                                                          Filed12/09/21




              2896.31    0.00       0.00   0.00       0.00       180.00       180.00




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              2903.201   0.00       0.00   0.00       0.00       87.50        87.50
                                                                                                                                   Page131




              2903.202   0.00       0.00   1,500.00   0.00       1,500.00     3,000.00
              2903.203   0.00       0.00   0.00       0.00       2,494.60     2,494.60
                                                                                                                                              59
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              2903.204   0.00       0.00   0.00       0.00       2,842.80     2,842.80
              2903.205   0.00       0.00   0.00       0.00       7,888.00     7,888.00
              2903.Gen   0.00       0.00   0.00       0.00       4,109.70     4,109.70
              2906.201   112.15     0.00   0.00       0.00       0.00         112.15
                                                                                                                                         Entered12/09/21




              2908.Gen   0.00       0.00   0.00       0.00       800.00       800.00
              2909.Gen   0.00       0.00   0.00       0.00       1,500.00     1,500.00
              2911.601   0.00       0.00   0.00       0.00       50.47        50.47
                                                                                                                                                  01/19/2213:06:57




              2914.Gen   0.00       0.00   0.00       0.00       250.00       250.00
              2916.201   0.00       0.00   0.00       0.00       1,173.17     1,173.17
              2918.201   0.00       0.00   82.40      0.00       6,635.50     6,717.90
                                                                                                                                                          21:56:38 Desc
                                                                                                                                                                   Desc




              2923.102   0.00       0.00   0.00       0.00       450.00       450.00
              2928.301   0.00        0.00   0.00        0.00       ‐500.00     ‐500.00
              2928.307   0.00        0.00   0.00        750.00     0.00        750.00
              2932.201   659.20      0.00   935.24      1,827.80   4,161.20    7,583.44
                                                                                           Case




              2933.201   521.10      0.00   0.00        0.00       0.00        521.10
              2941.Gen   0.00        0.00   0.00        0.00       55.62       55.62
              2943.201   0.00        0.00   93.00       93.00      0.00        186.00
              2943.202   4,774.05    0.00   0.00        1,545.65   0.00        6,319.70
              2943.204   702.15      0.00   926.40      2,241.30   6,051.25    9,921.10
              2946.201   0.00        0.00   0.00        0.00       26,694.42   26,694.42
                                                                                           Case2:21-bk-18572-BB




              2947.201   14,854.66   0.00   10,079.58   9,410.08   54,180.60   88,524.92
              2948.201   0.00        0.00   0.00        0.00       15,001.65   15,001.65
              2950.Gen   0.00        0.00   0.00        0.00       3,402.00    3,402.00
                                                                                                2:21-bk-18572-BB Doc
                                                                                                                 Main




              2955.Gen   1,359.90    0.00   4,186.35    0.00       0.00        5,546.25
                                                                                                                  Doc125




              2957.201   741.60      0.00   0.00        185.40     0.00        927.00
              2960.201   0.00        0.00   0.00        0.00       78.02       78.02
              2961.201   0.00        0.00   905.95      1,780.31   0.00        2,686.26
                                                                                                                      63 Filed
                                                                                                                  MainDocument




              2963.201   0.00        0.00   0.00        0.00       520.00      520.00
              2968.201   3,958.50    0.00   1,007.00    0.00       0.00        4,965.50
              2971.302   0.00        0.00   0.00        0.00       516.00      516.00
                                                                                                                       Document Page
                                                                                                                          Filed12/09/21




              2972.202   206.00      0.00   765.70      0.00       0.00        971.70




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              2973.201   325.00      0.00   0.00        0.00       0.00        325.00
                                                                                                                                   Page132




              2975.101   0.00        0.00   0.00        0.00       540.00      540.00
              2978.301   0.00        0.00   0.00        0.00       180.00      180.00
                                                                                                                                              59
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              2988.201   0.00        0.00   0.00        0.00       108.00      108.00
              2989.201   0.00        0.00   185.40      185.40     2,775.25    3,146.05
              2992.304   0.00        0.00   0.00        0.00       125.00      125.00
              2992.305   0.00        0.00   0.00        0.00       125.00      125.00
                                                                                                                                         Entered12/09/21




              2992.306   0.00        0.00   0.00        0.00       125.00      125.00
              2995.304   0.00        0.00   0.00        0.00       20.00       20.00
              2997.201   897.65      0.00   0.00        0.00       191.58      1,089.23
                                                                                                                                                  01/19/2213:06:57




              2998.101   0.00        0.00   0.00        0.00       0.00        0.00
              2999.201   13,778.00   0.00   0.00        0.00       0.00        13,778.00
              2999.Gen   309.00      0.00   0.00        0.00       0.00        309.00
                                                                                                                                                          21:56:38 Desc
                                                                                                                                                                   Desc




              3002.Gen   4,789.50    0.00   465.00      0.00       0.00        5,254.50
              3006.201   0.00       0.00   930.07     363.59      7,183.72    8,477.38
              3007.102   0.00       0.00   0.00       306.00      100.00      406.00
              3007.102   0.00       0.00   0.00       350.00      258.58      608.58
                                                                                          Case




              3007.201   0.00       0.00   0.00       17,120.00   57,280.00   74,400.00
              3007.303   0.00       0.00   0.00       0.00        200.00      200.00
              3009.201   0.00       0.00   0.00       0.00        30.90       30.90
              3010.201   2,209.87   0.00   2,162.49   0.00        0.00        4,372.36
              3015.101   1,775.00   0.00   0.00       0.00        0.00        1,775.00
              3018.201   0.00       0.00   0.00       92.70       0.00        92.70
                                                                                          Case2:21-bk-18572-BB




              3022.201   462.00     0.00   225.00     1,965.00    4,000.00    6,652.00
              3024.201   0.00       0.00   0.00       0.00        247.20      247.20
              3034.201   317.24     0.00   56.65      0.00        24.60       398.49
                                                                                               2:21-bk-18572-BB Doc
                                                                                                                Main




              3034.203   0.00       0.00   61.80      0.00        4,535.29    4,597.09
                                                                                                                 Doc125




              3035.802   0.00       0.00   1,255.50   976.50      0.00        2,232.00
              3039.601   420.00     0.00   2,975.00   2,100.00    490.00      5,985.00
              3040.201   4,841.00   0.00   5,026.40   3,028.20    4,785.00    17,680.60
                                                                                                                     63 Filed
                                                                                                                 MainDocument




              3041.201   383.16     0.00   1,501.74   0.00        0.00        1,884.90
              3042.201   3,686.20   0.00   1,359.60   5,357.61    849.75      11,253.16
              3042.301   0.00       0.00   0.00       755.00      0.00        755.00
                                                                                                                      Document Page
                                                                                                                         Filed12/09/21




              3042.302   0.00       0.00   0.00       755.00      0.00        755.00




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              3042.303   0.00       0.00   0.00       755.00      0.00        755.00
                                                                                                                                  Page133




              3042.304   0.00       0.00   0.00       755.00      0.00        755.00
              3042.305   0.00       0.00   0.00       755.00      0.00        755.00
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              3042.306   0.00       0.00   0.00       755.00      0.00        755.00
              3042.307   0.00       0.00   0.00       755.00      0.00        755.00
              3042.308   0.00       0.00   0.00       755.00      0.00        755.00
              3042.309   0.00       0.00   0.00       755.00      0.00        755.00
                                                                                                                                        Entered12/09/21




              3042.31    0.00       0.00   0.00       755.00      0.00        755.00
              3042.311   0.00       0.00   0.00       755.00      0.00        755.00
              3042.312   0.00       0.00   0.00       755.00      0.00        755.00
                                                                                                                                                 01/19/2213:06:57




              3042.313   0.00       0.00   0.00       755.00      0.00        755.00
              3042.314   0.00       0.00   0.00       755.00      0.00        755.00
              3042.Gen   0.00       0.00   736.45     0.00        0.00        736.45
                                                                                                                                                         21:56:38 Desc
                                                                                                                                                                  Desc




              3044.201   2,200.75   0.00   0.00       0.00        0.00        2,200.75
              3045.201   2,906.66    0.00   2,142.40   8,116.40   0.00        13,165.46
              3045.202   846.24      0.00   762.20     1,668.60   0.00        3,277.04
              3047.201   80.00       0.00   120.00     446.50     8,339.50    8,986.00
                                                                                          Case




              3048.201   111.24      0.00   0.00       0.00       0.00        111.24
              3052.201   0.00        0.00   0.00       0.00       ‐495.00     ‐495.00
              3057.201   0.00        0.00   0.00       206.00     12,986.40   13,192.40
              3059.201   0.00        0.00   0.00       0.00       6,894.76    6,894.76
              3060.801   139.50      0.00   3,335.82   0.00       0.00        3,475.32
              3063.201   14,392.20   0.00   0.00       0.00       0.00        14,392.20
                                                                                          Case2:21-bk-18572-BB




              3066.201   231.75      0.00   0.00       115.88     2,626.50    2,974.13
              3068.201   0.00        0.00   0.00       324.50     0.00        324.50
              3069.201   3,499.94    0.00   0.00       0.00       0.00        3,499.94
                                                                                               2:21-bk-18572-BB Doc
                                                                                                                Main




              3070.101   180.00      0.00   0.00       0.00       0.00        180.00
                                                                                                                 Doc125




              3070.106   429.75      0.00   0.00       0.00       0.00        429.75
              3070.301   0.00        0.00   0.00       700.00     0.00        700.00
              3070.Gen   3,275.10    0.00   0.00       0.00       0.00        3,275.10
                                                                                                                     63 Filed
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              3073.101   0.00        0.00   0.00       250.00     0.00        250.00
              3075.201   8,141.40    0.00   0.00       0.00       0.00        8,141.40
              3076.201   0.00        0.00   0.00       1.08       0.00        1.08
                                                                                                                      Document Page
                                                                                                                         Filed12/09/21




              3077.Gen   2,557.50    0.00   859.50     0.00       0.00        3,417.00




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              3082.201   0.00        0.00   0.00       286.60     0.00        286.60
                                                                                                                                  Page134




              3083.201   2,457.20    0.00   0.00       0.00       0.00        2,457.20
              3083.Gen   0.00        0.00   494.40     556.20     0.00        1,050.60
                                                                                                                                             59
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              3085.201   1,700.02    0.00   166.67     0.00       0.00        1,866.69
              3088.201   0.00        0.00   0.00       24.40      0.00        24.40
              3091.301   350.00      0.00   0.00       0.00       0.00        350.00
              3091.302   350.00      0.00   0.00       0.00       0.00        350.00
                                                                                                                                        Entered12/09/21




              3091.303   1,100.00    0.00   0.00       0.00       0.00        1,100.00
              3091.304   1,100.00    0.00   0.00       0.00       0.00        1,100.00
              3092.201   9.22        0.00   0.00       0.00       0.00        9.22
                                                                                                                                                 01/19/2213:06:57




              3093.302   0.00        0.00   0.00       278.00     0.00        278.00
              3094.301   3,745.00    0.00   0.00       0.00       0.00        3,745.00
              3094.302   1,050.00    0.00   0.00       0.00       0.00        1,050.00
                                                                                                                                                         21:56:38 Desc
                                                                                                                                                                  Desc




              3094.303   700.00      0.00   0.00       0.00       0.00        700.00
              3094.401   450.00       0.00       0.00         0.00         0.00         450.00
              3098.301   800.00       0.00       0.00         0.00         0.00         800.00
              3098.301   500.00       0.00       0.00         0.00         0.00         500.00
                                                                                                       Case




              3098.301   480.00       0.00       0.00         0.00         0.00         480.00
              3098.302   1,600.00     0.00       0.00         0.00         0.00         1,600.00
              3098.303   800.00       0.00       0.00         0.00         0.00         800.00
              3098.303   500.00       0.00       0.00         0.00         0.00         500.00
              3098.303   480.00       0.00       0.00         0.00         0.00         480.00
              3098.304   1,600.00     0.00       0.00         0.00         0.00         1,600.00
                                                                                                       Case2:21-bk-18572-BB




              3098.305   800.00       0.00       0.00         0.00         0.00         800.00
              3098.305   500.00       0.00       0.00         0.00         0.00         500.00
              3098.305   480.00       0.00       0.00         0.00         0.00         480.00
                                                                                                            2:21-bk-18572-BB Doc
                                                                                                                             Main




              3098.306   800.00       0.00       0.00         0.00         0.00         800.00
                                                                                                                              Doc125




              3098.306   500.00       0.00       0.00         0.00         0.00         500.00
              3098.306   480.00       0.00       0.00         0.00         0.00         480.00
              3101.201   0.00         0.00       232.50       186.00       0.00         418.50
                                                                                                                                  63 Filed
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              3101.601   0.00         0.00       1,470.00     0.00         0.00         1,470.00
              3103.201   982.50       0.00       400.00       0.00         0.00         1,382.50
              3113.301   1,000.00     0.00       0.00         0.00         0.00         1,000.00
                                                                                                                                   Document Page
                                                                                                                                      Filed12/09/21




              3117.201   61.80        0.00       0.00         0.00         0.00         61.80




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              3125.401   1,300.00     0.00       0.00         0.00         0.00         1,300.00
                                                                                                                                               Page135




              3125.402   1,300.00     0.00       0.00         0.00         0.00         1,300.00
              5067.COL   0.00         0.00       0.00         0.00         ‐28,813.36   ‐28,813.36
                                                                                                                                                          59
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              5089.MKT   0.00         0.00       21.30        18.00        0.00         39.30
              5099.ADM   0.00         0.00       0.00         0.00         923.97       923.97
              5101.MKT   1,750.00     0.00       0.00         0.00         0.00         1,750.00
              5105.MKT   0.00         0.00       0.00         0.00         19,236.00    19,236.00
                                                                                                                                                     Entered12/09/21




              5127.MKT   0.00         0.00       0.00         4,770.00     0.00         4,770.00
              ADLI.Gai   0.00         0.00       0.00         208.94       0.00         208.94
              ADLI.Syn   0.00         0.00       0.00         0.00         4.00         4.00
                                                                                                                                                              01/19/2213:06:57




              ADLI.Urb   0.00         0.00       0.00         0.00         4.00         4.00

                         234,597.20   1,100.00   136,469.22   138,843.18   834,184.12   1,345,193.72
                                                                                                                                                                      21:56:38 Desc
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           Case
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 Debtor         Adli Law Group P.C.                                                           Case number (If known) 2:21-bk-18572-BB




- ~--------------------
                Name

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.




- '- - ------------------
 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Furniture and fixtures
           Location: In debtor's possession                                                 $0.00                                       $221,552.79



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Rental of copier machinies from 1 Touch
           Office Technology
           Location: In debtor's possession                                                 $0.00                                              $0.00


           Lease of printers from Aztec Leasing, Inc.
           Location: In debtor's possession                                                 $0.00                                              $0.00


           Computer
           Location: In debtor's possession                                                 $0.00                                        $12,748.05



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $234,300.84
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No




- '- - ------------------
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Adli Law Group P.C.                                                           Case number (If known) 2:21-bk-18572-BB
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           General description                                                Net book value of       Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2 Mercedez and a BMW (leased)                                          $0.00                                                 $0.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                                 $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No




- ~--------------------
 Part 9:
               Yes

                Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Office space
                     Location: 12400
                     Wilshire Blvd., Ste.
                     1460, Los Angeles,                   Leasing office
                     CA 90025                             space                             $0.00                                                 $0.00




 56.       Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 4
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 Debtor         Adli Law Group P.C.                                                          Case number (If known) 2:21-bk-18572-BB
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 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No




- ~--------------------
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.




- ~-------------------
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Drew Sherman - profit sharing                                                                                              $16,000.00




 78.        Total of Part 11.                                                                                                       $16,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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 Debtor          Adli Law Group P.C.                                                                                 Case number (If known) 2:21-bk-18572-BB
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- ~-------------------
 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of
                                                                                                     personal property
                                                                                                                                         Current value of real
                                                                                                                                         property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $124,702.05

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $12,248.27

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,345,193.72

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $234,300.84

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $16,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,732,444.88            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,732,444.88




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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 Fill in this information to identify the case:

 Debtor name         Adli Law Group P.C.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-18572-BB
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Adli Law Group P.C.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)           2:21-bk-18572-BB
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,178.11         $2,178.11
           Anabel Rodriguez                                          Check all that apply.
           1036 Bay View Ave                                            Contingent
           Wilmington, CA 90744-3322                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages and benefits
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,633.82         $3,633.82
           Ani Martirosian                                           Check all that apply.
           410 Palm Dr                                                  Contingent
           Glendale, CA 91202-2308                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages and benefits
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 16
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 Debtor       Adli Law Group P.C.                                                                             Case number (if known)   2:21-bk-18572-BB
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 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Ben Jakovljevic                                            Check all that apply.
          4720 W 137th St                                               Contingent
          Hawthorne, CA 90250-6804                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages and benefits
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Employment Development                                     Check all that apply.
          Department                                                    Contingent
          Bankruptcy Group MIC 92E                                      Unliquidated
          P.O. Box 826880                                               Disputed
          Sacramento, CA 94280-0001
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employment taxes due, if any
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Franchise Tax Board                                        Check all that apply.
          Bankruptcy Section MS: A-340                                  Contingent
          PO Box 2952                                                   Unliquidated
          Sacramento, CA 95812-2952                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     State taxes owed, if any
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                   Contingent
          Philadelphia, PA 19101-7346                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Federal taxes, if any
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 16
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 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,589.61      $3,589.61
          Jacob Mojarro                                              Check all that apply.
          717 Lindaraxa Park N                                          Contingent
          Alhambra, CA 91801-2734                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages and benefits
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,292.79      $1,292.79
          Jaqueline Vizcaino                                         Check all that apply.
          4368 Lowell Ave                                               Contingent
          Los Angeles, CA 90032-1211                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages and benefits
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,448.76      $4,448.76
          Jonathan Landis                                            Check all that apply.
          8700 Pershing Dr                                              Contingent
          Playa del Rey, CA 90293-8000                                  Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages and benefits
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,194.88      $2,194.88
          Lorena Rodriguez                                           Check all that apply.
          1550 Lagoon Ave                                               Contingent
          Wilmington, CA 90744-2044                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages and benefits
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 16
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 2.11       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $4,551.26         $4,551.26
            Nicolette Hachem-Sawaya                                  Check all that apply.
            1250 Valrose Ct                                             Contingent
            Los Angeles, CA 90041-3382                                  Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages and benefits
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $2,180.97         $2,180.97
            Randi Simonette                                          Check all that apply.
            2423 253rd Street                                           Contingent
            Lomita, CA 90717                                            Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages and benefits
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $2,339.05         $2,339.05
            Rory Miller                                              Check all that apply.
            234 Strathburgh Ln                                          Contingent
            Cary, NC 27518-9035                                         Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages and benefits
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $5,628.25         $5,628.25
            Ryan Mitchell                                            Check all that apply.
            915 N La Brea                                               Contingent
            West Hollywood, CA 90038-2360                               Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages and benefits
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 16
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 Debtor       Adli Law Group P.C.                                                                     Case number (if known)            2:21-bk-18572-BB
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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $413.26
          1 Touch Office Technology                                             Contingent
          370 Amapola Ave., Ste. 106                                            Unliquidated
          Torrance, CA 90501                                                    Disputed
          Date(s) debt was incurred October 2021
                                                                             Basis for the claim:    Equipment rental
          Last 4 digits of account number 2501
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,015.62
          12400 Wilshire                                                        Contingent
          12400 Wilshire lvd., Ste. 210                                         Unliquidated
          Los Angeles, CA 90025                                                 Disputed
          Date(s) debt was incurred October 2021
                                                                             Basis for the claim:    Office rent
          Last 4 digits of account number 460C
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $350.00
          ABM Parking Services                                                  Contingent
          12400 Wilshire Blvd.                                                  Unliquidated
          Los Angeles, CA 90025                                                 Disputed
          Date(s) debt was incurred November 2021
                                                                             Basis for the claim:    Parking service
          Last 4 digits of account number 9683
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,121.64
          Ace Attorney Service Inc                                              Contingent
          811 Wilshire Blvd Suite 900                                           Unliquidated
          Los Angeles, CA 90017                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation and Messenger Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,627.21
          Apex Legal Services                                                   Contingent
          611 Wilshire Blvd Suite 700                                           Unliquidated
          Los Angeles, CA 90017                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation and Messenger Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,089.04
          Aptus Court Reporting                                                 Contingent
          600 West Broadway Ste 300                                             Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation Transcripts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          ASAP Truck & Trailer Repair                                           Contingent
          14643 Rancho Vista Dr.
                                                                                Unliquidated
          Fontana, CA 92335
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Collection
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 16
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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,000.00
          Aztec Leasing Inc                                                     Contingent
          PO Box 98813                                                          Unliquidated
          Las Vegas, NV 89193-8813                                              Disputed
          Date(s) debt was incurred
                                                                                            Lease of Printers – Settlement and Buyout of lease in
                                                                             Basis for the claim:
          Last 4 digits of account number                                    exchange for keeping printers
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,230,000.00
          Bank of the West                                                      Contingent
          915 Wilshire Blvd Suite 100                                           Unliquidated
          Los Angeles, CA 90017
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PPP Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $745.20
          Case Anywhere                                                         Contingent
          21860 Burbank Blvd Ste 125                                            Unliquidated
          Woodland Hills, CA 91367                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation Vendor Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,067.00
          Clarivate Analytics CompuMark Inc                                     Contingent
          PO Box 3773                                                           Unliquidated
          Carol Stream, IL 60132-3773                                           Disputed
          Date(s) debt was incurred
                                                                                             Intellectual Property services provided by outside
                                                                             Basis for the claim:
          Last 4 digits of account number                                    counsel (foreign filings)
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          Clark Hill PLC                                                        Contingent
          1055 W 7th St #2400                                                   Unliquidated
          Los Angeles, CA 90017                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Malpractice deductible owed to insurance defense
          Last 4 digits of account number                                    counsel
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $52,987.75
          Cogent Communications                                                 Contingent
          PO Box 791087
                                                                                Unliquidated
          Baltimore, MD 21279-1087
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contract for Internet and/or Phones
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,261.72
          CPA Global                                                            Contingent
          3133 W Frye Road                                                      Unliquidated
          Chandler, AZ 85226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IP services provided by outside counsel
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $104,610.00
          Creditors Adjustment Bureau Inc                                       Contingent
          14226 Ventura Blvd                                                    Unliquidated
          Sherman Oaks, CA 91423                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Settlement of mal-practice deductible
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,000.00
          CVFI-444 S Flower LP                                                  Contingent
          444 South Flower St Suite 610                                         Unliquidated
          Los Angeles, CA 90071                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Stipulated Settlement ($144,000) for lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Dancool HVAC Supply, Inc.                                             Contingent
          4544 San Fernando Rd.
                                                                                Unliquidated
          Glendale, CA 91204
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Pending fee arbitration
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dariush Adli PhD Esq                                                  Contingent
          Adli Law Group PC                                                     Unliquidated
          12400 Wilshire Blvd Ste 1460                                          Disputed
          Los Angeles, CA 90025
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dave Shenian                                                          Contingent
          1055 West Seventh St Ste 2400
                                                                                Unliquidated
          Los Angeles, CA 90017
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Profit sharing dispute
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,403.29
          De Lage Landen Financial Services                                     Contingent
          1111 Old Eagle School Road                                            Unliquidated
          Wayne, PA 19087                                                       Disputed
          Date(s) debt was incurred
                                                                                             Lease of Printers - Settlement ($55,403.29) for buyout
                                                                             Basis for the claim:
          Last 4 digits of account number                                    of lease and keeping printers
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Douglas Emmett 1995 LLC
          Attn Andrew B Goodman                                                 Contingent
          c/o Douglas Emmett Mgmt Inc                                           Unliquidated
          808 Wilshire Blvd 2nd Fl                                              Disputed
          Santa Monica, CA 90401
                                                                             Basis for the claim:    12400 Wilshire Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Drew Sherman                                                          Contingent
          23921 Sylvan St
                                                                                Unliquidated
          Woodland Hills, CA 91367-1246
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Proft sharing dispute
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,000.00
          EIDL US Small Bus Admin                                               Contingent
          SBA Disaster Loan Service Center                                      Unliquidated
          1545 Hawkins Blvd Suite 202                                           Disputed
          El Paso, TX 79925-2652
                                                                             Basis for the claim:    SBA Disaster Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,253.25
          Esquire Deposition Solutions                                          Contingent
          1500 Centre Pkwy Suite 100                                            Unliquidated
          Atlanta, GA 30344                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Deposition Vendor Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Evergreen Manor II Homeowners Assn                                    Contingent
          918 W Garvey Avenue
                                                                                Unliquidated
          Monterey Park, CA 91754
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Malpractice claim for return of fees paid
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Gary Topolewski                                                       Contingent
          9409 Lurline Ave
                                                                                Unliquidated
          Chattsworth, CA 91311
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                                    Malpractice claim covered by insurance and
                                                                             Basis for the claim:
                                                                             crossclaim for fees owed
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $540.45
          Go Daddy                                                              Contingent
          Attn: General Counsel                                                 Unliquidated
          14455 N. Hayden Rd., #219                                             Disputed
          Scottsdale, AZ 85260
                                                                             Basis for the claim:    Internet domain and web hosting service
          Date(s) debt was incurred November 2021
          Last 4 digits of account number 6673                               Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $820.00
          GV IP Law Firm                                                        Contingent
          2316 Jangkyo-building 363                                             Unliquidated
          Samil-daero Jung-gu                                                   Disputed
          Seoul 04541 KOREA
                                                                             Basis for the claim:    IP services provided by outside counsel (foreign
          Date(s) debt was incurred
                                                                             filings)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Hot Shot Hk, LLC                                                      Contingent
          c/o Howard M. Fields, Esq.
                                                                                Unliquidated
          21900 Burbank Blvd., Ste. 300
          Woodland Hills, CA 91367                                              Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Legal Malpractice
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $120,000.00
          John Keefe                                                            Contingent
          c/o Howard King                                                       Unliquidated
          1900 Avenue of the Stars 25th Fl                                      Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:    Loan Payback
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Jonathan Betuel                                                       Contingent
          8136 Bilowvista Drive
                                                                                Unliquidated
          Playa Del Rey, CA 90293
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Malpractice claim covered by insurance
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Ketab Corporation                                                     Contingent
          12701 Van Nuys Blvd., Unit H
                                                                                Unliquidated
          Pacoima 91331
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Legal Malpractice
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Kjar McKenna & Stockalper LLP                                         Contingent
          841 Apollo Street Suite 100                                           Unliquidated
          El Segundo, CA 90245                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Malpractice deductible owed to insurance defense
          Last 4 digits of account number                                    counsel
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,371.01
          Kuroda Law Offices                                                    Contingent
          2nd Akiyama Bldg 5F 3-6-2                                             Unliquidated
          Toranomon Minatoku Tokyo                                              Disputed
          105-0001 JAPAN
                                                                             Basis for the claim:    IP services by outside counsel (foreign filings)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,100.00
          L Tech Network Services Inc                                           Contingent
          9926 Pioneer Blvd #101                                                Unliquidated
          Santa Fe Springs, CA 90670
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contractor claim for TI at prior office space
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          Laddr Agency                                                          Contingent
          260 Newport Center Dr 1st Fl                                          Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Website Design Vendor Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,836.00
          Legal Inc                                                             Contingent
          10601 Clarence Drive #250                                             Unliquidated
          Frisco, TX 75033                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Corporate Filing Vendor Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,380.00
          Litigation Services                                                   Contingent
          3960 Howard Hughes Pkwy Suite 700                                     Unliquidated
          Las Vegas, NV 89169
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation Services provided outside litigation
          Last 4 digits of account number
                                                                             support
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,900.91
          Marijuana Media                                                       Contingent
          11355 W Olympic Blvd Ste 300                                          Unliquidated
          Los Angeles, CA 90064-1632                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,900.12
          Marks & Clerk LLP                                                     Contingent
          62-68 Hills Road                                                      Unliquidated
          Cambridge CB2 1LA                                                     Disputed
          UK
                                                                                             Intellectual Property services provided by outside
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             counsel (foreign filings)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,250.00
          Mibura Inc                                                            Contingent
          3520 S Bentley Ave                                                    Unliquidated
          Los Angeles, CA 90034                                                 Disputed
          Date(s) debt was incurred
                                                                                            Settlement ($54,000) for Vendor Balance owed in the
                                                                             Basis for the claim:
          Last 4 digits of account number                                    amount of $57,681.26
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,500.00
          Michael Hevesy                                                        Contingent
          19401 Parthenia St Apt 4006                                           Unliquidated
          Northridge, CA 91324                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorney portrait photography
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,278.01
          Minden Gross LLP                                                      Contingent
          145 King Street West Suite 2200                                       Unliquidated
          Toronto ON M5H 4G2                                                    Disputed
          CANADA
                                                                                             Intellectual Property services provided by outside
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             counsel (foreign filings)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $310.88
          NDS                                                                   Contingent
          1560 N. Missile Way                                                   Unliquidated
          Anaheim, CA 92801                                                     Disputed
          Date(s) debt was incurred  October 2021                            Basis for the claim:    Delivery service
          Last 4 digits of account number 0002
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,471.39
          Network Deposition Services                                           Contingent
          1800 Century Park East Ste 150                                        Unliquidated
          Los Angeles, CA 90067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Deposition Vendor Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NEWITY                                                                Contingent
          1123 W Washington Blvd 3                                              Unliquidated
          Chicago, IL 60607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PPP Loan - forgiven prepetition
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          Nicolette Hachem-Sawaya                                               Contingent
          1250 Valrose Ct                                                       Unliquidated
          Los Angeles, CA 90041-3382                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages and benefits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,650,000.00
          NREA-TRC 700 LLC                                                      Contingent
          700 S Flower Street Suite 450
                                                                                Unliquidated
          Los Angeles, CA 90017
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Prior landlord claim for breach of lease
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NREA-TRC 700 LLC                                                      Contingent
          Attn: Michelle Morales                                                Unliquidated
          700 S Flower Ste 450                                                  Disputed
          Los Angeles, CA 90017
                                                                             Basis for the claim:    Storage space lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          OMNI-INVICTUS dba Array                                               Contingent
          624 S Austin Avenue Ste 230                                           Unliquidated
          Georgetown, TX 78626-5758                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation Vendor Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $900.00
          OZ Moving & Storage                                                   Contingent
          5900 South Eastern Ave., Ste. 149                                     Unliquidated
          Commerce, CA 90040                                                    Disputed
          Date(s) debt was incurred 12/2/2021
                                                                             Basis for the claim:    Storage
          Last 4 digits of account number 7628
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pacific Premier Bank                                                  Contingent
          17901 Von Karman Avenue, Ste. 1200                                    Unliquidated
          Irvine, CA 92614
                                                                                Disputed
          Date(s) debt was incurred 4/22/2020
                                                                             Basis for the claim:    PPP Loan - forgiven prepetition
          Last 4 digits of account number 9121
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,935.00
          Patent Maniac                                                         Contingent
          801 802 803 9th Floor                                                 Unliquidated
          West End Mall Office Complex                                          Disputed
          Janak Puri, New Delhi -110058 INDIA
                                                                             Basis for the claim:    IP services provided by outside counsel
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,432.00
          Paul Menes                                                            Contingent
          4223 Glencoe Ave Ste A220                                             Unliquidated
          Marina del Rey, CA                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Small claims judgment by prior employee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,000.00
          RELX Inc DBA LexisNexis                                               Contingent
          28544 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Settlement ($12,000) for Vendor Balance owed in the
          Last 4 digits of account number                                    amount o
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          RSUI                                                                  Contingent
          Landmark American Insurance Company                                   Unliquidated
          c/o RSUI Group Inc
                                                                                Disputed
          945 E Paces Ferry Rd Ste 1800
          Atlanta, GA 30326-1160                                             Basis for the claim:    Malpractice Deductible-Open Cases (Hellings &
          Date(s) debt was incurred
                                                                             Betuel)
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 12 of 16
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 Debtor       Adli Law Group P.C.                                                                     Case number (if known)            2:21-bk-18572-BB
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,000.00
          Ryan Mitchell                                                         Contingent
          915 N La Brea                                                         Unliquidated
          West Hollywood, CA 90038-2360                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages and benefits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,948.00
          Skypanels Inc Ali Salomi Chadwick T                                   Contingent
          9019 Oso Ave Suite E
                                                                                Unliquidated
          Chatsworth, CA 91311
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Claim by prior client for return of fees paid
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $533.93
          Spectrum Internet                                                     Contingent
          12400 Wilshire Blvd., Ste. 1460 OFC                                   Unliquidated
          Los Angeles, CA 90025-1019                                            Disputed
          Date(s) debt was incurred October 2021
                                                                             Basis for the claim:    Internet service
          Last 4 digits of account number 2199
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $700,000.00
          STAPLES CENTER                                                        Contingent
          LA Arena Funding LLC
                                                                                Unliquidated
          1111 S Figueroa St Ste 3100
          Los Angeles, CA 90015                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Staples Center Suite
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Steven and Theresa Hellings
          Attn Robin Offner                                                     Contingent
          c/o Parker & Zubkoff                                                  Unliquidated
          110 West A Street Suite 615                                           Disputed
          San Diego, CA 92101
                                                                             Basis for the claim:    Malpractice claim insurance is covering
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $109,116.04
          Thomson Reuters                                                       Contingent
          PO Box 6292                                                           Unliquidated
          Carol Stream, IL 60197-6292
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contractual services offered to the firm
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,253.98
          TIB NA The Independent BankersBank                                    Contingent
          1550 N Brown Road 150                                                 Unliquidated
          Lawrenceville, GA 30043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    4 Credit Cards w/ Revolving $50,000.00 control credit
          Last 4 digits of account number                                    line
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 13 of 16
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 Debtor       Adli Law Group P.C.                                                                     Case number (if known)            2:21-bk-18572-BB
              Name

 3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $0.00
           Tony Sarkissian Dancool HVAC Supply                                  Contingent
           833 Americana Way Unit 501
                                                                                Unliquidated
           Glendale, CA 91210
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Claim by prior client for return of atty fees re
                                                                             arbitration
                                                                             Is the claim subject to offset?     No       Yes

 3.65      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,447.94
           TPX Communications                                                   Contingent
           3300 N. Cimarron Road                                                Unliquidated
           Las Vegas, NV 89129                                                  Disputed
           Date(s) debt was incurred October 2021
                                                                             Basis for the claim:    Telephone service
           Last 4 digits of account number 1241
                                                                             Is the claim subject to offset?     No       Yes

 3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $100.00
           Unisearch Inc                                                        Contingent
           PO Box 11940                                                         Unliquidated
           Olympia, WA 98508-1940                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Corporate Filing Vendor Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            Unknown
           Vaporous Technologies, LLC                                           Contingent
           2170 W. 190th St.
                                                                                Unliquidated
           Torrance, CA 90504
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Collection
                                                                             Is the claim subject to offset?     No       Yes

 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            Unknown
           Virtual Sports Entertainment, LLC                                    Contingent
           170 S. Lincoln , Ste. 100
                                                                                Unliquidated
           Spokane, WA 99201
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Collection
                                                                             Is the claim subject to offset?     No       Yes

 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $0.00
           Water Source Solutions                                               Contingent
           14141 Covello St., Ste. 1D                                           Unliquidated
           Van Nuys, CA 91405                                                   Disputed
           Date(s) debt was incurred Q3 2021
                                                                             Basis for the claim:    Water system service
           Last 4 digits of account number 9191
                                                                             Is the claim subject to offset?     No       Yes

 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            Unknown
           WBS Inc Robert Blotzer                                               Contingent
           28026 Forrest Court
                                                                                Unliquidated
           Castaic, CA 91384
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Malpractice claim covered by insurance
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

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              Name


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1      CVFI-444 S Flower LP
          c/o Nancy S Fong Esq                                                                    Line   3.16
          865 S Figueroa St Suite 28
                                                                                                         Not listed. Explain
          Los Angeles, CA 90017-2543

 4.2      De Lage Landen Financial Services
          c/o Fred August Nehr, Esq.                                                              Line   3.20
          213 West Miner Street
                                                                                                         Not listed. Explain
          West Chester, PA 19382

 4.3      Evergreen Manor II Homeowners Assn.
          c/o Jenny Zhao, Esq.                                                                    Line   3.25
          4424 Santa Anita Ave Suite 201
                                                                                                         Not listed. Explain
          El Monte, CA 91731

 4.4      Gary Topolewski
          Attn: David Parker, Esq.                                                                Line   3.26
          c/o Parker Mills LLP
                                                                                                         Not listed. Explain
          800 W 6th Street Suite 500
          Los Angeles, CA 90017

 4.5      Jonathan Betuel
          c/o Bernard Jasper, Esq.                                                                Line   3.31
          1440 N Harbor Blvd Suite 900
                                                                                                         Not listed. Explain
          Fullerton, CA 92835

 4.6      L Tech Network Services Inc
          c/o Gardener Riechmann & Chow                                                           Line   3.35
          438 E Katella Ave Suite 202
                                                                                                         Not listed. Explain
          Orange, CA 92867

 4.7      Litigation Services
          c/o Law Offices of Mike Beede PLLC                                                      Line   3.38
          P.O. Box 530337
                                                                                                         Not listed. Explain
          Henderson, NV 89053

 4.8      NREA-TRC 700 LLC
          Attn: Todd Kindberg                                                                     Line   3.48
          c/o National RE Advisors LLC
                                                                                                         Not listed. Explain
          900 Seventh St NW Ste 600
          Washington, DC 20001

 4.9      NREA-TRC 700 LLC
          Attn: James R. Difede, Esq.                                                             Line   3.48
          c/o Difede Ramsdell Bender PLLC
                                                                                                         Not listed. Explain
          900 Seventh Street NW Ste 810
          Washington, DC 20001

 4.10     NREA-TRC 700 LLC
          Attn Todd Kindberg                                                                      Line   3.49
          c/o National RE Advisors LLC
                                                                                                         Not listed. Explain
          900 Seventh St NW Ste 600
          Washington, DC 20001




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 16
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           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.11      NREA-TRC 700 LLC
           Attn James R Difede Esq                                                               Line     3.49
           c/o Difede Ramsdell Bender PLLC
                                                                                                        Not listed. Explain
           900 Seventh St NW Ste 810
           Washington, DC 20001

 4.12      RELX Inc DBA LexisNexis
           c/o Alan L Brodkin                                                                    Line     3.55
           15500 B Rockfield Blvd
                                                                                                        Not listed. Explain
           Irvine, CA 92618

 4.13      Skypanels Inc Ali Salomi Chadwick T
           Attn Ashkan Ashour                                                                    Line     3.58
           c/o Ashour Yehoshua APC
                                                                                                        Not listed. Explain
           18425 Burbank Blvd Suite 712
           Tarzana, CA 91356

 4.14      Thomson Reuters
           c/o Elliot Silver                                                                     Line     3.62
           382 Main St
                                                                                                        Not listed. Explain
           Salem, NH 03079

 4.15      WBS Inc Robert Blotzer
           c/o Karish & Bjorgum                                                                  Line     3.70
           119 E Union Street Suite B
                                                                                                        Not listed. Explain
           Pasadena, CA 91103

 4.16      WBS Inc. Robert Blotzer
           c/o Friedman, Enriquez & Carlson                                                      Line     3.70
           401 Wilshire Blvd 12th Floor
                                                                                                        Not listed. Explain
           Santa Monica, CA 90401


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                     32,037.50
 5b. Total claims from Part 2                                                                       5b.    +     $                  5,609,570.64

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    5,641,608.14




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 16 of 16
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 Fill in this information to identify the case:

 Debtor name         Adli Law Group P.C.

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 Case number (if known)         2:21-bk-18572-BB
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Equipment lease for
             lease is for and the nature of               printers
             the debtor's interest

                  State the term remaining
                                                                                      Aztec Leasing, Inc.
             List the contract number of any                                          PO Box 98813
                   government contract                                                Las Vegas, NV 89193-8813


 2.2.        State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                      Douglas Emmett 1995 LLC
                  State the term remaining                                            Attn Andrew B Goodman
                                                                                      c/o Douglas Emmett Mgmt Inc
             List the contract number of any                                          808 Wilshire Blvd 2nd Fl
                   government contract                                                Santa Monica, CA 90401


 2.3.        State what the contract or                   Contract for Internet
             lease is for and the nature of               and/or Phones
             the debtor's interest

                  State the term remaining
                                                                                      Spectrum Internet
             List the contract number of any                                          12400 Wilshire Blvd., Ste. 1460 OFC
                   government contract                                                Los Angeles, CA 90025-1019


 2.4.        State what the contract or                   Staples Center suite for
             lease is for and the nature of               marketing and client
             the debtor's interest                        relations purpose

                  State the term remaining                                            Staples Center
                                                                                      LA Arena Funding LLC
             List the contract number of any                                          1111 S. Figueroa St Ste 3100
                   government contract                                                Los Angeles, CA 90015




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Adli Law Group P.C.                                                                     Case number (if known)   2:21-bk-18572-BB
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.5.        State what the contract or                   Telephone service
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                          TPX Communications
             List the contract number of any                                              P.O. Box 36430
                   government contract                                                    Las Vegas, NV 89133-6430




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Adli Law Group P.C.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-18572-BB
                                                                                                                                Check if this is an
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Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Adli Law Group P.C.

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                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $2,524,168.39
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $3,527,742.67
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $8,076,460.20
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Adli Law Group P.C.                                                                       Case number (if known) 2:21-bk-18572-BB



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               TO BE PROVIDED                                                                                      $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Attachment 2 attached hereto.                                                                   $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Creditors Adjustment Bureau,                     Contract                   Los Angeles Superior Court                      Pending
               Inc. v. Adli Law Group, PC                                                  Stanley Mosk Courthouse                         On appeal
               21STCV16535                                                                 111 N. Hill St.
                                                                                                                                           Concluded
                                                                                           Los Angeles, CA 90012

       7.2.    Dariush G. Adli and Adli Law                     Contract                   Los Angeles Superior Court                      Pending
               Group v. Evergreen Manor II                                                 Stanley Mosk Courthouse                         On appeal
               Homeowner's Association                                                     111 N. Hill St.
                                                                                                                                           Concluded
               20STCV48086                                                                 Los Angeles, CA 90012




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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                                                                            Motion: 159
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     2:21-bk-18572-BB Doc
                       Doc125
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                ATTACHMENT 2
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
                    Division, Case No. 2:21-bk-18572-BB; Statement of Financial Affairs
                                             Motion: 160
                                                                                            Attachment 2
                                                                                     Statement of Financial Affairs
                                             4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider


              99002   $   1,000.00    20-Nov-20    DGA   Deposits into personal business account for business expenses; XXX6008 WFB
                168   $   1,000.00     8-Feb-21    DGA   Deposits into personal business account for business expenses; XXX6008 WFB
                172   $   1,000.00    19-Feb-21    DGA   Deposits into personal business account for business expenses; XXX6008 WFB
                                                                                                                                                                                           Case




                175   $   1,500.00     8-Mar-21    DGA   Deposits into personal business account for business expenses; XXX6008 WFB
                      $   4,500.00

                126   $ 3,932.56     24-Aug-20 DGA       Health insurance payments                   Blue Shield of California
                112   $ 3,932.56      19-Sep-20 DGA      Health insurance payments                   Blue Shield of California
                123   $ 3,932.56       2-Nov-20 DGA      Health insurance payments                   Blue Shield of California
                139   $ 3,932.56     16-Dec-20 DGA       Health insurance payments                   Blue Shield of California
                147   $ 3,932.56     29-Dec-20 DGA       Health insurance payments                   Blue Shield of California
                                                                                                                                                                                           Case2:21-bk-18572-BB




                171   $ 2,690.59       5-Feb-21 DGA      Health insurance payments                   Blue Shield of California
                174   $ 2,690.59       1-Mar-21 DGA      Health insurance payments                   Blue Shield of California
                      $ 25,043.98 (within one year)
                                                                                                                                                                                                2:21-bk-18572-BB Doc
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                      $   2,975.63    15-Nov-20          Car payments                                Mercedes Benz Financial Services
                                                                                                                                                                                                                  Doc125




                      $   2,975.63    12-Dec-20          Car payments                                Mercedes Benz Financial Services
                      $   2,975.63      5-Jan-21         Car payments                                Mercedes Benz Financial Services
                      $   2,975.63    10-Feb-21          Car payments                                Mercedes Benz Financial Services
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                      $   2,975.63    11-Mar-21          Car payments                                Mercedes Benz Financial Services
                                                         Car payments                                Mercedes Benz Financial Services
                      $   1,258.07    10-Nov-20          Car payments                                Mercedes Benz Financial Services
                      $   1,258.07      1-Dec-20         Car payments                                Mercedes Benz Financial Services




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                      $   1,258.07       1-Jan-21        Car payments                                Mercedes Benz Financial Services
                                                                                                                                                                                                                          Filed12/09/21




                      $   1,258.07     20-Feb-21         Car payments                                Mercedes Benz Financial Services
                                                                                                                                                                                                                                   Page163




                      $   1,258.07      3-Mar-21         Car payments                                Mercedes Benz Financial Services
                      $   6,290.35 (within one year)
                                                                                                                                                                                                                                              59
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                      $     620.00    10-Nov-20          Car payments                                BMW of North America
                                                                                                                                                                                                                                        43 of 186




                      $     620.00      1-Dec-20         Car payments                                BMW of North America
                      $     620.00     10-Jan-21         Car payments                                BMW of North America
                      $     620.00      1-Feb-21         Car payments                                BMW of North America
                                                                                                                                                                                                                                         Entered12/09/21




                      $     620.00     5-Mar-21          Car payments
                      $   3,100.00 (within one year)

                      $   5,000.00      3-Apr-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $   5,000.00      4-Apr-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                                                                                  01/19/2213:06:57




                      $   1,000.00     16-Apr-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $   1,500.00     23-Apr-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $   2,500.00    14-May-21          $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
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                      $   2,000.00    21-May-21          $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.


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                                                                                            Attachment 2
                                                                                     Statement of Financial Affairs
                                             4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                      $ 2,000.00       1-Jun-21          $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $ 4,000.00      11-Jun-21          $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $ 4,000.00      18-Jun-21          $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                           Case




                      $ 1,000.00      29-Jun-21          $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $ 5,000.00        2-Jul-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $ 6,000.00       13-Jul-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $ 39,000.00 (within one year)
                                                                                                                                                                       --

              9901    $    8,000.00    10-Aug-20   DGA   $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
              9902    $   10,000.00    17-Aug-20   DGA   $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
               127    $   20,000.00    10-Sep-20   DGA   $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                           Case2:21-bk-18572-BB




               111    $   25,000.00    21-Sep-20   DGA   $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
               113    $   10,000.00    25-Sep-20   DGA   $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
               120    $   15,000.00     5-Oct-20   DGA   $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                                2:21-bk-18572-BB Doc
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               114    $   10,000.00    13-Oct-20   DGA   $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $   98,000.00
                                                                                                                                                                                                                  Doc125




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                121   $    5,000.00      2-Nov-20 DGA    $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                124   $   10,000.00      9-Nov-20 DGA    $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
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                125   $    7,000.00    13-Nov-20 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                138   $    2,000.00    16-Nov-20 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
              99001   $    5,000.00    20-Nov-20 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                154   $   10,000.00    27-Nov-20 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.




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                140   $    3,100.00    16-Dec-20 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                                                          Filed12/09/21




                155   $    3,000.00    21-Dec-20 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                                                                   Page164




              99003   $    4,000.00    22-Dec-20 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                       -




                      $   49,100.00 (within one year)
               148    $    4,000.00       4-Jan-21 DGA   $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                                                                              59
                                                                                                                                                                                                                               01/19/22 Entered




               161    $    3,000.00     11-Jan-21 DGA    $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                                                                        44 of 186




               162    $    4,000.00     11-Jan-21 DGA    $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
               163    $    5,000.00     15-Jan-21 DGA    $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
               149    $    4,500.00     29-Jan-21 DGA    $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                                                                         Entered12/09/21




               167    $    3,000.00      8-Feb-21 DGA    $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
               169    $    5,000.00    16-Feb-21 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
               173    $   25,000.00    22-Feb-21 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
               176    $   12,500.00    15-Mar-21 DGA     $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $   20,000.00    19-Mar-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                                                                                  01/19/2213:06:57




                      $    2,690.59    29-Mar-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $   25,000.00    31-Mar-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                      $   10,000.00      9-Apr-21        $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
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                      $    9,000.00     16-Apr-21        $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.


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                                                                                             Attachment 2
                                                                                      Statement of Financial Affairs
                                              4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                     $     5,000.00     23-Apr-21       $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $    25,000.00     30-Apr-21       $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $    20,000.00     7-May-21        $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                           Case




                     $    20,000.00   14-May-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $    18,000.00   21-May-21         $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $     5,000.00      4-Jun-21       $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $    25,000.00     18-Jun-21       $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $    16,300.00     25-Jun-21       $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $    12,000.00     30-Jun-21       $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $     5,000.00       2-Jul-21      $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $    12,000.00      13-Jul-21      $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                                                                                                                                                                                           Case2:21-bk-18572-BB




                     $    16,255.00      16-Jul-21      $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $     1,750.00      22-Jul-21      $10K allocated   money for personal business expense, including cars, health insurance, gas, business meals, dry cleaning, etc.
                     $   313,995.59 (within one year)
                                                                                                                                                                                                2:21-bk-18572-BB Doc
                                                                                                                                                                                                                 Main




                     $   402,095.59
                                                                                                                                                                                                                  Doc125




               276  $ 9,000.00        30-Jul-21         $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
               278 5K             Aug. 9, 21            $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
               279 7K             Aug. 17, 21           $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
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               282  5K                4-Aug-21          $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
               284  3K                3-Sep-21          $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
               287 3.5K               9/3/2021          $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
               288 3K               9/10/2021           $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.




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              1003          2,500   9/13/2021           $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
                                                                                                                                                                                                                          Filed12/09/21




               290 3K               9/17/2021           $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
                                                                                                                                                                                                                                   Page165




               294 5K               9/30/2021           $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
               301 3.339.20        10/12/2021           $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
               304 10K             10/20/2021           $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
                                                                                                                                                                                                                                              59
                                                                                                                                                                                                                               01/19/22 Entered




               311          3,200 10/27/2021            $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
                                                                                                                                                                                                                                        45 of 186




                            4,447 10/27/2021            $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
               313          4,500 10/29/2021            $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
                                                        $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
                                                                                                                                                                                                                                         Entered12/09/21




              314 20K                  11/5/2021        $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
              315 10K                  11/8/2021        $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
              318           4895.31    11/9/2021        $10K allocated   a money for personal business expense, including cars, health insurance gas, business mills, dry cleaning, etc.
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 Debtor       Adli Law Group P.C.                                                                       Case number (if known) 2:21-bk-18572-BB



               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.3.    Ketab Corp. v. Adli Law                          Contract                   Los Angeles Superior Court             Pending
               Group                                                                       Stanley Mosk Courthouse                On appeal
               19STCV09642                                                                 111 N. Hill St.
                                                                                                                                  Concluded
                                                                                           Los Angeles, CA 90012

       7.4.    L Tech Network Services, Inc.                    Collection                 Los Angeles Superior Court             Pending
               v. Adli Law Group                                                           Stanley Mosk Courthouse                On appeal
               21STCV17273                                                                 111 N. Hill St.
                                                                                                                                  Concluded
                                                                                           Los Angeles, CA 90012

       7.5.    Paul Menes vs. Adli Law                          Small Claims               Santa Monica Courthouse                Pending
               Group, PC                                                                   1725 Main Street                       On appeal
               21SMSC00215                                                                 Santa Monica, CA 90401
                                                                                                                                  Concluded


       7.6.    NREA-TRC 700 LLC v. Adli                         Contract                   Los Angeles Superior Court             Pending
               Law Group                                                                   Stanley Mosk Courthouse                On appeal
               21STCV06220                                                                 111 N. Hill St.
                                                                                                                                  Concluded
                                                                                           Los Angeles, CA 90012

       7.7.    Dancool HVAC Supply, Inc. v.                     Fee Arbitration            Beverly Hills Bar                      Pending
               Dariush Adli, Esq.                                                          Association                            On appeal
               2629-21                                                                     9420 Wilshire Blvd., 2nd
                                                                                                                                  Concluded
                                                                                           Floor
                                                                                           Beverly Hills, CA 90212

       7.8.    Adli Law Group, PC v.                            Contract                   Los Angeles Superior Court             Pending
               Skypanels, Inc.                                                             Stanley Mosk Courthouse                On appeal
               20STCV43191                                                                 111 N. Hill St.
                                                                                                                                  Concluded
                                                                                           Los Angeles, CA 90012

       7.9.    CVFI-444 S. Flower LP v. Adli                    Contract                   Los Angeles Superior Court             Pending
               Law Group                                                                   Stanley Mosk Courthouse                On appeal
               20STCV01922                                                                 111 N. Hill St.
                                                                                                                                  Concluded
                                                                                           Los Angeles, CA 90012

       7.10 WBS, Inc., ET AL. vs Adli Law                       Legal Malpractice          Los Angeles Superior Court             Pending
       .    Group, Drew Sherman                                                            Stanley Mosk Courthouse                On appeal
               20STCV34381                                                                 111 N. Hill St.
                                                                                                                                  Concluded
                                                                                           Los Angeles, CA 90012

       7.11 Jonathan Betuel v. Dariush                          Legal Malpractice          Los Angeles Superior Court             Pending
       .    Adli, Adli Law Group, Drew                                                     Stanley Mosk Courthouse                On appeal
               Sherman                                                                     111 N. Hill St.
                                                                                                                                  Concluded
               21STCV02730                                                                 Los Angeles, CA 90012

       7.12 Hot Shot Hk, LLC v. Adli Law                        Legal Malpractice          Los Angeles Superior Court             Pending
       .    Group, Dariush Adli, Drew                                                      Stanley Mosk Courthouse                On appeal
               Sherman                                                                     111 N. Hill St.
                                                                                                                                  Concluded
               BC602312                                                                    Los Angeles, CA 90012

       7.13 Steven Hellings and Theresa                         Legal Malpractice          San Diego Superior Court               Pending
       .    Hellings v. Andrea Ruth Bird,                                                  1100 Union St.                         On appeal
               Jonathan Landis, Adli Law                                                   San Diego, CA 92101
                                                                                                                                  Concluded
               Group, et al.
               37-2020-00044516-CU-BT-CTL




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy

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 Debtor      Adli Law Group P.C.                                                                        Case number (if known) 2:21-bk-18572-BB



               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.14 Gary Topolewski v. Adli Law                         Legal Malpractice          Los Angeles Superior Court             Pending
       .    Group, Dariush Adli, Joshua                                                    Stanley Mosk Courthouse                On appeal
               Eichenstein, Drew Sherman                                                   111 N. Hill St.
                                                                                                                                  Concluded
               20STCV32929                                                                 Los Angeles, CA 90012

       7.15 William Redfern, et al. vs                          Legal Malpractice          Los Angeles Superior Court             Pending
       .    Dariush G. Adli, et al.                                                        Stanley Mosk Courthouse                On appeal
               20STCV29222                                                                 111 N. Hill St.
                                                                                                                                  Concluded
                                                                                           Los Angeles, CA 90012

       7.16 Adli Law Group, P.C., a                             Collection                 Los Angeles Superior Court             Pending
       .    California Professional                                                        Stanley Mosk Courthouse                On appeal
               Corporation vs Vaporous                                                     111 N. Hill St.
                                                                                                                                  Concluded
               Technologies, LLC, a                                                        Los Angeles, CA 90012
               Pennsylvania Limited Liability
               Company, et al.
               20STCV27347

       7.17 CFVI-444 S Flower, LP, a                            Contract                   Los Angeles Superior Court             Pending
       .    Delaware Limited Partnership                                                   Stanley Mosk Courthouse                On appeal
               Vs Adli Law Group P.C., a                                                   111 N. Hill St.
                                                                                                                                  Concluded
               California Corporation                                                      Los Angeles, CA 90012
               20STCV02362

       7.18 Adli Law Group, P.C., a                             Collection                 Norwalk Courthouse                     Pending
       .    California Professional                                                        12720 Norwalk Blvd.                    On appeal
               Corporation vs. Luis C.                                                     Norwalk, CA 90650
                                                                                                                                  Concluded
               Carreon, an Individual, et al.
               20NWLC25119

       7.19 Adli Law Group, P.C., A                             Collection                 Los Angeles Superior Court             Pending
       .    California Professional                                                        Stanley Mosk Courthouse                On appeal
               Corporation vs. Virtual Sports                                              111 N. Hill St.
                                                                                                                                  Concluded
               Entertainment, LLC, a                                                       Los Angeles, CA 90012
               Washington Limited Liability
               Company, et al.
               20STCV35351

       7.20 Adli Law Group, P.C., a                             Collection                 Norwalk Courthouse                     Pending
       .    California Professional                                                        12720 Norwalk Blvd.                    On appeal
               Corporation vs. ASAP Truck                                                  Norwalk, CA 90650
                                                                                                                                  Concluded
               and Trailer Repair, Inc., a
               California Corporation, et al.
               20NWLC18024

       7.21 Litigation Services & Tech v.                       Contract                   Nevada City Courthouse                 Pending
       .    Adli Law Group                                                                 201 Church Street                      On appeal
               A-21-837042-C                                                               Nevada City, CA 95959
                                                                                                                                  Concluded

       7.22 Drew Sherman, an Individual                         Claim                      State of California                    Pending
       .    vs. Adli Law Group, P.C., a                                                    Department of Industrial               On appeal
               California Corporation;                                                     Relations
                                                                                                                                  Concluded
               Dariush Ghaffar Adli, an                                                    Labor Commissioner's
               Individual                                                                  Office
               WC-CM-776849                                                                320 W. 4th St., Ste. 450
                                                                                           Los Angeles, CA 90013


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

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 Debtor        Adli Law Group P.C.                                                                         Case number (if known) 2:21-bk-18572-BB



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss        Value of property
       how the loss occurred                                                                                                                               lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).
       Other casualty: Cyberattack that                         $50,000                                                  October 2019                $600,000.00
       caused debtor's server to become
       unavailable. It took months to
       recover most of the files, but not
       all of the files were recovered.


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Hahn & Hahn LLP
                301 E. Colorado Blvd., 9th
                Floor
                Pasadena, CA 91101-1977                              Attorney Fees                                             10/26/2021             $30,000.00

                Email or website address
                drallis@hahnlawyers.com

                Who made the payment, if not debtor?




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 Debtor        Adli Law Group P.C.                                                                       Case number (if known) 2:21-bk-18572-BB



                Who was paid or who received                         If not money, describe any property transferred           Dates                Total amount or
                the transfer?                                                                                                                                value
                Address
       11.2.    Hahn & Hahn LLP
                301 E. Colorado Blvd., 9th
                Floor
                Pasadena, CA 91101-1977                              Attorney Fees                                             11/3/2021                $20,000.00

                Email or website address
                drallis@hahnlawyers.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer              Total amount or
               Address                                          payments received or debts paid in exchange              was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    444 S. Flower St., 31st Floor                                                                              7/1/2016 - 12/31/2019
                Los Angeles, CA 90071

       14.2.    700 South Flower Street, Ste. 1220                                                                         1/9/2020 - 2/28/2021 (never occupied
                Los Angeles, CA 90017                                                                                      space)

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services               If debtor provides meals
                                                                the debtor provides                                                        and housing, number of
                                                                                                                                           patients in debtor’s care
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 Debtor        Adli Law Group P.C.                                                                      Case number (if known) 2:21-bk-18572-BB




 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Client address, social security number, passport, driver's license,
                  credit card
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    401K - Coadvantage Corporation Retirement Savings Plan                                     EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was            Last balance
               Address                                          account number            instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     Wells Fargo Bank                               XXXX-6008                    Checking                 July 22, 2021                   $1,426.73
                 1601 Wilshire Blvd., Ste. 100                                               Savings
                 Los Angeles, CA 90025                                                       Money Market
                                                                                             Brokerage
                                                                                            Other Business
                                                                                          account no.
                                                                                          XXX6008


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address



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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       OZ Moving & Storage                                           Dariush G. Adli                      All items stored from debtor's          No
       5900 South Eastern Ave., Ste. 149                             12400 Wilshire Blvd.,                700 S. Flower office.                   Yes
       Commerce, CA 90040                                            Suite 1460
                                                                     Los Angeles, CA 90025



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Adli Law Group P.C.                                           Wells Fargo Bank                     IOLTA Account - See                      $49,150.03
       12400 Wilshire Blvd., Ste. 1460                               11601 Wilshire Blvd., Ste.           Attachment 3 attached hereto.
       Los Angeles, CA 90025                                         100
                                                                     Los Angeles, CA 90025


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

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                ATTACHMENT 3
    In re Adli Law Group P.C., United States Bankruptcy Court, Central District of California, Los Angeles
                    Division, Case No. 2:21-bk-18572-BB; Statement of Financial Affairs
                                             Motion: 170
                                             Attachment 2
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                                      21. Property held for another
Trust Balance By Client
Trust Balance Summary Grouped by Client.

Date                                                                     Balance
   3025.201                                                            $3,380.00
   3080.201                                                            $2,129.20
   2409.201                                                            $1,329.68
   3038.201                                                            $2,075.66
   3095.201                                                            $3,026.70
   3124.201                                                            $8,904.20
   2985.202                                                            $2,569.20
   3102.201                                                            $3,242.30
   3110.201                                                              $730.65
   3107.201                                                              $391.35
   3118.201                                                            $1,800.00
   3054.201                                                            $4,675.55
   3086.201                                                              $537.85
   3120.201                                                            $3,586.00
   2516.201                                                            $3,476.06
   2449.201                                                               $14.00
   3104.201                                                              $146.45
   3056.201                                                            $1,119.54
   2150.201                                                              $294.00
   3034.202                                                            $1,739.34
   2262.201                                                            $2,221.32
   2550.201                                                                $1.20
   3061.201                                                            $1,040.85
   2671.201                                                              $414.87
   2460.201                                                               $23.20
   2492.Gen                                                               $33.40
   1837.201                                                                $4.46
   2988.201                                                              $243.00


                                                                      $49,150.03




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       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Said Parsi, CPA DABFA                                                                                                      2016 - present
                    Parsi & Company, CPA, DABFA
                    1801 Century Park East, Ste. 1132
                    Los Angeles, CA 90067-2313

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Said Parsi, CPA DABFA                                                                                                      2016 - present
                    Parsi & Company, CPA, DABFA
                    1801 Century Park East, Ste. 1132
                    Los Angeles, CA 90067-2313

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Said Parsi, CPA DABFA
                    Parsi & Company, CPA, DABFA
                    1801 Century Park East, Ste. 1132
                    Los Angeles, CA 90067-2313

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Pacific Premier Bank
                    17901 Von Karman Avenue, Ste. 1200
                    Irvine, CA 92614

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?



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            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Dariush G. Adli                                444 S. Flower Street, Ste. 3100                     Director, CEO, Secretary, and          100% interest
                                                      Los Angeles, CA 90071                               CFO



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates               Reason for
                                                                property                                                                     providing the value
       30.1 See response to Part 2,
       .    Paragraph 4


               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    401K - Coadvantage Corporation Retirement Savings Plan                                                     EIN:        XX-XXXXXXX




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      WARNING - Bankruptcy fraud is a serious crtne. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S .C. §§ 152, 1341, 1519, and 3571 .

      I have examined the information in this Statement of Financial Affairs end any attachments and have a reasonable belief that the information is true
      and correct.

      I dedare under penalty of perjury that the foregoing is true and correct

 ExeaJ1ed on          December 8, 2021

                                                                Dariush G. Adli
 Sig~ ~lf of the debtor                                         Printed name

 Position or relationship to debtor _Pn
                                     _ es
                                        _i_den
                                            __t _ _ _ _ _ _ _ _ _ _ __
Are additional pages to Sfate.nenf of Rnanclal Affairs for Non-Individuals Rllng for Bankruptcy (Official Fonn 207) attached?
•   No
•   Yes




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR (specify name of motion)
_______________________________________________________________________________________________
 Removal of Debtor in Possession (11 USC 1185); Alternatively Conversion or Dismissal of Bankruptcy Case
_______________________________________________________________________________________________
 (11 USC 1112(b)
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
01/19/2022 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/19/2022 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Judge Bluebond, US Bankruptcy Court, 255 E Temple St., Suite 1534, Los Angeles, CA 90012
Notice only to master mailing list per attached mailing service proof of service



                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 01/19/2022        Lewis R. Landau                                                   /s/ Lewis R. Landau
 Date                      Printed Name                                                     Signature


         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                  Motion:
                                                                 Page 3 175                             F 9013-1.1.HEARING.NOTICE
Case 2:21-bk-18572-BB            Doc 125 Filed 01/19/22 Entered 01/19/22 21:56:38                         Desc
                                 Main Document   Page 178 of 186


NEF Service List:

Richard D Buckley on behalf of Interested Party Courtesy NEF richard.buckley@arentfox.com
Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA) eryk.r.escobar@usdoj.gov
Nicholas W Gebelt on behalf of Creditor Richard Taylor ngebelt@goodbye2debt.com
Mark S Horoupian on behalf of Creditor Jonathan Betuel mhoroupian@sulmeyerlaw.com,
mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
Mark S Horoupian on behalf of Interested Party Courtesy NEF mhoroupian@sulmeyerlaw.com,
mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
Chi L Ip on behalf of Attorney Chi Ip filing@lawyer4property.com
Chi L Ip on behalf of Creditor Evergreen Manor II Homeowners Association, a nonprofit mutual benefit corporation
filing@lawyer4property.com
Chi L Ip on behalf of Interested Party Courtesy NEF filing@lawyer4property.com
Gregory Kent Jones (TR) gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com
Karen King on behalf of Interested Party Courtesy NEF kking@offnerking.com
Lewis R Landau on behalf of Creditor NREA-TRC 700, LLC Lew@Landaunet.com
Lewis R Landau on behalf of Interested Party Courtesy NEF Lew@Landaunet.com
Anna Novruzyan on behalf of Debtor Adli Law Group P.C. anna.novruzyan@rmkb.com, calendar-
lao@rmkb.com;agnes.tualla@rmkb.com;snthony.arriola@rmkb.com
Dean G Rallis, Jr on behalf of Debtor Adli Law Group P.C. drallis@hahnlawyers.com,
jevans@hahnlawyers.com;drallis@ecf.courtdrive.com
Kenneth N Russak on behalf of Debtor Adli Law Group P.C. krussak@knrlaw.com, krussak@russaklaw.com
Dave Shenian on behalf of Interested Party Courtesy NEF dshenian@clarkhill.com,
cfalls@clarkhill.com;daguilar@clarkhill.com;DJaenike@clarkhill.com;SRoberts@ClarkHill.com;jearle@clarkhill.c
om
Gerald N Sims on behalf of Interested Party Courtesy NEF jerrys@psdslaw.com, bonniec@psdslaw.com
Gerald N Sims on behalf of Interested Party Steven and Theresa Hellings jerrys@psdslaw.com,
bonniec@psdslaw.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Christopher K.S. Wong on behalf of Interested Party Courtesy NEF christopher.wong@arentfox.com,
yvonne.li@arentfox.com
Joshua del Castillo on behalf of Interested Party Courtesy NEF jdelcastillo@allenmatkins.com




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          Case 2:21-bk-18572-BB            Doc 125 Filed 01/19/22 Entered 01/19/22 21:56:38                      Desc
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 1

 2

 3

 4
                                      UNITED STATES BANKRUPTCY COURT
 5                                     CENTRAL DISTRICT OF CALIFORNIA
                                            LOS ANGELES DIVISION
 6    IN RE:                                                       CASE NO: 2:21-18572
       ADLI LAW GROUP, PC                                          DECLARATION OF MAILING
 7
                                                                   CERTIFICATE OF SERVICE
 8                                                                 Chapter: 11


 9

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11
     On 1/19/2022, I did cause a copy of the following documents, described below,
12   Notice of Hearing

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14

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     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
19
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
20
     I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
21   com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
     Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
22   fully set forth herein.
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
23   served electronically with the documents described herein per the ECF/PACER system.

24   DATED: 1/19/2022
                                                      /s/ /s/ Lewis R. Landau
25                                                    /s/ Lewis R. Landau 143391

26                                                    Lewis R Landau Attorney at Law
                                                      22287 MULHOLLAND HWY, STE 318
27                                                    Calabasas, CA 91302

28

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            Case 2:21-bk-18572-BB                Doc 125 Filed 01/19/22 Entered 01/19/22 21:56:38                                 Desc
1                                                Main Document   Page 180 of 186

2

3
                                       UNITED STATES BANKRUPTCY COURT
4                                       CENTRAL DISTRICT OF CALIFORNIA
                                             LOS ANGELES DIVISION
5
        IN RE:                                                           CASE NO: 2:21-18572
6
        ADLI LAW GROUP, PC                                               CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
7
                                                                         Chapter: 11
8

9

10

11   On 1/19/2022, a copy of the following documents, described below,

     Notice of Hearing
12

13

14

15

16

17

18

19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 1/19/2022
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                /s/ Lewis R. Landau
                                                                  Lewis R Landau Attorney at Law
28                                                                22287 MULHOLLAND HWY, STE 318
                                                                  Calabasas, CA 91302

                                                                Motion: 178
          Case 2:21-bk-18572-BB
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CASE INFO                                DEBTOR                                   EXCLUDE
1LABEL MATRIX FOR LOCAL NOTICING         ADLI LAW GROUP PC                        LOS ANGELES DIVISION
09732                                    12400 WILSHIRE BLVD SUITE 1460           255 EAST TEMPLE STREET
CASE 2-21-BK-18572-BB                    LOS ANGELES CA 90025-1060                LOS ANGELES CA 90012-3332
CENTRAL DISTRICT OF CALIFORNIA
LOS ANGELES
WED JAN 19 16-02-30 PST 2022




ACE ATTORNEY SERVICE INC                 ALI SALOMI                               ANABEL RODRIGUEZ
811 WILSHIRE BLVD SUITE 900              18425 BURBANK BLVD                       1036 BAY VIEW AVE
LOS ANGELES CA 90017-2637                STE 712                                  WILMINGTON CA 90744-3322
                                         TARZANA CA 91356-2859




ANI MARTIROSIAN                          APEX ATTORNEY SERVICES INCORPORATED      APEX LEGAL SERVICES
410 PALM DR                              611 WILSHIRE BLVD SUITE 700              611 WILSHIRE BLVD SUITE 700
GLENDALE CA 91202-2308                   LOS ANGELES CA 90017-2904                LOS ANGELES CA 90017-2904




APTUS COURT REPORTING LLC                AZTEC LEASING                            BANK OF THE WEST
600 W BROADWAY                           2215 VISTA RODEO DR                      915 WILSHIRE BLVD SUITE 100
STE 300                                  EL CAJON CA 92019-3565                   LOS ANGELES CA 90017-3436
SAN DIEGO CA 92101-3352




BEN JAKOVLJEVIC                          CAB ASSIGNEE OF EVANSTON INSURANCE       CPA GLOBAL
4720 W 137TH ST                          COMPANY                                  3133 W FRYE ROAD
HAWTHORNE CA 90250-6804                  P O BOX 5932                             CHANDLER AZ 85226-5155
                                         SHERMAN OAKS CA 91413-5932




CVFI 444 S FLOWER LP                     CVFI 444 S FLOWER LP                     CVFI 444 S FLOWER LP
444 SOUTH FLOWER ST SUITE 610            CO CORETRUST CAPITAL PARTNERS LLC        CO NANCY S FONG ESQ
LOS ANGELES CA 90071-2983                444 S FLOWER STREET SUITE 600            865 S FIGUEROA ST SUITE 28
                                         LOS ANGELES CA 90071-2907                LOS ANGELES CA 90017-2543




CASE ANYWHERE                            CHADWICK TYNER                           CLARIVATE ANALYTICS COMPUMARK INC
21860 BURBANK BLVD STE 125               18425 BURBANK BLVD                       PO BOX 3773
WOODLAND HILLS CA 91367-7447             STE 712                                  CAROL STREAM IL 60132-3773
                                         TARZANA CA 91356-2859




CLARK HILL PLC                           COGENT COMMUNICATIONS                    CREDITORS ADJUSTMENT BUREAU INC
1055 W 7TH ST 2400                       PO BOX 791087                            ATTN WENDY THOMAS
LOS ANGELES CA 90017-2550                BALTIMORE MD 21279-1087                  14226 VENTURA BLVD
                                                                                  SHERMAN OAKS CA 91423-2777




DARIUSH ADLI PHD ESQ                     DAVE SHENIAN                             DE LAGE LANDEN FINANCIAL
ADLI LAW GROUP PC                        1055 WEST SEVENTH ST STE 2400            ATTN LITIGATION RECOVERY
12400 WILSHIRE BLVD STE 1460             LOS ANGELES CA 90017-2550                1111 OLD EAGLE SCHOOL ROAD
LOS ANGELES CA 90025-1060                                                         WAYNE PA 19087-1453




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          Case 2:21-bk-18572-BB
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DE LAGE LANDEN FINANCIAL SERVICES        DOUGLAS EMMETT 1995 LLC                  DREW SHERMAN
CO FRED AUGUST NEHR                      ATTN ANDREW B GOODMAN                    23921 SYLVAN ST
213 WEST MINER STREET                    CO DOUGLAS EMMETT MGMT INC               WOODLAND HILLS CA 91367-1246
WEST CHESTER PA 19382-2924               12400 WILSHIRE BLVD 2ND FLOOR
                                         LOS ANGELES CA 90025-1042




EIDL US SMALL BUS ADMIN                  ESQUIRE DEPOSITION SOLUTIONS             EVERGREEN MANOR II HOMEOWNERS ASSN
SBA DISASTER LOAN SERVICE CENTER         1500 CENTRE PKWY SUITE 100               918 W GARVEY AVENUE
312 N SPRING ST 5TH FLOOR                ATLANTA GA 30344-8152                    MONTEREY PARK CA 91754-2602
LOS ANGELES CA 90012-4701




EVERGREEN MANOR II HOMEOWNERS ASSN       EVERGREEN MANOR II HOMEOWNERS            FRANCHISE TAX BOARD
CO JENNY ZHAO                            ASSOCIATION                              BANKRUPTCY SECTION MS A340
LAW OFFICE OF EDWARD CIP ASSOCIATES A    CO JENNY ZHAO LAW OFFICE OF EDWARD C     PO BOX 2952
4424 SANTA ANITA AVE SUITE 201           4424 SANTA ANITA AVE SUITE 201           SACRAMENTO CA 95812-2952
EL MONTE CA 91731-1684                   EL MONTE CA 91731-1684



INTERNATIONAL
GV IP LAW FIRM                           GARY TOPOLEWSKI                          GARY TOPOLEWSKI
2316 JANGKYOBUILDING 363                 9409 LURLINE AVE                         ATTN DAVID PARKER
SAMIL-DAERO JUNG-GU                      CHATTSWORTH CA 91311-6004                CO PARKER MILLS LLP
SEOUL 04541 KOREA                                                                 800 W 6TH STREET SUITE 500
                                                                                  LOS ANGELES CA 90017-2708




GIL HOPENSTAND                           GRANT A CARLSON                          INTERNAL REVENUE SERVICE
312 N SPRING STREET 5TH FL               FRIEDMAN ENRIQUEZ CARLSON LLP            CENTRALIZED INSOLVENCY OPERATIONS
LOS ANGELES CA 90012-4701                410 WILSHIRE BLVD 12TH FL                PO BOX 7346
                                         SANTA MONICA CA 90401-1410               PHILADELPHIA PA 19101-7346




INDEPENDENT BANKERSBANK                  JACOB MOJARRO                            JAQUELINE VIZCAINO
CO CREDITORS BANKRUPTCY SERVICE          717 LINDARAXA PARK N                     4368 LOWELL AVE
PO BOX 800849                            ALHAMBRA CA 91801-2734                   LOS ANGELES CA 90032-1211
DALLAS TX 75380-0849




JOHN KEEFE                               JOHN KEEFE                               JONATHAN BETUEL
MARK S HOROUPIAN CO SULMEYERKUPETZ       CO HOWARD KING                           8136 BILOWVISTA DRIVE
333 SOUTH GRAND AVE STE 3400             1900 AVENUE OF THE STARS 25TH FL         PLAYA DEL REY CA 90293-7806
LOS ANGELES CA 90071-1538                LOS ANGELES CA 90067-4301




JONATHAN BETUEL                          JONATHAN LANDIS                          KJAR MCKENNA STOCKALPER LLP
CO BERNARD JASPER ESQ                    8700 PERSHING DR 3313                    841 APOLLO STREET SUITE 100
1440 N HARBOR BLVD SUITE 900             PLAYA DEL REY CA 90293-8014              EL SEGUNDO CA 90245-4769
FULLERTON CA 92835-4122




INTERNATIONAL
KURODA LAW OFFICES                       L TECH NETWORK SERVICES INC              L TECH NETWORK SERVICES INC
2ND AKIYAMA BLDG 5F 362                  9926 PIONEER BLVD SUITE 101              CO GARDENER RIECHMANN CHOW
TORANOMON MINATOKU TOKYO                 SANTA FE SPRINGS CA 90670-6248           438 E KATELLA AVE SUITE 202
105-0001 JAPAN                                                                    ORANGE CA 92867-4859




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          Case 2:21-bk-18572-BB
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LA ARENA FUNDING LLC                     LADDR AGENCY                             LEGAL INC
CO ARENT FOX LLP                         460 KING ST                              10601 CLARENCE DRIVE 250
ATTN- RICHARD D BUCKLEY JR               CHARLESTON SC 29403-6229                 FRISCO TX 75033-3867
555 WEST FIFTH STREET 48TH FLOOR
LOS ANGELES CA 90013-1065




LITIGATION SERVICES                      LITIGATION SERVICES                      LORENA RODRIGUEZ
3960 HOWARD HUGHES PKWY SUITE 700        CO LAW OFFICES OF MIKE BEEDE PLLC        1550 LAGOON AVE
LAS VEGAS NV 89169-5983                  PO BOX 530337                            WILMINGTON CA 90744-2044
                                         HENDERSON NV 89053-0337




                                         INTERNATIONAL
MARIJUANA MEDIA                          MARKS CLERK LLP                          MIBURA INC
1441 S OGDEN DR                          6268 HILLS ROAD                          3562 S BENTLEY AVE
LOS ANGELES CA 90019-3707                CAMBRIDGE CB2 1LA                        LOS ANGELES CA 90034-6505
                                         UK




                                         CANADA
MICHAEL HEVESY                           MINDEN GROSS LLP                         NEWITY
544 W 1150 N                             ACCOUNTS RECEIVABLE                      1123 W WASHINGTON BLVD 3RD FLOOR
MIDWAY UT 84049-6142                     145 KING STREET WEST SUITE 2200          CHICAGO IL 60607-2078
                                         TORONTO ON M5H4G2
                                         CANADA




NREA TRC 700 LLC                         NREA TRC 700 LLC                         NREA TRC 700 LLC
700 S FLOWER STREET SUITE 450            ATTN JAMES R DIFEDE ESQ                  ATTN MICHELLE MORALES
LOS ANGELES CA 90017-3726                CO DIFEDE RAMSDELL BENDER PLLC           700 S FLOWER STE 450
                                         900 SEVENTH STREET NW STE 810            LOS ANGELES CA 90017-3726
                                         WASHINGTON DC 20001-3886




NREA TRC 700 LLC                         NETWORK DEPOSITION SERVICES              NICOLETTE HACHEM SAWAYA
ATTN TODD KINDBERG                       1800 CENTURY PARK EAST STE 150           ADLI LAW GROUP PC
CO NATIONAL RE ADVISORS LLC              LOS ANGELES CA 90067-1509                12400 WILSHIRE BLVD STE 1460
900 SEVENTH ST NW STE 600                                                         LOS ANGELES CA 90025-1060
WASHINGTON DC 20001-3815



                                         INTERNATIONAL
OMNI INVICTUS DBA ARRAY                  PATENT MANIAC                            PAUL MENES
624 S AUSTIN AVENUE STE 230              801 802 803 9TH FLOOR                    4223 GLENCOE AVE STE A220
GEORGETOWN TX 78626-5758                 WEST END MALL OFFICE COMPLEX             MARINA DEL REY CA 90292-5671
                                         JANAK PURI NEW DELHI -110058 INDIA




RELX INC DBA LEXISNEXIS                  RELX INC DBA LEXISNEXIS                  RSUI
28544 NETWORK PLACE                      CO ALAN L BRODKIN                        LANDMARK AMERICAN INSURANCE COMPANY
CHICAGO IL 60673-1285                    15500 B ROCKFIELD BLVD                   CO RSUI GROUP INC
                                         IRVINE CA 92618-2722                     945 E PACES FERRY RD STE 1800
                                                                                  ATLANTA GA 30326-1373




RSUI GROUP INC                           RANDI SIMONETTE                          RICHARD P TAYLOR
945 EAST PACES FERRY ROAD                2423 253RD STREET                        NICHOLAS GEBELT
SUITE 1800                               LOMITA CA 90717-2011                     LAW OFFICES IF NICHOLAS GEBELT
ATLANTA GA 30326-1373                                                             WHITTIER CA 90604




                                                   Motion: 181
          Case 2:21-bk-18572-BB
PARTIES DESIGNATED AS "EXCLUDE" WERE NOTDoc  125
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RORY MILLER                              RYAN MITCHELL                            STAPLES CENTER
234 STRATHBURGH LN                       915 N LA BREA 430                        LA ARENA FUNDING LLC
CARY NC 27518-9035                       WEST HOLLYWOOD CA 90038-2365             1111 S FIGUEROA ST STE 3100
                                                                                  LOS ANGELES CA 90015-1333




SW VENTURES LLC                          SKYPANELS INC ALI SALOMI CHADWICK T      SKYPANELS INC ALI SALOMI CHADWICK T
CO THE RYAN FIRM APC                     9638 TOPANGA CANYON PLACE SUITE A        ATTN ASHKAN ASHOUR
2603 MAIN STREET SUITE 1225              CHATSWORTH CA 91311-0877                 CO ASHOUR YEHOSHUA APC
IRVINE CA 92614-5038                                                              9638 TOPANGA CANYON PLACE SUITE A
                                                                                  CHATSWORTH CA 91311-0877




SKYPANELS INC                            STEVEN AND THERESA HELLINGS              TIB NA THE INDEPENDENT BANKERSBANK
18425 BURBANK BLVD                       ATTN ROBIN OFFNER                        1550 N BROWN ROAD 150
STE 712                                  CO OFFNER KING LLP                       LAWRENCEVILLE GA 30043-8154
TARZANA CA 91356-2859                    2411 SECOND AVENUE
                                         SAN DIEGO CA 92101-1507




THOMSON REUTERS                          THOMSON REUTERS                          TONY SARKISSIAN DANCOOL HVAC SUPPLY
CO ALLEN MAXWELL SILVER                  CO ELLIOT SILVER                         833 AMERICANA WAY UNIT 501
382 MAIN STREET                          382 MAIN ST                              GLENDALE CA 91210-1536
SALEM NH 03079-2412                      SALEM NH 03079-2412




US SMALL BUSINESS ADMINISTRATION         UNISEARCH INC                            UNITED STATES TRUSTEE LA
312 N SPRING STREET 5TH FL               1780 BARNES BOULEVARD SW                 915 WILSHIRE BLVD SUITE 1850
LOS ANGELES CA 90012-2678                TUMWATER WA 98512-0410                   LOS ANGELES CA 90017-3560




WBS INC ROBERT BLOTZER                   WBS INC ROBERT BLOTZER                   WBS INC ROBERT BLOTZER
28026 FORREST COURT                      CO KARISH BJORGUM                        CO FRIEDMAN ENRIQUEZ CARLSON
CASTAIC CA 91384                         119 E UNION STREET SUITE B               401 WILSHIRE BLVD 12TH FLOOR
                                         PASADENA CA 91103-3951                   SANTA MONICA CA 90401-1456




WBS INC                                  ANNA NOVRUZYAN                           DEAN G RALLIS JR
401 WILSHIRE BLVD 12TH FLOOR             ROPERS MAJESKI KOHN BENTLEY              HAHN HAHN LLP
SANTA MONICA CA 90401                    445 S FIGUEROA ST STE 3000               301 E COLORADO BLVD
SANTA MONICA CA 90401-1456               STE 3000                                 9TH FLOOR
                                         LOS ANGELES CA 90071-1619                PASADENA CA 91101-1977




GREGORY KENT JONES TR                    KENNETH N RUSSAK                         RICHARD TAYLOR
STRADLING YOCCA CARLSON RAUTH            LA                                       PO BOX 1041
10100 N SANTA MONICA BLVD SUITE 1400     1000 WILSHIRE BOULEVARD                  EASTHAM MA 02642-1041
LOS ANGELES CA 90067-4140                19TH FLOOR
                                         LOS ANGELES CA 90017-2457




                                                   Motion: 182
          CaseAN2:21-bk-18572-BB
ADDRESSES WHERE    EMAIL IS PRESENT WEREDoc  125
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                                        Main Document
NOTICE OF ELECTRONIC FILING ("NEF")SYSTEM.                   Page 185 of 186
(U.S. Trustee)                           (Creditor)                              (Creditor)
United States Trustee (LA)               Richard Taylor                          NREA-TRC 700, LLC
915 Wilshire Blvd, Suite 1850            P.O. Box 1041                           represented by:
Los Angeles, CA 90017                    Eastham, MA 02642U.S.A.                 Lewis R Landau
represented by:                          represented by:                         22287 Mulholland Hwy., # 318
Eryk R Escobar                           Nicholas W Gebelt                       Calabasas, CA 91302
Office of the United States Trustee      15150 Hornell St                        (fax)
915 Wilshire Blvd., Suite 1850           Whittier, CA 90604
Los Angeles, CA 90017                                                            Lew@Landaunet.com
                                         ngebelt@goodbye2debt.com
eryk.r.escobar@usdoj.gov




(Trustee)                                Chi Ip                                  (Interested Party)
Gregory Kent Jones (TR)                  (Attorney)                              Steven and Theresa Hellings
Stradling Yocca Carlson & Rauth          represented by:                         represented by:
10100 N. Santa Monica Blvd., Suite       Chi L Ip                                Gerald N Sims
1400                                     Law Offices of Edward C Ip & Assoc      1620 Fifth Avenue
Los Angeles, CA 90067                    4424 Santa Anita Ave Ste 201            Suite 400
                                         El Monte, CA 91731                      San Diego, CA 92101
gjones@sycr.com
                                         filing@lawyer4property.com              jerrys@psdslaw.com




(Creditor)                               Joshua del Castillo                     Christopher K.S. Wong
Evergreen Manor II Homeowners            515 S Figueroa St                       Arent Fox LLP
Association, a nonprofit mutual          7th Fl                                  555 W Fifth St 48th Fl
benefit corporation                      Los Angeles, CA 90071                   Los Angeles, CA 90013
represented by:
Chi L Ip                                 jdelcastillo@allenmatkins.com           christopher.wong@arentfox.com
Law Offices of Edward C Ip & Assoc
4424 Santa Anita Ave Ste 201
El Monte, CA 91731

filing@lawyer4property.com




Gerald N Sims                            Dave Shenian                            Lewis R Landau
1620 Fifth Avenue                        Clark Hill                              22287 Mulholland Hwy., # 318
Suite 400                                1055 W. 7th St., Suite 2100             Calabasas, CA 91302
San Diego, CA 92101                      Ste 3250                                (fax)
                                         Los Angeles, CA 90017
jerrys@psdslaw.com                                                               Lew@Landaunet.com
                                         dshenian@clarkhill.com




                                                   Motion: 183
          CaseAN2:21-bk-18572-BB
ADDRESSES WHERE    EMAIL IS PRESENT WEREDoc  125
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NOTICE OF ELECTRONIC FILING ("NEF")SYSTEM.                   Page 186 of 186
Karen King                               Chi L Ip                                Mark S Horoupian
Offner & King LLP                        Law Offices of Edward C Ip & Assoc      333 South Grand Avenue
2411 Second Ave                          4424 Santa Anita Ave Ste 201            Suite 3400
San Diego, CA 92101                      El Monte, CA 91731                      Los Angeles, CA 90071

kking@offnerking.com                     filing@lawyer4property.com              mhoroupian@sulmeyerlaw.com




(Interested Party)                       (Creditor)                              Kenneth N Russak
represented by:                          Jonathan Betuel                         1000 Wilshire Boulevard
Richard D Buckley                        represented by:                         19th Floor
Arent Fox LLP                            Mark S Horoupian                        Los Angeles, CA 90017-2427
555 West Fifth Street, 48th Flr          333 South Grand Avenue
Los Angeles, CA 90013                    Suite 3400                              krussak@knrlaw.com
                                         Los Angeles, CA 90071
richard.buckley@arentfox.com
                                         mhoroupian@sulmeyerlaw.com




Dean G Rallis, Jr                        (Debtor)
Hahn & Hahn LLP                          Adli Law Group P.C.
301 E. Colorado Blvd.                    12400 Wilshire Blvd., Suite 1460
9th Floor                                Los Angeles, CA 90025
Pasadena, CA 91101-1977                  Tax ID / EIN: XX-XXXXXXX
                                         represented by:
drallis@hahnlawyers.com                  Anna Novruzyan
                                         Ropers Majeski Kohn & Bentley
                                         445 S Figueroa St Ste 3000
                                         Ste 3000
                                         Los Angeles, CA 90071

                                         anna.novruzyan@rmkb.com




                                                   Motion: 184
